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 KAY COMPANY; et al v EQT PRODUCTION COMPANY; et al DEPO: JOHN BERGONZI

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             IN THE UNITED   STATES DISTRICT COURT                                         I N D E X
          FOR THE NORTHERN   DISTRICT OF WEST VIRGINIA            Witness:                                Examination
                        AT   CLARKSBURG                           John Bergonzi                    5 (Masters) 277 (Masters)
 THE KAY COMPANY, LLC,                                                                           270 (West)
 H. DOTSON CATHER, Trustee   of                                   Deposition Exhibits:                                     Marked
 Diana Goff Cather Trusts,   et al.,                              No. 22, Notice of Deposition                                  5
                              Plaintiffs,                         No. 23, Documents from Piccirilli Deposition                 35
 v.                                  Case No. 1:13-CV-151         No. 24, Weston Gathering                                     53
 EQT PRODUCTION COMPANY,                                          No. 25, EQT Production, 11/2008                              88
 a Pennsylvania corporation; et al.,                              No. 26, EQT Production Document                              96
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 PATRICK D. LEGGETT;                                              No. 29, Statements - Leggett                                107
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 a Pennsylvania corporation,                                      No. 34, Simple Letter of 6/16/14                            142
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                     The deposition of JOHN BERGONZI was taken    No. 36, Letter of Credit                                    145
 pursuant to the Federal Rules of Civil Procedure in the          No. 37, Correction to Letter of Credit                      147
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 2015, at the Masters Law Firm, 181 Summers Street,               No. 39, Terms and Conditions                                148
 Charleston, Kanawha County, West Virginia, before Shelia         No. 40, Amendment No. 1                                     149
 Miller, Certified Court Reporter, duly certified by the          No. 41, Amended Agreement                                   152
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        APPEARANCES:          ON BEHALF OF PLAINTIFFS:
                              MARVIN W. MASTERS, Esquire
                                                                   1                     VIDEOGRAPHER: We are on the record now in the
                              Masters Law Firm                     2 matter of The Kay, Company, et al., versus Equity, et al.
                              181 Summers Street                   3 Our witness today is John Bergonzi.
                              Charleston, WV 25301
                              JOHN A. KESSLER, Esquire and         4                            The deposition is taking place on
                              ROBERT E.DOUGLAS, Esquire (Day 2)    5 August 17, 2015, at the offices of the Masters Law Firm in
                              Carey, Scott, Douglas & Kessler
                              901 Chase Tower                      6 Charleston, West Virginia.
                              Charleston, West Virginia 25301      7                            The time is now 9:34. My name is Karla
                              ON BEHALF OF DEFENDANTS:
                              DAVID K. HENDRICKSON, Esquire and    8 Rae. I am the videographer. Our court reporter today is
                              CARL FLETCHER, Esquire (Day 2)       9 Shelia Miller. Will counsel please identify themselves
                              Hendrickson & Long
                              Post Office Box 11070               10 for the record.
                              Charleston, West Virginia 25339     11                     MR. MASTERS: Marvin Masters, for plaintiff.
                              KEVIN WEST, Esquire
                              Steptoe & Johnson                   12                     MR. KESSLER: Jack Kessler, for plaintiff.
                              41 South High Street, Suite 2200    13                     MR. WEST: Kevin West, for the defendants.
                              Columbus, Ohio 43215
                              JESSICA BLAKE BRISENDINE, Esquire   14                     MR. HENDRICKSON: David Hendrickson, for
                              EQT Corporation                     15 defense.
                              1710 Pennsylvania Avenue
                              Charleston, West Virginia 25302     16                     VIDEOGRAPHER: Will the court reporter please
 ALSO                                                             17 swear in the witness.
 PRESENT:                     Matthew Perry, Masters Law Firm
                              Jane Burkhamer, Legal Assistant     18                       (Witness sworn.)
 VIDEOGRAPHER:                Karla Rae                           19 THEREUPON,
                                                                  20                 J O H N B E R G O N Z I,
                                                                  21 after having been first administered an oath or
                                                                  22 affirmation on the record by the Deposition Officer,
                                                                  23 testified as follows:
                                                                  24                         EXAMINATION
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   1                     BY MR. MASTERS:                                 1                      A     It is a royalty case.
   2                     Q      Good morning, sir.                       2                      Q     Okay, was that by individuals or was
   3                     A      Good morning.                            3 that a class action?
   4                     MR. MASTERS: I would like to go ahead and       4                      A     I don't remember. It hasn't been
   5 mark that. What is our last exhibit?                                5 completed. I don't know whether they got it class
   6                            (WHEREUPON, a document was               6 certified or not.
   7                     marked for purposes of identification           7                      Q     Okay, but did you know whether or not
   8                     as Deposition Exhibit No. 22, a copy            8 it was a proposed class action or was it just
   9                     of which is attached hereto and made            9 individuals?
  10                     a part hereof.)                                10                      A     I believe it was proposed to be a
  11                     BY MR. MASTERS:                                11 class action.
  12                     Q      Can you state your name first?          12                      Q     Outside of working on doing things in
  13                     A      Yes, it is John, J-O-H-N, Bergonzi,     13 West Virginia with respect to the McDonald case, have
  14 B-E-R-G-O-N-Z-I.                                                   14 you done anything else with respect to consultation
  15                     Q      Where do you live?                      15 with EQT?
  16                     A      I live in Gibsonia, Pennsylvania.       16                      A     Yes, I have done some deferred tax
  17                     Q      And what is your occupation and         17 work for them.
  18 profession?                                                        18                      Q     Can you explain what that was?
  19                     A      I am retired.                           19                      A     Well, my role for many years at EQT
  20                     Q      All right, and before you retired,      20 was the controller, and as controller, the tax
  21 what was your occupation and profession?                           21 function answered to me, and I helped them out with
  22                     A      I worked for EQT.                       22 some issues they had around deferred taxes.
  23                     Q      Okay, for how many years?               23                            Deferred taxes are taxes that will
  24                     A      Approximately, 33 years.                24 have to be paid in the future because of the
      Page 6                                                                Page 8
   1                     Q      Okay, and when did you retire?           1 difference between book income and taxable income.
   2                     A      In 2010.                                 2                     Q      Okay, and what is the differential
   3                     Q      And since 2010, have you had any         3 between book income and tax income?
   4 -- excuse me. Since 2010, have you had any                          4                     A      I am not sure I understand what you
   5 responsibilities to do any work or consult with EQT?                5 mean by --
   6                     A      I have.                                  6                     Q      Well, deferred income, you described
   7                     Q      And can you describe what that has       7 or defined, I think, as your -- describe it again. I
   8 entailed?                                                           8 don't want to misstate what you said.
   9                     A      I have done some work for them on        9                     A      Maybe I should give you an example of
  10 some royalty cases and I have done some work for them              10 what --
  11 on some tax issues.                                                11                     Q      That would work.
  12                     Q      Okay, and what have you done with       12                     A      -- deferred tax is. Depreciation on
  13 respect to royalty issues?                                         13 the books might be straight line, which let's say you
  14                     A      I was involved in a previous case       14 have an asset that is going to last ten years. You
  15 that was filed in West Virginia and a case in                      15 divide the cost of the asset by ten and book that each
  16 Virginia.                                                          16 year.
  17                     Q      Okay, that would have been the          17                            The tax rules accelerate that
  18 McDonald case?                                                     18 depreciation so that you have an incentive to invest
  19                     A      Yes.                                    19 capital.
  20                     Q      And what case were you involved in in   20                            So what they do is they give you
  21 Virginia?                                                          21 additional tax deductions in the early years, and, of
  22                     A      Atkins.                                 22 course, what that means is later years, you will pay
  23                     Q      What was the case in Virginia about?    23 more taxes, and so to equalize those numbers on the
  24 I am somewhat familiar with the McDonald case.                     24 books versus the tax return, you book deferred taxes,
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      Sheet 3       Page 9                                                   Page 11
   1 which are a conceptual tax that will be reversed when                1                     Q      Who did you report to?
   2 the book income and the tax income reverse themselves.               2                     A      Typically, the chief financial
   3                     Q      Okay. Did you work with anybody in        3 officer. That was Dave Porges for a while, Jeff
   4 the last five years specifically at EQT?                             4 Spoilman for a while, and Joe Givel for a while.
   5                     A      I am not sure what you mean by            5                     Q      And when you said CFO, CFO of which
   6 specifically.                                                        6 corporation?
   7                     Q      Was there a certain individual or         7                     A      EQT Corporation.
   8 group that you worked with within the past five years?               8                     Q      All right. Now, did you hold any
   9                     A      Well, for the tax issues, I worked        9 offices in any of the other EQT corporations, other
  10 with the tax and the accounting group, and for the                  10 than the EQT Corp?
  11 royalty issues, I would have worked with the legal                  11                     A      Yes, most of them.
  12 folks and some of the land folks and the accounting                 12                     Q      Okay, and when you say most of them,
  13 folks.                                                              13 would that include all the defendants in this case,
  14                     Q      Okay. Let's go back to your history      14 the subsidiary defendants in this case?
  15 at EQT.                                                             15                     A      Yes.
  16                     A      All right.                               16                     Q      And who paid your salary during this
  17                     Q      And just give me -- bring me briefly     17 period of time?
  18 the different positions that you have had over those,               18                     A      EQT Corporation.
  19 what, 30 years?                                                     19                     Q      Okay. Did you have specific duties
  20                     A      Yes. I started in approximately          20 to each of these subsidiaries, and you are welcome to
  21 1977, worked as an auditor for a few years, worked as               21 look at the list.
  22 an accountant for a few years, and as a supervisor or               22                            I don't believe in wasting paper.
  23 manager or director, ultimately the controller and                  23 Can you just look at the list there and tell me, did
  24 vice president, chief accounting officer, until 2009,               24 you have specific duties and responsibilities with
      Page 10                                                                Page 12
   1 and then I was vice president of finance for a year                  1 respect to the subsidiaries?
   2 before I retired.                                                    2                     A      Well, first of all, let me say that I
   3                     Q       And what were your duties and            3 never held any role at EQT Midstream Partners. That
   4 responsibilities as vice president of accounting?                    4 was created after I left the company, so I apologize
   5                     A       I was the corporate chief accounting     5 for that.
   6 officer, so I was responsible for setting accounting                 6                            Typically, in the corporations, I
   7 policy across the organization, making sure that                     7 would have been assistant treasurer or assistant
   8 internal controls were in place and were followed,                   8 secretary. In that role, I would have made sure that
   9 that the tax returns were filed, that type of thing.                 9 their accounting policies were consistent across the
  10                     Q       Okay, and prior to -- prior to 2009,    10 organizations.
  11 I guess you were -- what were your duties and                       11                     Q      Okay, and how did you go about doing
  12 responsibilities?                                                   12 that; that is, making sure that the accounting
  13                     A       I'm sorry if I didn't make that         13 policies and procedures were consistent across all the
  14 clear. I was the controller from about 1995 through                 14 subsidiaries?
  15 2009, the controller and vice president.                            15                     A      Well, typically, at least the larger
  16                     Q       Okay, so you were both controller and   16 subsidiaries had their own accounting staffs. I would
  17 VP for that period of time?                                         17 interact with them on a monthly basis, and we would do
  18                     A       Yeah, I think in 95 through maybe       18 some testing to see that the controls that we thought
  19 around 2000, the title was controller and assistant                 19 were in place were, in fact, in place.
  20 treasurer, and then after that, I think it was                      20                            Sometimes, in addition, because I was
  21 controller and vice president.                                      21 an officer of the company, I would sign contracts on
  22                     Q       Okay. So the duties you described       22 behalf of one of the subsidiaries or another.
  23 were for that entire period of time?                                23                     Q      You were designated in this case to
  24                     A       Yes.                                    24 answer certain questions concerning subject matter
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      Sheet 4      Page 13                                                 Page 15
   1 pertaining to this lawsuit, and you are aware of that,             1 productions.
   2 correct?                                                           2                            The Marcellus is a lot different in
   3                     A      Yes.                                    3 that those leases typically are new releases. The
   4                     Q      Did you volunteer to answer these       4 wells are deeper, much more prolific, much higher --
   5 questions, or how did it come about that you came out              5 much higher production, much higher pressures.
   6 of your retirement just for me here?                               6                            New gathering lines were made to
   7                     A      Well, I have had some experience on     7 -- were developed to handle that. That gas is
   8 these royalty issues over the years. I participated                8 typically a higher quality of gas, more BTU's per MCF.
   9 in some settlement agreements, and EQT Production                  9 So that gas needed processing to get it to a level
  10 Company is one of our, and by our, I mean EQT                     10 that was acceptable for pipeline quality, and so that
  11 Corporation's largest subsidiaries and probably the               11 is the basic difference, the smaller number of wells,
  12 most significant, and so I was a little more familiar             12 the higher pressure, the consistency of the gas
  13 with their activities, and the company contacted me               13 quality as opposed to the wells in the southern
  14 after the death of Rick Crites to help out with some              14 district of the southern area in West Virginia. I
  15 of the litigation.                                                15 think that covers it.
  16                     Q      Okay, and what did you do in           16                     Q      One thing you said I wanted to make
  17 preparation for your testimony today?                             17 sure I understood. You said the smaller number of
  18                     A      Well, I -- as I said, because I had    18 wells. Are you talking about the smaller number of
  19 some familiarity when I worked for the company in the             19 Marcellus wells or that the Marcellus wells have a
  20 area, I had some general understanding of how the                 20 smaller number of actual wells versus the historical
  21 process worked.                                                   21 well list that you would have? I am not sure I
  22                            I met with folks from revenue          22 understood that.
  23 accounting, gas measurement to review, to make sure               23                     A      Yes.
  24 that I understood how things work now and to                      24                     Q      Do you have an estimate of the
      Page 14                                                              Page 16
   1 understand whether there were any changes made in the              1 percent of Marcellus wells versus the historical
   2 process.                                                           2 wells?
   3                     Q      Okay. Had there been any changes        3                     A      I don't. My speculation would be
   4 made?                                                              4 that it would be a very small percentage of the number
   5                     A      Probably the most significant change    5 of wells, a very large percentage of the volume of
   6 is with the Marcellus Shale development. Those wells               6 production.
   7 are a significant amount of production and they have               7                     Q      Okay, and how did that change things?
   8 their own issues and gathering lines and problems. So              8 You brought that up as something different and may
   9 there is a little more focus on that type of activity              9 have changed the manner in which EQT managed the
  10 than there was in 2010.                                           10 production, transmission, royalty.
  11                     Q      Okay. I hesitate to ask this           11                            I am not sure what you exactly meant.
  12 question at this stage of the deposition, but is there            12 I am not trying to put words in your mouth. Just what
  13 any way you can briefly describe the differences in               13 did you mean by that?
  14 the way that the Marcellus is dealt with versus the               14                     A      Yes, well, the wells are different.
  15 previous historic gas production?                                 15 They are much deeper. They are horizontal wells, and
  16                     A      Well, I will try. The gas production   16 there is a lot more volume of gas.
  17 pre-Marcellus, there is maybe -- maybe 8,000 leases in            17                            To get that gas to market, the
  18 West Virginia, and there are a significant amount of              18 pipelines were developed. Additional processing
  19 wells and a significant variety of production levels,             19 plants came on line. Pipelines were developed to
  20 of quality of gas, of flow pressure gathering lines               20 additional interstate pipelines so that the supply of
  21 that all needed a lot of attention.                               21 gas could move to market.
  22                            The leases and the wells were          22                            EQT is not the only producer of
  23 developed over a hundred years and the aggregation of             23 Marcellus Shale gas, and so there is a lot more gas in
  24 a lot of different companies' lease activity and well             24 West Virginia. The whole basis differential between
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   1 delivery points is different now than it was then.                  1 can speak to that.
   2                     Q      Okay, but does that in any way affect    2                     MR. MASTERS: Okay.
   3 the manner in which you pay royalties?                              3                     MR. WEST: Seven, once again, that -- seven
   4                     A      Oh, I apologize. No, if that is what     4 and eight both are areas where he can talk about high
   5 you are asking, no, I don't think so. Each lease is                 5 level conceptually, but as far as the details, Ms.
   6 reviewed to determine the language in it.                           6 Smith will testify as to those categories.
   7                            There's a lot of differences in          7                     MR. MASTERS: Seven and eight?
   8 leases, and they are all looked at to determine how                 8                     MR. WEST: Yes. Nine, ten and eleven, Mr.
   9 they should be handled, whether it is Marcellus, the                9 Bergonzi is prepared to discuss those issues.
  10 newer leases or the older leases.                                  10                     MR. MASTERS: All right.
  11                            There is a lot of language in the       11                     MR. WEST: With regard to twelve, thirteen
  12 leases and they are all reviewed.                                  12 and fourteen, we believe that those are areas -- I
  13                     MR. MASTERS: Okay. David or Kevin, I have      13 mean, he can tell you about people that have
  14 handed Mr. Bergonzi Exhibit 22, and I think there may              14 knowledge, but to the extent you have asked us to
  15 have been some changes.                                            15 identify who our witnesses and our experts are going
  16                            I mean, after doing Mr. Piccirilli's,   16 to be, we believe that that is more properly addressed
  17 he indicated he knew certain things and he didn't know             17 by the court's pre-trial order.
  18 certain things, so I need you to identify for me the               18                     MR. MASTERS: Twelve and thirteen.
  19 subject matter that Mr. Bergonzi is going to address.              19                     MR. WEST: And fourteen, where it asks
  20                     MR. WEST: He will address topic one, which     20 --
  21 is on page two of your notice, other than with regard              21                     MR. MASTERS: Oh, yeah, I see.
  22 to G, small roman numeral four.                                    22                     MR. WEST: Fifteen, Mr. Bergonzi is
  23                     MR. MASTERS: Wait a minute. You are saying     23 designated to testify about fifteen.
  24 he won't discuss G?                                                24                     MR. MASTERS: Okay.
      Page 18                                                               Page 20
   1                     MR. WEST: No, he will discuss G. He won't       1                     MR. WEST: Sixteen, he can talk about that
   2 discuss G-4, if you go to the next page, because it is              2 at a high level. Really, that was an area that Mr.
   3 our position that that requires a legal conclusion,                 3 Lancaster --
   4 and the court would have to determine what was fair                 4                     MR. MASTERS: Okay.
   5 market value, but with that exception, he will address              5                     MR. WEST: -- addressed, as with seventeen,
   6 all of one.                                                         6 eighteen, nineteen.
   7                     MR. MASTERS: Okay.                              7                     MR. MASTERS: When you say seventeen,
   8                     MR. WEST: He will address number two. I         8 eighteen and nineteen, I am not sure what you are
   9 guess he will address that conceptually. With regard                9 referring -- I mean, what are you saying with respect
  10 to how revenues are handled within EQT Corporation and             10 to them?
  11 subsidiaries, Jimmi Sue Smith, who you have noticed to             11                     MR. WEST: Well, Mr. Lancaster testified
  12 depose on the 27th, will have a more granular                      12 about those.
  13 explanation as far as how those revenues flow, but                 13                     MR. MASTERS: Okay, I just didn't
  14 conceptually, --                                                   14 understand.
  15                     MR. MASTERS: Okay.                             15                     MR. WEST: Yeah, it is the same.
  16                     MR. WEST: -- he can talk about it. Number      16                     MR. MASTERS: Okay.
  17 three, we would object to because we believe that that             17                     MR. WEST: And that would be also the same
  18 requires a legal conclusion. Number four, Mr.                      18 for twenty and twenty-one. That said, to the extent
  19 Bergonzi will testify about; number five.                          19 that Enertia is used by EQT Production to calculate
  20                     MR. MASTERS: Wait. Let me -- okay, four,       20 royalty, Mr. Bergonzi can speak about how the royalty
  21 I'm sorry, let's go to four.                                       21 is calculated.
  22                     MR. WEST: Four, he will testify.               22                     MR. MASTERS: Okay.
  23                     MR. MASTERS: Okay.                             23                     MR. WEST: Twenty-two, Mr. Bergonzi will
  24                     MR. WEST: Five, he will testify. Six, he       24 testify. With regard to twenty-three, there have not
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      Sheet 6      Page 21                                                 Page 23
   1 been any liquid sales by EQT Production.                           1                            I think I was deposed in the McDonald
   2                     MR. MASTERS: So what are you saying about      2 case and helped prepare some of the responses to
   3 his testifying with respect to twenty-three?                       3 requests for information.
   4                     MR. WEST: That he would -- well, he can        4                     Q      Okay. When you worked at EQT, what
   5 testify that there has been none, so, yeah, I mean, we             5 did you have to do with determining what deductions
   6 can designate him, but just to alert you that his                  6 would be charged to royalty owners?
   7 testimony is likely going to be, not to put words in               7                     A      I am not sure I understand the
   8 his mouth, but there was no -- there were no sales of              8 question.
   9 liquids by EQT Production.                                         9                     Q      Well, I mean, there was -- you
  10                     MR. MASTERS: You heard that, didn't you?      10 understand that there were deductions that were taken
  11 He is not putting words in your mouth.                            11 from royalty, correct?
  12                     MR. WEST: I am pretty confident that is       12                     A      Sure, sure, yes.
  13 what he would have said anyway, so --                             13                     Q      Did you play any part in determining
  14                     MR. HENDRICKSON: Now we can get that          14 what particular deductions would be taken from royalty
  15 category out of the way.                                          15 owners during the period 2005 to 2010, let's say?
  16                     MR. WEST: Twenty-four, Mr. Bergonzi is our    16                     A      Well, those properties in West
  17 designee. Twenty-five, Mr. Bergonzi, and then, I                  17 Virginia, almost every property in West Virginia, came
  18 mean, he has reviewed -- the remainder of the notice              18 to EQT with the acquisition of Eastern States Oil and
  19 talks about requests for production of documents.                 19 Gas and Eastern States.
  20                     MR. MASTERS: Right.                           20                            At that time, our predecessor had
  21                     MR. WEST: He has reviewed the documents       21 taken royalty deductions in much the same manner that
  22 that we have produced in response to your request for             22 EQT felt was appropriate. So there was no decision to
  23 production to each of the defendants, so he is                    23 change how those royalty deductions were taken on an
  24 prepared to talk about those documents.                           24 individual well or on an individual lease basis.
      Page 22                                                              Page 24
   1                     MR. MASTERS: Okay.                             1                     Q      When did those purchases take place?
   2                     BY MR. MASTERS:                                2                     A      The Eastern States acquisitions?
   3                     Q      Do you know Mr. Piccirilli?             3                     Q      Right.
   4                     A      I do.                                   4                     A      Late in 1999. I think it closed
   5                     Q      Have you read his deposition he gave    5 early in 2000, maybe February 15 of 2000.
   6 in this case?                                                      6                     Q      Okay, and so what you are saying is
   7                     A      I have.                                 7 EQT at that time determined to continue to take the
   8                     Q      Did you know Mr. Crites before he       8 deductions in the same manner and using the same
   9 passed?                                                            9 methodology that Eastern had used?
  10                     A      I did.                                 10                     A      Yes, there's a variety of wells.
  11                     Q      Have you read his deposition that he   11 Some of the lease language is different. There was
  12 gave in the McDonald case?                                        12 not a decision to review every lease and change the
  13                     A      Yes.                                   13 calculation for the individual leases.
  14                     Q      You indicated that you had perhaps     14                     Q      Was that ever done?
  15 participated as a witness, or in some capacity, in the            15                     A      No.
  16 McDonald case. Can you tell me what your role was in              16                     Q      They are still doing the same thing?
  17 that case?                                                        17                     A      The wells were reviewed as a part of
  18                     A      Yes.                                   18 some litigation, prior litigation by a law firm here
  19                     Q      Okay.                                  19 in --
  20                     A      When I worked for the company, we      20                     MR. WEST: Charleston.
  21 entered into some settlement negotiations with                    21                     THE WITNESS: -- Charleston, and there was
  22 McDonald. I participated in those until the time that             22 some changes made in the payment of royalties based on
  23 I left the company, and then I participated in the                23 the Tawney decision and then the follow on with the
  24 litigation.                                                       24 Kay litigation.
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      Sheet 7      Page 25                                                  Page 27
   1                     BY MR. MASTERS:                                 1 am wrong, Marvin, the question is, did Lewis Glasser
   2                     Q      Okay, who -- what law firm was that?     2 provide a list with recommendations.
   3                     A      The law firm that originally reviewed    3                     THE WITNESS: Yes.
   4 the leases, Glasser -- Lewis Glasser, I believe was                 4                     BY MR. MASTERS:
   5 the name of the --                                                  5                     Q      Okay, and I am not asking whether you
   6                     Q      Okay.                                    6 adopted all their recommendations. I am just asking
   7                     A      -- the firm that reviewed the leases,    7 you this.
   8 each and every lease.                                               8                            From that information you received
   9                     Q      And so they -- then did EQT adopt        9 and from any other considerations EQT may have had,
  10 their recommendations about what deductions could be               10 did EQT come up with a list of lessors who had leases
  11 taken from each of the leases based on the Tawney                  11 and which ones deductions could be taken from,
  12 case?                                                              12 specific kinds of deductions could be taken from and
  13                     MR. WEST: We would just object to the          13 which ones deductions could not be taken from?
  14 extent that whatever advice that Lewis Glasser gave to             14                     A      Yes.
  15 EQT is privileged.                                                 15                     Q      Okay, and who kept and maintained
  16                            I think Mr. Bergonzi can and we will    16 those lists while you were there?
  17 allow him to testify as to particular changes that                 17                     A      Who kept the list? That would have
  18 have been made as far as how royalty was calculated                18 been given to someone in Revenue Accounting.
  19 since that time.                                                   19                     Q      At the Land Department or over in
  20                     BY MR. MASTERS:                                20 Production?
  21                     Q      Let me ask it this way. I mean, I       21                     A      I think -- well, the Revenue
  22 don't want to -- I respect attorney-client privilege,              22 Accounting group is in the Production company. I
  23 so I am not asking specifically what -- there were --              23 believe they and Land Administration would have both
  24 you agree that there were changes made in the manner               24 had the list. I would guess that Mike Lancaster would
      Page 26                                                               Page 28
   1 in which leases, deductions were taken from leases                  1 have also seen a list to make changes in the system.
   2 after the Tawney decision, correct?                                 2                      Q     Just common sense would seem to
   3                     A      Some of the wells, yes.                  3 require that once -- either at Eastern or when EQT
   4                     Q      And did you receive a -- did you ever    4 made the determination to look at this issue again, by
   5 see a report or did EQT have a report of a list of the              5 whatever means, that you would have categorized those
   6 leases and how they would be -- what deductions would               6 leases into this one has deductions, this does not
   7 be appropriate from each lease?                                     7 have deductions, or this has certain kinds of
   8                     MR. WEST: I will object.                        8 deductions and this does not have certain kind of
   9                     MR. MASTERS: I am not asking -- understand      9 deductions, correct?
  10 I am not asking him what Lewis Glasser recommended or              10                      A     Yes.
  11 didn't recommend.                                                  11                      Q     And that would be incorporated
  12                     BY MR. MASTERS:                                12 somewhere in your -- would that be incorporated into
  13                     Q      I am just saying did they ever make a   13 your Enertia system?
  14 list of the lease terms or identify the leases that                14                      A     Yes.
  15 were going to receive certain charges for specific                 15                      Q     Do you know what those would be
  16 kinds of deductions versus others who may not receive              16 called? Is there a field that would identify that?
  17 deductions.                                                        17                      A     Yeah, there would be a code. That
  18                     A      Well, the information that I saw was    18 would have been a Mike Lancaster question, but the
  19 that they --                                                       19 variances in how a royalty is calculated reside within
  20                     MR. WEST: And the question is, did they        20 the Enertia system.
  21 make a list. Just try to -- I'm sorry to intercede.                21                            The Enertia system was specifically
  22 I just don't want him to get into any privileged                   22 put in place as a land/well management system so that
  23 information.                                                       23 we could -- so that we could get variations down to
  24                            The question is, and correct me if I    24 the well level.                 As I said, I guess
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      Sheet 8      Page 29                                                  Page 31
   1 now there is some 8,000 leases and there's more wells               1 because you should look at the plan rate as a contract
   2 beneath that than 8,000, so Enertia is the system that              2 between the parties for the next year of what that
   3 was put in place to be able to individually monitor                 3 rate is going to be.
   4 those differences and calculate the well level basis.               4                            So the business plan is finalized.
   5                     Q      It sounds like a pretty comprehensive    5 The rate that EQT Gathering charges EQT Energy, which
   6 system. Am I correct?                                               6 nets back to EQT Production, is calculated, and within
   7                     A      Yes.                                     7 that rate is a piece that EQT Production may or may
   8                     Q      I want to talk to you a minute about     8 not charge its royalty owners, depending on the lease
   9 Mr. Piccirilli's role in determining the amount of                  9 language. Does that answer the question for you?
  10 deductions or charges from the royalty from the                    10                      Q     Well, in a general way.
  11 royalty owners, and I am just sort of letting you know             11                      A     Okay.
  12 that I am --                                                       12                      Q     What I understand he did and his
  13                     A      Okay.                                   13 group did, and I don't mean he personally did all of
  14                     Q      You indicated you read his              14 it, but he received information from all the different
  15 deposition?                                                        15 districts about costs of this, that and the other, and
  16                     A      I did.                                  16 then he took that information, he and his group took
  17                     Q      So I am just sort of bringing that up   17 that information and incorporated it into what they
  18 so you understand where I am coming from.                          18 determined was a proposed gathering rate and provided
  19                     A      Okay.                                   19 the basis for that over to Production. Is that true
  20                     Q      He indicated, as I recall, that he      20 or not?
  21 and his group would come up with recommendations as to             21                      A     Yes.
  22 what the estimation was that the gathering charges and             22                      Q     Okay.
  23 other charges, I think other charges, as well, would               23                      A     That is true. They calculate a rate
  24 be applied to a gathering rate and that that was                   24 for the next year based on the actual at a certain
      Page 30                                                               Page 32
   1 submitted to Production, and then ultimately as part                1 point and suggested changes to the system for the next
   2 of the consideration of the Board of Directors of the               2 year.
   3 corp, would ultimately have all that information in                 3                            That rate that they charged, EQT
   4 front of them at some time or another. So I want to                 4 Gathering charges EQT Energy that nets back to EQT
   5 first talk about in terms of production.                            5 Production is a cost of service rate.
   6                     A      Yes.                                     6                            Within that rate, Piccirilli will
   7                     Q      What information came from Mr.           7 calculate a rate that is used in some but not all of
   8 Piccirilli's group to Production?                                   8 the leases as a royalty deduction.
   9                     A      Well, let me just talk in general        9                     Q      Well, I mean, if you wanted to
  10 conceptual terms first so that it makes some sense.                10 determine which leases would be charged what, you
  11 EQT Production pays the royalties.                                 11 could go to the list I was talking about earlier to
  12                            Piccirilli works for a different        12 find that out, correct?
  13 group, and he works in the planning function, and as               13                     A      Yes. All I was pointing out was that
  14 part of the business plan cycle, the various, let's                14 rate, the cost of service rate that Piccirilli's group
  15 call them silos of business at EQT, EQT Production,                15 calculates is charged on every MCF of gas that is
  16 EQT Gathering, EQT Energy, they all submit business                16 moved on behalf of EQT Production.
  17 plans, and in that business plan, there is a rate that             17                            So it doesn't matter to Piccirilli's
  18 is going to be charged for the gathering of gas to                 18 group who pays, what the royalty owner pays. He is
  19 EQT, back to EQT Production, and within that rate is a             19 calculating an overall rate that gets deducted against
  20 number that is a portion that is charged back against              20 EQT Production's production.
  21 some but not all of the leases.                                    21                            Then he is giving a conceptual number
  22                            That rate, that rate is developed as    22 to the Production company so that they may or may not
  23 part of the business plan. There is some give and                  23 use that in connection with an individual lease.
  24 take. The reason I mention that give and take is                   24                     Q      I did not understand what you just
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      Sheet 9       Page 33                                                  Page 35
   1 said, that last thing you said, that conceptual number               1 maybe.
   2 that may or may not be calculated.                                   2                            (WHEREUPON, a document was
   3                     A       Well, --                                 3                     marked for purposes of identification
   4                     Q       Are you saying that Production has       4                     as Deposition Exhibit No. 23, a copy
   5 the discretion to charge somebody costs on a lease or                5                     of which is attached hereto and made
   6 not charge it, depending on just their whims?                        6                     a part hereof.)
   7                     A       No, under the lease language.            7                     BY MR. MASTERS:
   8                     Q       Okay.                                    8                     Q      Let me show you Exhibit No. 23 and
   9                     A       All I was saying is that there is a      9 ask if you have seen this document before.
  10 rate, and you saw it on the sheets that Joe Piccirilli              10                     A      Well, these look -- I assume I
  11 produced, and let's say the rate, just I will pick a                11 haven't seen this specific document, but these look
  12 number, $1.50 is the all-in cost to move an EQT                     12 like copies out of a spreadsheet that would have been
  13 Production molecule of gas.                                         13 prepared by Piccirilli or someone in his group.
  14                             No matter whether that has -- whether   14                     Q      They were provided to me as being
  15 the royalty owner on that particular MCF of gas, no                 15 files that were referenced by Mr. Piccirilli. The
  16 matter whether he gets the royalty deduction, EQT has               16 reason I am showing you this is because I want to ask
  17 to pay, EQT Production has to pay that gathering                    17 you, first of all, the first -- I guess it is the
  18 charge.                                                             18 third page.
  19                             Piccirilli's group does not determine   19                            These don't have Bates numbers on
  20 which royalty owner gets a deduction and which does                 20 them. The third page of this document says, at the
  21 not. He is just giving a piece of that rate, of that                21 top left says, "Brenton Gathering Cost of Service,
  22 cost of service rate.                                               22 2009. Do you see that?
  23                             He is telling EQT Production, who has   23                     A      Yes.
  24 now agreed to a rate for the next year, he is telling               24                     Q      Cost of service is O&M, $12 million
      Page 34                                                                Page 36
   1 them how much of that rate doesn't include some of                   1 plus; S G & A allocated, $3.8 million plus; taxes,
   2 those cost of service costs. That is all he is doing.                2 $508,000; with a total cost of $16 million plus and
   3                     Q      He is telling Production --               3 volumes of $27 million. Then he has broken it down
   4                     A      That Production company has this          4 into cents per dekatherm, right?
   5 $1.50 rate, let's say, that they are paying to move an               5                     A      Yes.
   6 MCF of gas in a particular district.                                 6                     Q      If we turn over to the next page,
   7                            He is telling them, if I take off the     7 there for Brenton district 2009, O&M expense detail,
   8 return, if I take off the taxes, that rate wouldn't be               8 and then it has got all the different -- I am not
   9 $1.50. It would be $1.00. He is telling them what                    9 saying all, but specific things that are made a part
  10 the components are of that overall rate that EQT                    10 of that, correct?
  11 Production Company has to pay to move that gas.                     11                     A      Yes.
  12                     Q      Okay, when you say components, you       12                     Q      It starts out with personnel costs
  13 are saying that there's various items that go into the              13 and ends with S-C-A-D-A.
  14 cost of service for moving the gas?                                 14                     A      SCADA.
  15                     A      Yes.                                     15                     Q      And what is SCADA?
  16                     Q      He, Piccirilli is providing them with    16                     A      It is a software system that helps
  17 --                                                                  17 track gas through -- through the system. It helps
  18                     A      With the detail behind it.               18 open and shut valves, that kind of thing.
  19                     Q      -- a list of that and then how much      19                     Q      Are you familiar with all these
  20 it costs for each particular sub-part, correct?                     20 specifics? It looks like there's about 20 of them, I
  21                     A      Right. I think you have seen that.       21 mean, like how they determine the cost of vehicles and
  22                     Q      Right, and I think I have seen that.     22 how they determine the cost of personnel and all that?
  23 I will get to that. I have it somewhere. Let me go                  23                     A      Well, I am going to answer yeah, I am
  24 ahead and have this marked so we can figure it out                  24 familiar on a general basis. I wouldn't know the
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      Sheet 10       Page 37                                                Page 39
   1 specifics of how many vehicles are involved or that                 1 to be for the next year, and if there were costs that
   2 detail level, but, yeah, I am familiar with                         2 -- if the number in total or if there was a specific
   3 conceptually what they are doing there.                             3 project or a cost that they were uncomfortable with,
   4                     Q      Okay.                                    4 they would push back and say no, we would prefer to
   5                     A      These are just categories of expenses    5 not have that done.
   6 that they expect for that year.                                     6                            For example, let's say there was some
   7                     Q      Who would be the most familiar, most     7 discussion about a well, a well or a series of wells
   8 knowledgeable person about breaking these out?                      8 drilled somewhere, let's say 50 miles from the closest
   9                     A      Well, the planning costs would have      9 gathering line.
  10 been --                                                            10                            So the Production company in their
  11                     Q      Is that Piccirilli?                     11 business plan would say, hey, we are talking about a
  12                     A      That would have been Piccirilli, yes.   12 new field 50 miles away from your gathering system.
  13 He would have -- he or his group would have developed              13                            In the Gathering company's plan, they
  14 the pro forma costs for the future. He would not have              14 would say, okay, we are going to have to develop a
  15 calculated the actual, but this would be rates that                15 line out to there; we are going to have to do things
  16 were, as you called them, the planned rates.                       16 to get that gas from those wells to the existing
  17                     Q      Okay, I mean, I didn't call them the    17 gathering lines.
  18 planned rates. These are --                                        18                            When the Gathering company puts that
  19                     A      Well, you went through this thing of    19 in the plan, if the number is too significant, EQT
  20 this plan goes to the Board of Directors.                          20 Production may say that is not what we want, that is
  21                     Q      Oh, okay. I mean, I don't -- I don't    21 not a viable plan.
  22 know anything about the way that your terminology, and             22                     Q      Because that could -- and I take it,
  23 when you say planned rates, this would be a term that              23 the reason you are saying that is because the cost of
  24 you guys would use.                                                24 getting the gas from that well to the transmission
      Page 38                                                               Page 40
   1                     A      Uh-huh (yes).                            1 line may be more than the value for that particular
   2                     Q      Correct?                                 2 gas that you are developing in the field, so you want
   3                     A      Yes.                                     3 to go ahead and plan that out so that it is more fair
   4                     Q      Okay, I see, and the background of       4 to the one lessor? Is that what you are saying?
   5 this, as I understood from Mr. Piccirilli, was that                 5                     A      Yeah, or adding an extra compressor
   6 like the environmental safety, for example, or the                  6 to get additional capacity may cost more on a per MCF
   7 district office expenses, those sorts of things, would              7 basis or a dekatherm basis than the overall economics
   8 come from the various districts to him or his group.                8 make sense.
   9                            They would then take that detail, and    9                            So there is give and take back and
  10 then they would boil it down into these specific                   10 forth about the various plans so that everybody gets
  11 categories, which then would go to Production. All of              11 comfortable with where they are going the next year.
  12 this information would go to Production?                           12                            That is why I mentioned that it is
  13                     A      It would, yes.                          13 almost a contract between the parties as to what they
  14                     Q      Then Production would do what with      14 think is a fair plan for the next year.
  15 this?                                                              15                     Q      You are talking about between
  16                     A      Well, --                                16 Gathering and Production, what works best for the
  17                     Q      Let me -- maybe this is a simpler       17 overall plans for the future, as well as today?
  18 question, because Mr. Piccirilli gave me the                       18                     A      What is in everybody's best interest.
  19 understanding that this could go to Production.                    19                     Q      Well, that makes sense. What are the
  20 Production could change these numbers if they wanted               20 documents -- I mean, first of all, does Production
  21 to. Am I correct?                                                  21 have documents similar to these documents, which I am
  22                     A      Yeah, that is my -- my experience in    22 assuming, and correct me if I am wrong, Dave or Kevin,
  23 the process is basically that the Gathering group                  23 these are Piccirilli's documents, correct?
  24 would put a presentation on on what they want the cost             24                     A      I think so.
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      Sheet 11       Page 41                                                Page 43
   1                     Q      Does Production have documents like      1 the leases are formed.
   2 this or do you have these items broken out?                         2                     Q      The Land Admin group is Lancaster?
   3                     A      The Production company may or may not    3                     A      No, Land Admin is not Lancaster.
   4 have seen this. They may ask for detail in areas                    4                     Q      Which subsidiary is Land Admin?
   5 where they are concerned with the changes to the                    5                     A      Land Admin, I think, is EQT
   6 costs. I don't think they would ask for, let's say                  6 Production. I am not really sure anymore.
   7 for property taxes.                                                 7                     Q      Did you ever have any -- I mean, are
   8                            I don't believe they would ask to see    8 you familiar with how they do that?
   9 the actual invoices from the various jurisdictions,                 9                     A      Well, by familiar, the lease is read
  10 but -- and they may or may not ask --                              10 and reviewed and the language is used to determine
  11                     Q      These would be property taxes for for   11 what is going to happen on a specific lease.
  12 what?                                                              12                     Q      What do you mean?
  13                     A      For pipeline or buildings.              13                     A      Well, the Production company, EQT
  14                     Q      Okay. I think these are pretty much     14 Production Company, will look at each lease and
  15 common throughout. There's several pages of these                  15 determine based on the language of the lease as it
  16 things for different districts.                                    16 comes in how it is going to be treated.
  17                     A      Yes.                                    17                            If the lease says that no deductions
  18                     Q      How many districts are there,           18 can ever be taken until the first third party transfer
  19 Brenton, Weston and what is the other one?                         19 point, it is handled one way.
  20                     A      Madison. There are some other areas.    20                            If it says you can deduct any costs
  21 There's an Equitrans field services gathering system,              21 for gathering and compression and processing, it is
  22 but those are the main ones.                                       22 handled a different way, based on a specific language
  23                     Q      As I understand, at the end of all      23 in each lease.
  24 this process, Production with the approval of the                  24                     Q      Okay. I mean, you are saying this,
      Page 42                                                               Page 44
   1 board comes up with a rate of cost for gathering                    1 but yet, I am not sure you are familiar with -- I
   2 costs, all the costs, comes up with a rate that is                  2 think you indicated you are really not familiar with
   3 applied to the leases in a particular district, is                  3 how admin does that.
   4 that correct?                                                       4                      A      An admin person -- I don't exactly
   5                     A      Well, the rates are determined on a      5 understand what you want me to tell you. Someone in
   6 lease by lease basis. Some leases are going to have                 6 that group looks at that lease when it comes in for
   7 different royalty calculations than others.                         7 the language related to -- actually to anything that
   8                     Q      And under what circumstances? I          8 would affect that well.
   9 thought Mr. Piccirilli said they were basically the                 9                             Some leases come in that are standard
  10 same.                                                              10 forms that EQT has prepared. Some leases are
  11                     A      I already told you Mr. Piccirilli       11 specifically negotiated for terms. If a particular
  12 doesn't determine the rates that are charged to the                12 term is in a lease, it is reflected in the system for
  13 royalty owners.                                                    13 the payment.
  14                            He is just giving a conceptual rate     14                      Q      Well, --
  15 of the piece of the gathering charge that is                       15                      A      And --
  16 ultimately going to be deducted against EQT                        16                      Q      I'm sorry. Go ahead.
  17 Production's proceeds.                                             17                      A      I was just going to say, as I already
  18                            He is just telling them how much of     18 said, EQT Production, it pays the gathering charge on
  19 that is related to items that in some cases are                    19 all gas. It sells its gas at the wellhead. It gets
  20 charged back to the royalty owner and in some cases                20 reimbursed at the wellhead.
  21 are not, but he doesn't determine that. That is                    21                      Q      Without deductions?
  22 determined on a lease-by-lease basis.                              22                      A      EQT Production pays its -- EQT
  23                     Q      Who makes that determination?           23 Production sells its gas at a price at the wellhead
  24                     A      That would be the Land Admin group as   24 which reflects the market value at the wellhead.
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      Sheet 12       Page 45                                               Page 47
   1                     Q      And how do you determine the market     1 the sale takes place, the index, correct?
   2 value at the wellhead?                                             2                     A      Yes.
   3                     A      Well, the way EQT determines market     3                     Q      Index price?
   4 value at the wellhead is by finding the first liquid               4                     A      The index price, less that
   5 trading point or sales point and then deducting the                5 contractual or planned rate to get the gas to that
   6 costs to get that gas from that liquid trading point               6 spot.
   7 or from the wellhead to that liquid trading point.                 7                     Q      Okay, and that cost, some of the
   8                     Q      When you say liquid trading point, I    8 things we have been talking about here, is determined
   9 am not sure what you mean by that.                                 9 by Midstream and Gathering and Energy, to some extent,
  10                     A      Typically, that is an interstate       10 in determining how much it really costs to get the
  11 pipeline connection where the pricing is transparent              11 product, that molecule as Mr. Piccirilli spoke about,
  12 and everybody can determine what that price is.                   12 from the wellhead to the transmission line where the
  13                     Q      Is that the index prices generally?    13 index price is -- where the purchase takes place on
  14                     A      Exactly.                               14 the interstate line, correct?
  15                     Q      Okay.                                  15                     A      Well, the index price is a
  16                     A      EQT Production always pays to have     16 transparent point.
  17 that gas moved to market. EQT Energy has a contract               17                     Q      Right.
  18 with EQT Production. EQT Energy has a contract with               18                     A      And the deduction calculations, he
  19 EQT Gathering.                                                    19 showed you how those calculations are done here on the
  20                            The marketing company sells the gas.   20 amount that gets charged to EQT Production.
  21 It pays the gathering costs to get that to market. It             21                     Q      Right. So the wellhead price,
  22 deducts that from the proceeds and pays EQT Production            22 though, is determined based on a price, the index
  23 at the wellhead for that price. What is deducted from             23 price minus the cost of moving and transporting and
  24 a royalty owner at that point is determined by the                24 processing the gas so it is acceptable at the point of
      Page 46                                                              Page 48
   1 individual leases.                                                 1 sale, correct?
   2                     Q      Okay. I mean, I have read -- I have     2                     A      Right.
   3 read the depositions, the previous depositions of                  3                     Q      The cost of moving the gas, --
   4 pretty much -- I think I understand about all of it.               4                     A      Yes.
   5                     A      Okay.                                   5                     Q      -- that cost, as I understood from
   6                     Q      I want to make sure I understand the    6 Mr. Piccirilli, is an estimated cost from year-to-
   7 corporate methodology in terms of who gets paid what.              7 year, correct?
   8 I understand that Production or EQT Production owns                8                     A      It is estimated. It is that plan
   9 the leases. They would be deemed to be the lessee?                 9 rate or that contract rate agreed upon between the
  10                     A      Okay.                                  10 parties.
  11                     Q      Correct?                               11                     Q      Okay. Is there any audit done at the
  12                     A      All right.                             12 end of a year? Let's say from 2010 to 2011. Is there
  13                     Q      Am I correct?                          13 an audit done in 2011 at some point to see if the
  14                     A      They are the lessee, yes.              14 estimated price for moving, processing and selling the
  15                     Q      Okay. EQT Production has entered       15 gas was more or less than what it was estimated to be?
  16 into contracts with EQT Energy so that EQT Energy                 16                     A      No.
  17 purchases the gas from each of these wells at the                 17                     Q      Is there ever -- is there ever a
  18 wellhead?                                                         18 deduction from, or let me ask the question
  19                     A      Yes.                                   19 differently. Are the royalty owners ever given credit
  20                     Q      The purchase price for the gas that    20 for, in say the year 2011, for being overcharged their
  21 EQT Production receives is determined by EQT Gathering            21 deductions?
  22 and Production and other subsidiaries determining the             22                     MR. WEST: Objection to the form of the
  23 cost to move the gas and process the gas from the                 23 question.
  24 wellhead to the interstate transmission line or where             24                     MR. MASTERS: I am not saying they were.
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   1                     MR. WEST: But you may answer.                   1                     A      Yes.
   2                     BY MR. MASTERS:                                 2                     Q      When they buy that, as I understand,
   3                     Q      I am not saying they were, but I am      3 the index price at the point of sale that month is the
   4 just asking hypothetically if in 2011, EQT looks at                 4 price that EQT Energy pays for that minus the cost
   5 the costs of moving gas and they look at it and say,                5 that we have been talking about, correct?
   6 well, it really didn't cost us this much, there was                 6                     A      Yes.
   7 ten percent, it was really ten percent less, so we are              7                     Q      The actual sale of that gas, as I
   8 going to credit the royalty owners with that ten                    8 understand from reading the documents, may not really
   9 percent?                                                            9 take place until a later time, correct?
  10                     A      Well, on a hypothetical basis, no,      10                     A      That is possible.
  11 but let me point out, as I have already said, there                11                     Q      I saw in there where gas is sold to
  12 are no cases where the royalty owner pays the full                 12 like Wells Fargo where there's swaps taking place,
  13 charge for gathering.                                              13 correct?
  14                            As Joe pointed out, Joe Piccirilli      14                     A      Swaps with EQT or --
  15 pointed out to you, the number that the Production                 15                     Q      Well, the --
  16 company typically charges, is given to charge the                  16                     A      A swap, I normally think of as a
  17 royalty owners is much less than the full cost, and                17 financial term. Is that what you are talking about?
  18 the rate basically gets readjusted every year because              18 I don't think EQT enters into any financial hedges
  19 every year in the planning process, six months of                  19 with any -- I'm sorry, you ask the questions, and I
  20 actual and the previous year's information is now                  20 will --
  21 available, and the plan is adjusted to take those                  21                     Q      I am going to go through some of
  22 things into consideration.                                         22 these contracts with you here in a minute.
  23                            So the two numbers can get a little     23                     A      Okay.
  24 bit apart for one year, but they can't diverge for a               24                     Q      But the amount of money that the
      Page 50                                                               Page 52
   1 long period of time.                                                1 lessor receives for that 1,000 MCF of gas, in this
   2                      Q     Does EQT Energy make money?              2 hypothetical scenario I am laying out, would be the
   3                      A     It does.                                 3 amount of gas based on the index price that actually
   4                      Q     How does it make money?                  4 reaches the point of sale?
   5                      A     Well, it doesn't make money by           5                     A      Yes.
   6 selling EQT Production at the first trading point. It               6                     Q      Not the amount that is actually
   7 makes money by taking risk on the gas, and by that, I               7 produced at the wellhead, correct?
   8 mean they will buy other supplies of gas.                           8                     A      Yes, and that is obviously because
   9                            They will get basis differentials by     9 that gas isn't sold at the wellhead -- I'm sorry, the
  10 moving the gas from one location to the other, another             10 gas that is produced at the wellhead doesn't all make
  11 location.                                                          11 it to the market. So the value of the gas at the
  12                            They will park gas. So they will buy    12 wellhead is lower than the value of the gas at sales
  13 gas this month and they will sell it next month, take              13 point. I can't sell an MCF of gas that never makes it
  14 the risk that the price is going up or down. They                  14 to the market.
  15 will put it in storage.                                            15                     Q      The volume of gas that makes it to
  16                            They will pay to put it in storage to   16 market, that is determined by actual measurements of
  17 try to sell it in the winter. So that is how EQT                   17 the gas that comes out of that individual lessor's
  18 Energy makes money. Typically, if EQT Energy were to               18 well or is it based upon computations based upon how
  19 just have production gas, it would not make money.                 19 much overall gas is lost in that particular district?
  20                      Q     As I understand from the answers to     20                     A      The value of the gas that EQT sells
  21 interrogatories and the previous depositions, when,                21 at the wellhead is based on the price that is received
  22 say a month, January 2011, let's say, EQT Production               22 for the gas that is delivered to an index point minus
  23 produces 1,000 MCF of gas at a wellhead. EQT Energy                23 the cost to get to that point.
  24 buys that 1,000 MCF of gas at the wellhead, correct?               24                     MR. MASTERS: I understand that. All right,
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   1 do you all want to take a little break?                            1                     Q      How do they do that?
   2                     MR. WEST: Sure.                                2                     A      Well, there's a variety of methods,
   3                            (WHEREUPON, a recess was                3 depending on the size of the well. Newer wells or
   4                     taken, after which the following               4 more prolific wells will have automatic readers, and
   5                     proceedings were had.)                         5 the readings will be electronically collected and
   6                            (WHEREUPON, a document was              6 brought into some systems that the company has.
   7                     marked for purposes of identification          7                            Some of the older wells still have --
   8                     as Deposition Exhibit No. 24, a copy           8 the word escapes me right at this minute, but
   9                     of which is attached hereto and made           9 basically, they have a plate that has to be
  10                     a part hereof.)                               10 integrated, and those wells, somebody goes out and
  11                     BY MR. MASTERS:                               11 takes the chart off of, and they are sent to a company
  12                     Q      I want to show you Exhibit 24, and     12 that integrates them, and it gives EQT a listing
  13 this is actually just another set of documents that               13 electronically so that they can be entered into a
  14 were produced during the Weston gathering cost of                 14 system that collects all that information called
  15 service.                                                          15 FLOCAL.
  16                            I just want to go ahead and identify   16                     Q      Okay, and can you describe FLOCAL for
  17 that as documents which would describe the cost of                17 me?
  18 service or portions of the cost of service for the                18                     A      FLOCAL is a collection system that
  19 different districts for periods of, I think, 2009 up              19 we, EQT, used to bring in the volumes and the quality
  20 to two thousand -- should be up to today actually. It             20 of the gas and measure it through to the sales meter.
  21 is 2015. Is that correct?                                         21                     Q      Okay. I mean, okay, I understand
  22                     A      Yes.                                   22 that it does that, but can you describe for me how it
  23                     Q      I want to make sure that I am clear    23 does it?
  24 on what this is. Is this what was submitted to                    24                     A      It is a software.
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   1 Production by Gathering, the Gathering group, by Mr.               1                     Q      Is there -- is it done on a
   2 Piccirilli?                                                        2 proportionate basis some way? You sell -- you produce
   3                     A      Well, I can't be sure whether the       3 gas at a meter --
   4 Production company has this exact document, this                   4                     A      Uh-huh (yes).
   5 detail, but this appears to be the calculation of                  5                     Q      -- and it goes into a gathering
   6 those rates.                                                       6 system that ends up, as Piccirilli described it, as
   7                     Q      Okay, can you tell me whether these     7 molecules floating around through the system.
   8 rates, as indicated on here, were adopted by                       8                            How do you determine how much of the
   9 Production as the estimates?                                       9 gas from well one was sold versus well two, well
  10                     A      I believe that they were.              10 three, at a certain point?
  11                     Q      Okay. So I understand how the          11                     A      Yes, well, that is done in Enertia.
  12 volumes on the wells are measured or determined at                12 The sales meters are reflected in the system, and the
  13 each of the lessor's wells, can you tell me, first of             13 production meters are reflected in the system, and
  14 all, which subsidiary has that responsibility?                    14 Enertia has basically, let me call it a system map
  15                     A      For measuring the --                   15 that says these production wells will flow into this
  16                     Q      Measuring.                             16 sales meter, and it allocates that production that is
  17                     A      EQT Energy buys the gas, and I         17 sold back to the meters behind it on a proportionate
  18 believe -- I believe EQT Gathering measures the gas --            18 basis.
  19                     Q      Okay.                                  19                     Q      Okay, and that is what I understood,
  20                     A      -- as it goes into their gathering     20 so you confirmed that. In terms of the amount of the
  21 system.                                                           21 sales dollars, in other words, or sales prices, if
  22                     Q      And do you know how they go about      22 there -- as I understand, that is what is referred to
  23 measuring it?                                                     23 as a blended sales price. Is that for the gas?
  24                     A      Yes.                                   24                     A      It can be, depending on what
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   1 production meters flow into what gathering system and               1                     A      No.
   2 back out. So if a particular series of production                   2                     Q      Does EQT Gathering do anything other
   3 meters can only go to one spot, that will be the price              3 than take care of the gathering?
   4 they will get.                                                      4                     A      No -- they are compression,
   5                            If the gathering system will allow it    5 compression and gathering, the processing of the gas,
   6 to go to multiple points, then those will be blended                6 all of those.
   7 rates for that.                                                     7                     Q      Well, I was going to ask you about
   8                     Q      Okay, so it goes to a single sales       8 that, so let me sort of go through that with you. Is
   9 point for whatever wells are incorporated into this                 9 the lessor charged for anything before the gas comes
  10 sale. Then that would be the price?                                10 out of the hole, out of the well?
  11                     A      Right.                                  11                     A      No.
  12                     Q      The index price, minus the cost of      12                     Q      When it comes out of the well, it is
  13 service, right?                                                    13 charged. The lessor may or may not be charged for the
  14                     A      Right.                                  14 transportation to the point of sale, depending on, as
  15                     Q      If there's several sales, like in       15 you said, the lease, correct?
  16 reading one of the depositions, I believe there could              16                     A      Right.
  17 be sales to a municipality or various people or                    17                     Q      In addition to the gathering, which
  18 purchasers, but that would be all blended and averaged             18 has been described by you and Mr. Piccirilli and
  19 out based upon the volumes, and you would have a set               19 probably others, other than gathering, I understand
  20 price for that particular gas sale for that particular             20 there is compression, correct?
  21 period; am I correct?                                              21                     A      Right.
  22                     A      Well, yeah, we blend those index        22                     Q      And there may be processing, correct?
  23 points together and portion it back, right, yes.                   23                     A      Right.
  24                     Q      All right.                              24                     Q      Who determines the cost of
      Page 58                                                               Page 60
   1                     A      And, you know, that was some of the      1 compression first?
   2 gathering rate increases over the years are, in fact,               2                     A      Well, it is in these rates that you
   3 to allow the gas to go to multiple sales points so                  3 have given me.
   4 that if capacity constraints or a particular pipeline               4                     Q      Okay, so there again, that
   5 is curtailed or bound for some reason, that the gas                 5 information would be supplied to Mr. Piccirilli from
   6 can be moved to another point. So it is very common                 6 the districts?
   7 to have blended rates.                                              7                     A      Yes.
   8                     Q      Okay, I mean, I understand.              8                     Q      He and his group would put together
   9                     A      Uh-huh (yes).                            9 what they deem to be the cost of that, and then that
  10                     Q      I just want to make sure that I         10 would go to Production?
  11 understand that it is for a particular sale, that if               11                     A      Yes.
  12 there's -- if one is higher than the other within a                12                     Q      And then Production would provide it
  13 certain group of wells, that they are averaged out                 13 to the board as part of their overall business plan
  14 proportionately --                                                 14 for the following year, correct?
  15                     A      Yes.                                    15                     A      Right.
  16                     Q      -- and taken back to the point of       16                     Q      Have you ever been to any of these
  17 sale, which would be at the wellhead in this                       17 board meetings and discussed these business plans for
  18 particular case, right?                                            18 the next year?
  19                     A      Yes.                                    19                     A      I have been in the board meetings and
  20                     Q      I take it, Production drills the        20 I have been in the prep meetings. I have been in
  21 wells and pays for the well?                                       21 both.
  22                     A      Yes.                                    22                     Q      Okay. Describe for me what -- what
  23                     Q      Is EQT Energy, do they pay any part     23 would go on in the prep meetings first.
  24 of the production costs?                                           24                     A      Well, each business unit would make a
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   1 presentation, and the businesses would discuss whether              1 necessary to give support in case there were questions
   2 they were happy or satisfied is probably a better word              2 on that particular presentation, they would be there.
   3 than happy.                                                         3                     Q      Okay, so as I understand, it would be
   4                     Q      We want to be happy, you know.           4 -- the business units would be Equitable Energy or EQT
   5                     A      We all want to be happy, but we          5 Energy, EQT Gathering, EQT Production. Would
   6 rarely are -- whether they are satisfied. You almost                6 Midstream be present?
   7 have to go back even before that because these                      7                     A      Yeah -- yes. The company, as all
   8 businesses are interdependent for their plans.                      8 organizations do, has changed its structure some over
   9                            So the Gathering company has given       9 the years, but the financial statements of a
  10 the Marketing company and the Production company its               10 corporation are done on something called segment
  11 numbers just to prepare a presentation to pass on to               11 reporting, and that can be a little different than how
  12 the next level.                                                    12 the business units are organized, but all of those
  13                            That business unit is going to have     13 groups would be represented.
  14 to sit down and look at that and make comments back to             14                     Q      So the officers of those subsidiaries
  15 the other business unit even before it gets to the                 15 would be present?
  16 prep meetings.                                                     16                     A      Yes, the officers of the subsidiaries
  17                            So clearly that is where that first     17 would be present, but, for instance, the Production
  18 round of that cost is outrageous, we are not paying                18 company's numbers that are presented include certain
  19 that, we are going to change how we plan our                       19 activities that are done by EQT Energy.
  20 production and we are going to do this, we are going               20                            So if I were talking about that
  21 to do that to tweak those things.                                  21 production segment that shows up in the 10-K, those
  22                            So the first cut at that will happen    22 numbers are a little bit different entity on a legal
  23 even before those pre-production meetings or pre-board             23 entity basis in the actual operating company than the
  24 meetings.                                                          24 numbers that show up in the 10-K. So that ends up
      Page 62                                                               Page 64
   1                            They will all be cleaning that up.       1 being a little confusing.
   2 Then at the pre-board meeting, there will be                        2                     Q      And I take it, the business units,
   3 presentations to try to present and justify the                     3 from talking to Mr. Piccirilli, within the Gathering
   4 various plans that they have.                                       4 group, there would be people from other subsidiaries
   5                            If the numbers still don't look like     5 that would participate in that, correct?
   6 they are an acceptable business plan, they will be                  6                     A      Well, yes. It is just that there are
   7 sent back to make changes, to present things                        7 -- and if you look at the org chart, there might be 20
   8 differently, to explain things better, and there will               8 or 30 legal entities there, some of which are legacy
   9 be a second round of pre-board meetings.                            9 companies. Some were set up for activities that
  10                            Then when everybody is comfortable      10 didn't exactly lay out the way they were thought, so -
  11 that they understand and find the plans acceptable, it             11 -
  12 will be whittled down to a level that is acceptable                12                     Q      Didn't work out?
  13 for the corporation's board.                                       13                     A      Didn't work out or didn't -- isn't
  14                            That clearly is going to be at a much   14 how the business is used. For instance, you see EQT
  15 higher level and more refined than those pre-board                 15 Equity and EQT Gathering, that is a distinction that
  16 meetings and, of course, the spreadsheets that are                 16 is less significant than originally thought to be.
  17 used to populate the pre-board meetings.                           17                            So you are not going to see a
  18                     Q      Okay, the pre-board meetings, who is    18 president and a vice president for EQT Gathering and
  19 involved in those? Who conducts those and who                      19 EQT Gathering Equity as separate individuals just
  20 participates in them?                                              20 because there is not a lot of activity.
  21                     A      Well, when I was there, all the         21                     Q      Okay, all right, so in any event, all
  22 corporate officers participated and the business unit              22 of the subsidiaries and business units, however they
  23 heads for each of the business units, and then as each             23 are comprised, will get together and discuss pre-
  24 area was presented, the support team that was                      24 presentation to the board, what would in their
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   1 collective minds constitute a proposal to the board --              1 that the Midstream group is performing. Each year is
   2                     A      Yes.                                     2 going to be a different presentation.
   3                     Q      -- that you think would be in the        3                     Q       Mr. Piccirilli indicated that the
   4 best interest of the company, right?                                4 numbers would be presented, at least in background
   5                     A      Yes.                                     5 information, for the board.
   6                     Q      So after you go through the pre-board    6                     A       Well, we certainly -- these numbers
   7 presentation, after you go through the pre-board                    7 would go into numbers that show up in the board
   8 analysis or whatever you want to call it, what would                8 presentation, but my recollection is that it would
   9 you end up with? Just generally speaking, what would                9 have been unusual for us to review Brenton, Weston,
  10 you end up with to take to the board?                              10 Madison, Madison Equitrans field services every year
  11                     A      A package of slides. I don't really     11 on a specific slide. I am assuming what he meant is
  12 remember the number of slides that would have been in              12 that these numbers go into the numbers that go to the
  13 it, but a package of slides that would represent the               13 board.
  14 significant pieces of business throughout the                      14                     Q       Well, the board has a right to
  15 organization.                                                      15 approve the plan or not approve the plan?
  16                     Q      Would there be some of those slides     16                     A       Yes, it does, yes.
  17 that would include the cost of service, numbers that               17                     Q       And that would include determining, I
  18 we have been talking about this morning here and as                18 take it, how much money Gathering could spend on
  19 shown on Exhibits 22 and 23?                                       19 certain items, correct?
  20                     A      Those specific numbers, no.             20                     A       Yes, I would say more that whether
  21                     Q      Would there be anything presented to    21 their capital expenditures are reasonable in total or
  22 the board concerning the cost of gathering, the cost               22 are getting a particular return.
  23 of compression, the cost before we go to the board?                23                             They are not going to have -- they
  24                     A      Well, it would depend on the            24 may have a presentation where a new compressing
      Page 66                                                               Page 68
   1 particular meeting and the particular focus of what                 1 station is going to be put into service.
   2 they were trying to portray as the issues around those              2                            They are probably not going to have
   3 business activities.                                                3 an individual gathering line cap X. They are going to
   4                            The Gathering group would have some      4 have that cap X number in total.
   5 slides about initiatives. They may or may not have                  5                            They might have a number for all
   6 some slides about specific cost changes.                            6 gathering lines in total, but they are not going to
   7                            They may have a slide talking about      7 have excruciating detail. It would be difficult to
   8 the significance of downtime on major compressors one               8 get an overview if you had that much detail.
   9 year and not the next.                                              9                     Q      Is it fair to say that the board
  10                            So they are going to be kind of a big   10 would depend on the various business units who are
  11 picture to give the board the opportunity to                       11 responsible for determining the cost of service to do
  12 understand why each business unit's contribution is                12 that function?
  13 the way it is.                                                     13                     A      Yes.
  14                            So they are not going to -- they are    14                     Q      But they retain the right to approve
  15 certainly not going to be in excruciating detail.                  15 or disapprove of it; is that fair?
  16 Those folks are not -- that is not their role. They                16                     A      Yes, again, I am not sure that -- and
  17 are not executives of the company operating the                    17 we are talking about the cost of service rate, not the
  18 company. They are overseers of the company and trying              18 amount specifically charged to royalty owners, but
  19 to see that it is a reasonable plan and it is in the               19 that rate in total, they would be more concerned about
  20 company's best interest.                                           20 the return in its entirety rather than on specific
  21                            They will look to see that the          21 costs by district.
  22 Production company seems to be making a good return on             22                     Q      But if they had a question, they
  23 its investment, that the Gathering company is                      23 certainly could call on the president of Gathering or
  24 performing, that the Marketing group is performing or              24 the president of Energy to appear in front of them and
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   1 explain any of that stuff, right?                                   1 determine it on their own or they would ask someone in
   2                     A       Absolutely. Those folks are             2 the legal group to review it for them to put it into a
   3 typically there, as are a small group that help                     3 category in Enertia so that royalties would be paid.
   4 prepare the information so that they can give whatever              4                            That group is different from the
   5 detail they find necessary.                                         5 group that actually pays the royalties on a monthly
   6                     Q       Okay. Have you talked to -- did you     6 basis as a piece of internal control.
   7 discuss with the CEO or your successor about whether                7                            The Land Admin sets up lessor, puts
   8 any of the procedures or methodologies had changed                  8 his name in the system, allows for him to be paid.
   9 since you left?                                                     9 Somebody different is the one that calculates what
  10                     A       No. I have not had any conversations   10 gets paid for them.
  11 with the CEO. I did not talk with EQT's corporate                  11                            So that is why that Land Admin group
  12 controller about it, but I have talked with EQT                    12 is different from the Revenue Accounting and the
  13 Production's controller and the revenue accounting                 13 Production group.
  14 folks. Those are the folks involved in the actual                  14                            That Revenue Accounting group in the
  15 calculation of the royalty payments on a monthly                   15 Production takes that information, the volumes at the
  16 basis.                                                             16 wellhead, the proceeds from the sales, puts it into
  17                     Q       I hear you saying that, but I need     17 the Enertia system, develops an amount for each and
  18 some distinction here, because you also indicated that             18 every royalty owner.
  19 like Land Admin would have some input into that, and I             19                            That system generates a list that is
  20 am a little confused about what Production actually                20 sent to a provider and checks are sent out to the
  21 does and what -- you know, how it actually gets                    21 various royalty owners.
  22 performed.                                                         22                      Q     So admin, the Land Administration
  23                             It sounds like you would almost have   23 group, --
  24 to see the -- you can't sit here today and identify                24                      A     Uh-huh, yes.
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   1 for me the various wells or leases, the 8,000 leases,               1                     Q      -- they are the ones that input into
   2 and say this many would be subject to certain kinds of              2 Enertia the lease and the terms of the lease and
   3 deductions and the other third of the leases would be               3 whether it is -- what type of lease it is and whether
   4 subject to a different kind of deduction, right?                    4 they are entitled to take deductions or not take
   5                     A      Well, how those categories -- how        5 deductions?
   6 would you -- what are the categories that you want                  6                     A      Right.
   7 them broken down into?                                              7                     Q      Correct?
   8                     Q      Well, --                                 8                     A      Right.
   9                     A      I have already indicated -- well,        9                     Q      And let me ask you how familiar you
  10 first, let me talk about what Land Admin is because I              10 are with that process, okay? Have you ever done it?
  11 have obviously confused you on that subject.                       11                     A      I have not.
  12                            At one time, the land function was      12                     Q      And have you ever reviewed -- I mean,
  13 land men who would go out, negotiate a lease with                  13 was that -- is that a part of EQT Production or is
  14 someone, get it signed, and they would bring it back,              14 that part of a different subsidiary?
  15 and there would be a Land Admin group which would                  15                     A      Well, EQT Production provides some
  16 enter some information into the Enertia system so that             16 shared services to all the businesses, and if you
  17 that royalty owner can be paid based upon the terms of             17 think about land and land issues, you can have those
  18 the lease.                                                         18 in the Gathering group and you can have those in the
  19                            If the Land Admin folks, the field      19 Production group because the wells, the leases on the
  20 people, if they used a standard lease, the Land Admin              20 pipeline. You have leases on the right-of-ways.
  21 folks in the office would put that into Enertia, would             21                            So the Production company has a
  22 know how to handle that.                                           22 shared -- has in its shared services group a Land
  23                            If there were some different            23 Admin group that populates Enertia, and they -- I am
  24 language, they either would look at that language and              24 familiar with that because for a while, I was part of
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   1 the team that evaluated systems to replace how it was                1 purchase would not have been changed?
   2 done previously and selected Enertia, and I was                      2                            It would have been -- it would only
   3 involved in a process where all of the leases were                   3 be new leases that would have been characterized
   4 digitized so that that group didn't have to use files                4 differently? Is that what you are saying?
   5 all the time.                                                        5                     A      Correct.
   6                            So I am not -- I have never entered a     6                     Q      But when it was changed over to
   7 transaction. I wasn't a day-to-day user of the                       7 Enertia, the classification would have been simply
   8 system, but I understand its functionality and why it                8 moved from Phoenix over to Enertia with the same
   9 is there.                                                            9 classification?
  10                     Q      Okay, so you say it was digitized,       10                     A      Exactly.
  11 the leases were digitized?                                          11                     Q      Then as new leases came in, those new
  12                     A      Yes.                                     12 leases would be determined as to what classification
  13                     Q      And were the leases characterized by     13 they had, and somebody, and I would like to know who,
  14 certain types of leases?                                            14 made that determination about the new leases when the
  15                     A      Not the digitization, no.                15 new leases came in.
  16                     Q      But I mean, after the digitization,      16                     A      Again, to the extent that they were
  17                     MR. HENDRICKSON: Easy for you to say.           17 standard leases, that Land Admin group would determine
  18                     BY MR. MASTERS:                                 18 that.
  19                     Q      Well, in any event, after the leases     19                            If there was negotiated language and
  20 were digitized and in that process, were they given                 20 the language wasn't clear on what to do, then
  21 certain classifications within -- I mean, you've got                21 typically they would ask the legal group for an
  22 8,000 of them.                                                      22 opinion on that specific lease.
  23                            I mean, obviously, I would assume        23                     Q      But once they got that information,
  24 that there would be classifications given as to the                 24 then it was admin -- was admin the group that would
      Page 74                                                                Page 76
   1 types of leases. My question is then, who did the                    1 classify --
   2 classification? Was it Land Admin or was it somebody                 2                     A       Yes.
   3 else?                                                                3                     Q       -- that based on whatever?
   4                     A       Well, the digitization had nothing to    4                     A       Yes.
   5 do with the classification.                                          5                     Q       And enter that into Enertia?
   6                     Q       I understand.                            6                     A       Yes, and I think -- my recollection
   7                     A       The classifications would have come      7 either in this case or in the McDonald deposition, and
   8 when the Enertia system was first initiated in the                   8 I apologize, I am getting them a little confused, but
   9 company, which I think would have been in 2001 or                    9 Mike Lancaster in his testimony would have indicated
  10 2002.                                                               10 there are some codes there.
  11                             The prior systems were a Phoenix        11                             I wouldn't call them classifications
  12 system and a J. D. Edwards system. The J. D. Edwards                12 as much as codes to determine where the well is and
  13 portion was mainly outside of West Virginia, in                     13 what the specifics of how we are going to handle it
  14 Kentucky and -- Kentucky and Virginia.                              14 are.
  15                             The Phoenix would have had some wells   15                     Q       Okay, well, you would almost have to
  16 in Kentucky, Virginia and almost every well in West                 16 have codes or some kind of system to -- I mean, to pay
  17 Virginia.                                                           17 out royalties and do deductions --
  18                             Those would have been entered into      18                     A       The system, right, exactly.
  19 Enertia based on the way they were paid at the time                 19                     Q       How is depreciation calculated on
  20 that they were purchased from Eastern States. Then                  20 your overall gathering systems?
  21 wells from that day to today would be classified as                 21                     A       Well, different pieces of the system
  22 they were entered into the system.                                  22 are handled differently. A compressor would be a
  23                     Q       So you are saying that the              23 straight line depreciation for book purposes and
  24 classification of the wells going forward after the                 24 accelerated for tax purposes.
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      Sheet 20       Page 77                                                Page 79
   1                            There are some items that are unit of    1 that would be part of this gathering cost, correct?
   2 production, but for the most part, it is straight line              2                     A      Right.
   3 depreciation.                                                       3                     Q      And if the employee would go out and
   4                     Q      And as I understand, the royalty         4 assist in any way in placing the line, those internal
   5 owners or the lessors are not charged for any                       5 costs of that employee appearing and assisting and
   6 depreciation?                                                       6 designing or supervising or laying the pipeline, that
   7                     A      Right.                                   7 would be something that would be incorporated into the
   8                     Q      And does that include depreciation of    8 cost?
   9 compression services?                                               9                     A      The cost of the pipeline, yes.
  10                     A      Right.                                  10                     Q      Well, in terms of the -- that would
  11                     Q      And does that include depreciation of   11 be part of the cost that would show up on the cost of
  12 your gas lines, your gathering lines, your                         12 service for the gathering, if it was a gathering line?
  13 transportation lines?                                              13                     A      Well, that ends up being one of the
  14                     A      I believe it does not, and, of          14 things that changes how these costs are accumulated.
  15 course, you have seen the detail there, and there                  15 Let's say that a lot of capital is
  16 isn't a category for depreciation on there.                        16 -- a lot of pipe is being laid.
  17                     Q      I really didn't understand exactly.     17                            You might have some maintenance folks
  18 I probably should have asked Mr. Piccirilli more about             18 diverted to doing some capital work. That would be
  19 that, but it seemed to me that certain pipelines could             19 charged to capital.
  20 be depreciated and that a royalty owner could end up               20                            When that project was done, those
  21 within the cost -- let me start over. Is the lessor                21 people would either be reassigned to maintenance
  22 charged for the cost of placement of the line?                     22 activities or would have to be transferred to some
  23                     A      No.                                     23 other activity or some other location or laid off or
  24                     Q      Is there like a formula that is         24 whatever you do to maintain reasonable costs.
      Page 78                                                               Page 80
   1 utilized by Gathering or any of the other personnel in              1                     Q      Have you ever viewed a list of items
   2 the districts or groups in the district would follow                2 that would be incorporated into gathering costs?
   3 in terms of providing Mr. Piccirilli with a cost list               3                     A      Yes, I have seen a list -- well, let
   4 of costs that he would then incorporate into his                    4 me say that I have seen the next step down, which is
   5 analysis to provide to Production as the cost of                    5 the ledger accounts that support it. I would have
   6 gathering?                                                          6 never pulled the invoices and looked at the invoices,
   7                     A      Well, I am not exactly sure how to       7 if you are asking me that.
   8 answer that, other than to say if we were to go back                8                     Q      And would Mr. Piccirilli actually see
   9 to your exhibit here for Weston, there are going to be              9 or his group actually see the invoices or would they
  10 accounts in the general ledger for vehicle costs.                  10 receive the information from the districts in a ledger
  11 Somebody would have said to -- probably provided him -             11 form?
  12 - either he, somebody working for him, or somebody in              12                     A      They would receive the information in
  13 that business unit would have said, here are the                   13 ledger form. Those ledgers would have been developed
  14 actual costs for six months. Here is what we think                 14 by that business unit's accounting folks.
  15 the costs are going to be for the rest of this year.               15                     Q      And then they would -- as I
  16 Here is the number of vehicles that we have, they                  16 understand, they would get together all of the
  17 increased or decreased, and that is how we are going               17 different ledgers from all the different units and
  18 to do additional maintenance on them or we are not                 18 determine a cost of service for each district,
  19 going to do additional maintenance.                                19 correct?
  20                            So he would take the actual, he would   20                     A      Right.
  21 extend it to the end of the year, and then he would                21                     Q      Now, one of the things he said was
  22 adjust it for known changes in each category.                      22 that the gathering rate cost of service for EQT Energy
  23                     Q      I take it that if a EQT employee got    23 would be different from that for the royalty owners.
  24 in his truck, went out and read a meter somewhere,                 24                     A      Uh-huh (yes).
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      Sheet 21       Page 81                                                Page 83
   1                     Q      Is that correct?                         1 what I understood he said. I thought I understood him
   2                     A      Yes.                                     2 to say the gathering rate for EQT Energy was different
   3                     Q      Okay, and what would be different        3 from the gathering rate for the lessors.
   4 about it?                                                           4                     A      It is, yes. It is greater.
   5                     A      Well, as I said, and this is what I      5                     Q      It is greater?
   6 was trying to explain earlier. I apologize if it                    6                     A      Yes.
   7 wasn't very clear.                                                  7                     Q      And that is because the depreciation
   8                            The Gathering company calculates a       8 rate and so forth is more?
   9 rate, an all-in rate cost of service that it charges                9                     A      Right.
  10 EQT Production -- it charges EQT Energy, which charges             10                     Q      Okay, and EQT Energy then makes up
  11 EQT Production the full amount.                                    11 for that by the things it did, it does, in terms of
  12                            What EQT Production charges its         12 trying to make money from the resale or the storage
  13 royalty owners is its decision. As I told you, they                13 and the sale of the gas at different times, right?
  14 already look at each lease and determine what it                   14                     A      No. EQT Energy charges that back.
  15 should be paid.                                                    15 They deduct the gathering charge in its entirety from
  16                            If the determination is that those --   16 the proceeds that it pays to the Production company.
  17 these costs that show up on here should be deducted,               17                     Q      Okay, so they never really -- EQT
  18 that is Production company's decision.                             18 Energy never really pays the cost of the gathering?
  19                            These are a piece of the number that    19                     A      No.
  20 is the total cost of service. So you can take the                  20                     Q      They pay EQT Production for the gas?
  21 number on here, add return, depreciation and some                  21                     A      They pay for capacity to move the gas
  22 taxes and come to the number that the Production                   22 wherever it has to move from the point that it is
  23 company or any other working interest owner is going               23 delivered into that index pricing that we were talking
  24 to be charged for that gathering activity.                         24 about.
      Page 82                                                               Page 84
   1                            So the amount that the Gathering         1                     Q      Does EQT have its own wells?
   2 company is getting and is paid by the Marketing                     2                     A      EQT Production?
   3 company is the total cost of service rate, which                    3                     Q      Yes. Do you own your own -- when I
   4 includes that return, the taxes, the depreciation.                  4 say your own wells, do you own -- does EQT own its own
   5                            Typically, the number that the           5 leases and drill its own leases or property?
   6 Production company pushes back to any royalty owners                6                     A      EQT Production usually has a driller
   7 that are involved is that lessor number that shows up               7 drill the wells.
   8 here.                                                               8                     Q      But I mean, I am talking about do you
   9                            Piccirilli's only participation in       9 own like 100 percent of the wells, I guess is a better
  10 that is that he is calculating that rate because he                10 way to ask the question.
  11 has all the detail to support it.                                  11                     A      Not always.
  12                            He is not making a decision as to who   12                     Q      But you do have --
  13 gets paid and who doesn't. That is not within that                 13                     A      Pardon me?
  14 operating unit's --                                                14                     Q      You do have your own wells?
  15                     Q      Are you saying that energy's cost of    15                     A      We do have 100 percent our own wells.
  16 service or gathering rate would be higher than the                 16 We do have working interest in some wells, but by and
  17 lessor's or are you saying that you don't know?                    17 large, our wells are 100 percent owned by EQT
  18                     A      EQT Energy -- ask me the question       18 Production. With the J. D. Edwards system, Enertia
  19 again.                                                             19 are 8-8 systems, so they are all calculated in there.
  20                     Q      Okay. There's more that goes into       20                     Q      What percent of the wells that are
  21 the cost of service than gathering, correct?                       21 within your -- what percent of the wells are owned 100
  22                     A      For the gathering rate. There's         22 percent by EQT?
  23 gathering; there's compression.                                    23                     A      I can't give you that number off the
  24                     Q      Let me ask the question again about     24 top of my head. It is a big percentage of the wells
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      Sheet 22       Page 85                                                 Page 87
   1 are 100 percent owned, in the 90's, I am sure.                       1                     Q      Are you familiar with the royalty
   2                     Q      Just so I am clear, because I want to     2 statements that are sent to the lessors?
   3 make sure I understand, you are saying 90 percent of                 3                     A      I have seen them, yes.
   4 the wells that EQT Production owns are 100 percent                   4                     Q      Is there any identification on those
   5 owned by it. But my question really goes to the                      5 royalty statements that there is a certain amount of
   6 leasehold state that EQT owns 100 percent of the                     6 gas utilized for any of those different things,
   7 production; that is, you don't have to pay royalty to                7 compression, line loss or any other volume deduction
   8 anybody on. That was really my question.                             8 from what is produced at the wellhead?
   9                     MR. WEST: I don't think he understood.           9                     A      Well, if it is a well that allows for
  10                     MR. MASTERS: I don't think he did either,       10 the company to deduct for company use, it will be part
  11 so I am re-asking.                                                  11 of the deduction. If the lease allows -- a lease may
  12                     MR. WEST: You are not limiting your             12 or may not allow for company use.
  13 question to the working interest?                                   13                     Q      Tell me what your understanding is of
  14                     MR. MASTERS: Right.                             14 a lease that would or would not allow for a deduction,
  15                     MR. WEST: Okay.                                 15 volume deduction.
  16                     BY MR. MASTERS:                                 16                     A      I am just not familiar exactly with
  17                     Q      The question is -- let me start over.    17 which leases do and which don't.
  18 It is inartfully asked in the first instance. I am                  18                     Q      Okay, but going back to my question,
  19 asking you, in terms of the leasehold estate, that EQT              19 and I will show you here maybe after lunch a lease
  20 would own 100 percent of the leasehold estate plus                  20 with a royalty statement, a lessor's statement of
  21 obviously own the well when it is drilled?                          21 royalty and the deductions that are on there.
  22                     A      I think that is right.                   22                            Isn't it true that there's no items
  23                     Q      Okay, what percent would EQT own the     23 listed on the royalty statements that identifies a
  24 leasehold estate, as well as the well 100 percent?                  24 volume deduction?
      Page 86                                                                Page 88
   1                     A       I am not exactly sure.                   1                     A      There is not.
   2                     MR. WEST: Are you asking are there               2                     Q      And was that ever -- in the various
   3 instances in which EQT owns the mineral -- the oil and               3 meetings that you had with employees of EQT, have you
   4 gas rights in fee?                                                   4 all ever discussed whether there should or should not
   5                     MR. MASTERS: Yes.                                5 be?
   6                     THE WITNESS: I don't think there are. I am       6                     A      I haven't. I will note that the
   7 not sure whether there are in West Virginia, whether                 7 royalty statement itself has a volume that is
   8 there's any in West Virginia or not.                                 8 different than the production volume.
   9                     BY MR. MASTERS:                                  9                            To the extent that somebody asks
  10                     Q       That is my question. Do you know the    10 about that, that is lost and unaccounted for gas, or
  11 answer to that?                                                     11 actually it is any variation that occurs between the
  12                     A       I don't know the answer to that.        12 wellhead and the sales point.
  13                     Q       Are you familiar with what is called    13                            So if, in fact, a well produces 100
  14 the unaccounted for gas?                                            14 MCF, likely that statement is going to have a lower
  15                     A       Yes.                                    15 number on it. Actually, I meant to answer in
  16                     Q       It is called line loss is one thing,    16 dekatherms, but you get my point.
  17 right, one item under there?                                        17                     MR. MASTERS: Okay, all right. Do you all
  18                     A       Uh-huh (yes).                           18 want to take a break now for lunch?
  19                     Q       The other is compression, the amount    19                     MR. WEST: Sure.
  20 of gas used in compression or lost in compression;                  20                            (WHEREUPON, a recess was
  21 retainage; and is there any other line loss or                      21                     taken for lunch, after which the
  22 unaccounted for gas that you understand EQT --                      22                     following proceedings were had.)
  23                     A       Temperature differential, measurement   23                            (WHEREUPON, a document was
  24 errors, measurement timing.                                         24                     marked for purposes of identification
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      Sheet 23       Page 89                                                 Page 91
   1                     as Deposition Exhibit No. 25, a copy             1 proportional share of the well that the royalty owner
   2                     of which is attached hereto and made             2 owns.
   3                     a part hereof.)                                  3                            So if you take that top number, which
   4                     BY MR. MASTERS:                                  4 I think is $3,377.92, and multiply it by that
   5                     Q      I am showing you Exhibit No. 25. Can      5 interest, you will get the $52.78.
   6 you identify this as an Equitable Production Company,                6                      Q     Okay, and then the gross revenue, the
   7 I guess now EQT Production for the period of November                7 gross revenue and the owner revenue, what is that?
   8 2008?                                                                8                      A     Well, if you multiply that net price
   9                     A      Yes.                                      9 times the volume number, you will get the gross
  10                     Q      Do you recognize this as a form that     10 revenues or the owner revenues.
  11 was generally used by EQT Production during this time               11                      Q     And then it has got gross taxes and
  12 period?                                                             12 what's the taxes?
  13                     A      Yes.                                     13                      A     Yeah, that is unusual. There's not
  14                     Q      Okay, just going across the top of       14 many leases that have taxes paid on them, but I am
  15 that, the first column is the date, and that would be               15 assuming that is some severance taxes or property
  16 for the month of November 2008?                                     16 taxes. I am not really sure which on that particular
  17                     A      Yes.                                     17 lease.
  18                     Q      And production type would be gas,        18                      Q     Okay. Then it shows deductions, and
  19 correct?                                                            19 it shows zero?
  20                     A      Yes.                                     20                      A     Right.
  21                     Q      And the interest type would be           21                      Q     And then a well net revenue owner net
  22 royalty interest?                                                   22 of $341.21, correct?
  23                     A      Yes.                                     23                      A     Yes.
  24                     Q      The net price there is $6.80. Can        24                      Q     Going back to the net price, that
      Page 90                                                                Page 92
   1 you show me what that is for or what that represents?                1 price is what EQT Energy would have paid EQT
   2                     A       Yes, that would be the portion of the    2 Production, correct?
   3 proceeds applicable to that lease.                                   3                      A     Well, yes.
   4                     Q       Okay. Now, that would be after all       4                      Q     And as we look down through the next
   5 of the deductions and so forth were taken or what?                   5 two, the prices -- the net price varies somewhat for
   6                     A       Well, that is the rate before any        6 different leases for this period, but generally, the
   7 deductions are taken. That is our rate per dekatherm                 7 same process would work with respect to each of these
   8 before deductions.                                                   8 different leases to get to the net revenue and owner -
   9                     Q       It says net price, and so that is        9 - to the well net revenue and the owner net revenue,
  10 sort of my question. What does it mean, net price?                  10 right?
  11                     A       Yeah, that means it is actual net gas   11                      A     Yes.
  12 sold, not the gas produced.                                         12                      Q     Okay. Over under gross deductions,
  13                     Q       Okay. In other words, that would be     13 it shows a certain amount there, I think for well
  14 -- $6.80 would be for the total amount. That wouldn't               14 510841, it is -- the total deduction was $2,214.40,
  15 be the rate per MCF. That would be the total price                  15 and for this particular owner or lessor, it was $34.60
  16 for that interest in the gas?                                       16 for her portion of the interest, right?
  17                     A       That is the rate per dekatherm at the   17                      A     Yes.
  18 sales point, the first liquid trading point.                        18                      Q     On the next one, it shows the
  19                     Q       At the wellhead?                        19 deductions as being $222.47. Can you tell me how that
  20                     A       No, that is the price at the first      20 was calculated, the $222.47?
  21 liquid trading point.                                               21                      A     The 14,238.10 multiplied by the
  22                     Q       The decimal interest, what is that?     22 .01562500 should give you the $222.47.
  23                     A       That is the proportional share of the   23                      Q     That would her proportional interest
  24 royalty interest that this particular -- it is the                  24 or charge for that particular --
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      Sheet 24       Page 93                                                Page 95
   1                     A      Right.                                   1 insofar as EQT is concerned?
   2                     Q      -- period?                               2                     A      No, I told you the Land Admin does
   3                     A      Yes, sir.                                3 that.
   4                     Q      Is the rate charged for deductions       4                     Q      Right, that is what I understood.
   5 the same for well 841 as it is for well 842?                        5                     A      Uh-huh (yes).
   6                     A      I don't know.                            6                     Q      So you would have to do the same
   7                     Q      Okay. So I mean, as we -- as you sit     7 thing that you described this morning? You would have
   8 here today, you can't tell me on Exhibit 25, the first              8 to go to the admin, Land Admin and either ask them or
   9 page, why there are -- some of the wells have                       9 ask for their database in order to be able to
  10 deductions and some of the wells do not have                       10 determine that, right?
  11 deductions; is that fair to say?                                   11                     A      Yes, somebody would have to pull that
  12                     A      Well, yes, I have told you each lease   12 lease and look at it.
  13 is evaluated separately. Some allow deductions. Some               13                     Q      Well, you indicated that they had
  14 do not.                                                            14 already done that and it was already categorized in
  15                            It is possible that you have            15 their Enertia system, correct, so that Enertia could
  16 additional charges to get, third party charges to get              16 pay it, right?
  17 that gas to a market position.                                     17                     A      Right.
  18                            It is possible there's prior period     18                     Q      Now, you said taxes, that the taxes -
  19 adjustments in there. I am not prepared to talk about              19 - that it was unusual to have the taxes, tax charges,
  20 any specific lease without or well without                         20 correct?
  21 investigating it.                                                  21                     A      Yes.
  22                     Q      And when you say third party charges,   22                     Q      And, again, you cannot tell me today
  23 explain to me what you mean by that.                               23 why there are tax deductions on this particular
  24                     A      Well, sometimes, in addition to going   24 Exhibit 25?
      Page 94                                                               Page 96
   1 through EQT Production's system, it may have to go                  1                     A      Right. I don't know whether that
   2 through someone else's system to get to a marketable                2 language of that specific lease allows it or there is
   3 location.                                                           3 a mistake there. I can't tell you. It is on the
   4                     Q      So if you -- if EQT documents or         4 specific lease.
   5 evaluates a gathering charge and then in addition you               5                            (WHEREUPON, a document was
   6 have to send it through some other gathering system,                6                     marked for purposes of identification
   7 is it your testimony that the lessor is required to                 7                     as Deposition Exhibit No. 26, a copy
   8 pay that charge, as well, to get it to the point of                 8                     of which is attached hereto and made
   9 sale?                                                               9                     a part hereof.)
  10                     A      Well, it depends. As I said before,     10                     BY MR. MASTERS:
  11 you have to look to the language of a specific lease,              11                     Q      I want to show you Exhibit 25 -- 26,
  12 but if the lease allows for gathering charges to be                12 I'm sorry, and this is the same general form that we
  13 deducted, let's say the gas has to go through the                  13 looked at in Exhibit 25, correct?
  14 Cabot gathering system to get to a sales point, that               14                     A      Yes.
  15 charge would be reflected on this statement.                       15                     Q      Just going across here, it shows
  16                     Q      Okay. So that I am understanding you    16 pretty much the same type of -- well, it has got the
  17 -- I heard what you said and I understand what you                 17 same columns, correct?
  18 said, but I want to make sure what the basis is for                18                     A      Yes.
  19 you to say that with respect to a particular lease                 19                     Q      And then it has got the amount, the
  20 like this one.                                                     20 net price of the gas, and then it has got the interest
  21                     A      Uh-huh (yes).                           21 ownership, and then it has got the gross volume, the
  22                     Q      I mean, let me ask you this. Have       22 owner volume, gross revenue, owner revenue, gross
  23 you evaluated leases for the purposes of determining               23 taxes, which are all zero down under taxes, and then
  24 which leases would owe deductions and which would not              24 the gross deducts, owner deducts and the well net
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      Sheet 25       Page 97                                                 Page 99
   1 revenue and the owner net, right?                                    1                     Q       And in this particular statement, it
   2                     A      Yes, sir.                                 2 shows a gross tax, owner tax of zero, correct?
   3                     Q      And, again, you can't tell me any         3                     A       Yes.
   4 more about the deductions that were taken from the Kay               4                     Q       And it shows gross deducts, owner
   5 Company's royalty in this period without going and                   5 deducts as zero, correct?
   6 looking at those records, can you?                                   6                     A       Yes.
   7                     A      That's right.                             7                     Q       And it shows the well net revenue and
   8                     MR. MASTERS: 27.                                 8 owner net revenue, correct?
   9                            (WHEREUPON, a document was                9                     A       Yes.
  10                     marked for purposes of identification           10                     Q       I want to go back and, again, though,
  11                     as Deposition Exhibit No. 27, a copy            11 the volume of the 8.55 MCF would be the amount of gas
  12                     of which is attached hereto and made            12 after deducting the unaccounted for gas?
  13                     a part hereof.)                                 13                     A       Well, I look at it the other way.
  14                     BY MR. MASTERS:                                 14 That is the proportionate share of the gas that is
  15                     Q      And this has some handwriting on         15 sold.
  16 this. I guess I could have torn it out of the                       16                     Q       Well, I was talking about the amount
  17 information that you provided to us, but anyway, the                17 -- true. I mean, I understand that that is the volume
  18 Dotson Cather Trust, again, same form as we looked at               18 that was --
  19 in 25 -- I mean 25 and 26, correct?                                 19                     A       Okay.
  20                     A      Yes.                                     20                     Q       -- sold, but in terms of the amount
  21                     Q      And it shows pretty much the same        21 of volume at the wellhead itself, it would be more
  22 type of information, correct?                                       22 than this, correct? The 8.55 would be the amount at
  23                     A      Yes.                                     23 the wellhead minus the unaccounted for gas?
  24                     Q      And it shows there that there was a      24                     A       Right, and, of course, if you were
      Page 98                                                                Page 100
   1 net price. It shows the volume. It shows the                         1 looking at the volume at the wellhead, the net price
   2 revenue, and it shows the gross and owner deductions                 2 that you pay would be different.
   3 and the well net revenue and the owner net revenue,                  3                     Q      And that is because you are taking
   4 right?                                                               4 deductions from it, right?
   5                     A       Yes.                                     5                     A      No, that is because nobody is going
   6                     Q       And as we discussed this morning, the    6 to pay for gas that doesn't get to the market or can't
   7 volume that we see here is the volume after the                      7 get to the market.
   8 deductions of line loss and unaccounted for gas,                     8                     Q      Okay. Did you ever review the Tawney
   9 correct?                                                             9 case, the decision?
  10                     A       Yes.                                    10                     A      No.
  11                             (WHEREUPON, a document was              11                     Q      Do you remember what --
  12                     marked for purposes of identification           12                     A      I've seen it.
  13                     as Deposition Exhibit No. 28, a copy            13                     Q      Do you remember what the Supreme
  14                     of which is attached hereto and made            14 Court said about whose duty it was --
  15                     a part hereof.)                                 15                     A      I don't. I did not have any legal --
  16                     BY MR. MASTERS:                                 16 I am not a legal representative of the company.
  17                     Q       I want to show you Exhibit 28 and ask   17                     Q      I understand.
  18 if you can identify that as a similar form that we                  18                     A      They would have reviewed that.
  19 looked at or the same form we looked at for Mr.                     19                     Q      But you are sort of defending this as
  20 Hamric.                                                             20 if there's no duty on the part of the company to get
  21                     A       Yes.                                    21 the gas to the point of sale.
  22                     Q       And it has the same type of             22                     A      Well, again, I am not the person to
  23 information on it, correct?                                         23 determine whether there's --
  24                     A       Yes.                                    24                     Q      That is what I thought.
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      Sheet 26       Page 101                                               Page 103
   1                     A      -- a duty or not.                        1                     A      I didn't agree --
   2                     Q      I understand. I am just asking you       2                     MR. WEST: Objection.
   3 questions.                                                          3                     THE WITNESS: I'm sorry. I didn't agree to
   4                     A      Yes, sir.                                4 anything. I said I read the -- I may have read the
   5                     Q      I am asking you factual questions.       5 opinion, but I didn't have an opinion on the opinion.
   6                     A      Yes, sir, I am not trying to make a      6 It is not my position to take a legal position for the
   7 legal determination. My understanding of that is the                7 company.
   8 gas is sold to an affiliate at the wellhead.                        8                     BY MR. MASTERS:
   9                            If you show the -- if you show the       9                     Q      So is it fair to say then that you
  10 volumes at the wellhead, you would have to show a                  10 have no opinion about who has the duty and
  11 lower market price because it cost money to move it                11 responsibility to, as between the royalty owner or
  12 from the wellhead to somewhere else, and if you can't              12 lessor and lessee, who has the responsibility to get
  13 get those volumes somewhere else, you can't get                    13 the gas to the market?
  14 proceeds for it.                                                   14                     MR. WEST: Objection. You may answer to
  15                     Q      It is really worth nothing at the       15 your knowledge.
  16 wellhead.                                                          16                     THE WITNESS: Ask me the question again.
  17                     A      If you can't get it to somebody that    17                     BY MR. MASTERS:
  18 wants to buy it.                                                   18                     Q      Is it fair to say that inasmuch as
  19                     Q      Okay.                                   19 you are not familiar with the West Virginia Supreme
  20                     A      Either that or proportionately, every   20 Court's opinions on the issue whose responsibility it
  21 dekatherm is worth less is probably a better way to                21 is to get the gas to the market, that you have no
  22 say it than it is worth nothing.                                   22 opinion as to that issue in your deposition here in
  23                     Q      Well, that goes back to my question.    23 this case?
  24 My question was simply, the volume at the wellhead was             24                     MR. WEST: Objection.
      Page 102                                                              Page 104
   1 bigger than the net volume that is shown on Mr.                     1                     THE WITNESS: My view, without making a
   2 Hamric's statement, correct?                                        2 legal determination and without regard to the Tawney
   3                     A      Yes.                                     3 decision, is that the proceeds of a well -- of a sale
   4                     Q      I didn't ask you whether the price       4 are the volume that is sold, and if you look at the
   5 would be different.                                                 5 volumes that are sold at the first liquid trading
   6                     A      Okay, I have answered that.              6 point, that is a lower volume than is actually
   7                     Q      And you haven't read the West            7 produced.
   8 Virginia Supreme Court's decisions on that?                         8                            If you look at the volumes at the
   9                     A      I may have read it. I haven't made       9 wellhead, then you would have to reduce the net price,
  10 any determinations, legal determinations.                          10 because there is a proportionate amount of gas that
  11                     Q      So you have no opinion as to what the   11 didn't make it past that production meter, and a
  12 fair market value would be at different places; is                 12 person is not going to pay for that.
  13 that fair to say?                                                  13                     BY MR. MASTERS:
  14                     A      I tried --                              14                     Q      What person?
  15                     MR. WEST: Object to form. You may answer.      15                     A      Anyone -- EQT, a third party.
  16 Objection; you may answer.                                         16                     Q      So it is your testimony that no gas
  17                     THE WITNESS: I tried to explain it before      17 company in West Virginia is paying the index price to
  18 and you just criticized my answer.                                 18 lessors and is not paying for or not charging the
  19                     BY MR. MASTERS:                                19 lessors deductions?
  20                     Q      No, I just simply said if you are       20                     A      No, that is --
  21 going to -- don't you agree that the West Virginia                 21                     MR. WEST: Objection.
  22 Supreme Court made a determination about who had the               22                     BY MR. MASTERS:
  23 duty and responsibility to get the gas to the                      23                     Q      Well, you just said nobody is doing
  24 wellhead?                                                          24 it; nobody would ever do that.
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      Sheet 27      Page 105                                               Page 107
   1                     A      I apologize for making a more           1 so that somebody reviewing this record would know
   2 sweeping statement. It is unlikely that you could get              2 specifically what was charged, what wasn't charged,
   3 -- first of all, you didn't ask me about royalty                   3 what was deducted, what wasn't deducted on the
   4 payments.                                                          4 statements themselves of these clients. That's it.
   5                            You asked me about buyers. The          5 That is all I was asking.
   6 typical buyer of gas is not going to pay for gas that              6                     THE WITNESS: I apologize if I misunderstood
   7 they have not received.                                            7 the question, and I will try to listen closer to the
   8                     Q      How much is EQT paying per acre for     8 questions in the future.
   9 leaseholds for their Marcellus wells?                              9                     MR. MASTERS: You don't have to apologize.
  10                     MR. WEST: Objection.                          10 I didn't mean you had to apologize. There's nothing
  11                     THE WITNESS: Do you want me to --             11 wrong with what you did. In life, there's nothing
  12                     MR. MASTERS: Are you putting him up for       12 wrong with it.
  13 this stuff?                                                       13                            It is just I am trying to make a
  14                     MR. WEST: Well, this is not a category, the   14 record. Well, I didn't really mean to, but since you
  15 amount that is being paid per acre.                               15 insist, I will put it in. Is this three copies here?
  16                     MR. MASTERS: I will be glad to cross-         16                            (WHEREUPON, a document was
  17 examine him. I just simply asked him a couple of                  17                     marked for purposes of identification
  18 questions about those statements, and if you want to              18                     as Deposition Exhibit No. 29, a copy
  19 put him up on whether any company or what his opinions            19                     of which is attached hereto and made
  20 are about what somebody would pay for gas at the                  20                     a part hereof.)
  21 wellhead, I mean, I will be glad to -- I will cross-              21                     BY MR. MASTERS:
  22 examine him.                                                      22                     Q      Twenty-nine, just so you understand,
  23                     MR. HENDRICKSON: Can I explain something      23 is just another set of statements to Mr. Leggett, and
  24 real quick? I think you guys are talking around each              24 there's nothing, I don't think, different about these
      Page 106                                                             Page 108
   1 other.                                                             1 except the amounts. So I am just -- you haven't seen
   2                     MR. MASTERS: I am not talking around           2 this before today?
   3 anybody, Dave, no, no, huh-uh. I have done thousands               3                     A      No.
   4 of depositions.                                                    4                     Q      Okay. I think you mentioned that
   5                     MR. HENDRICKSON: I know you have.              5 after the Tawney decision that there was some people
   6                     MR. MASTERS: I can tell when somebody is       6 that reviewed the leases and so forth and made
   7 inserting crap into them that I am going to ask a                  7 determinations and maybe went back, and I don't know
   8 question about.                                                    8 exactly what you said.
   9                     MR. HENDRICKSON: I don't think he was, in      9                            I am just paraphrasing generally, but
  10 all due respect, Marvin. What he is saying, if there              10 did you have any part in that or play any part in
  11 is 100 MCF of gas at the wellhead and then only 90                11 making a decision about how EQT should address the
  12 make it to the first sales point, no one is going to              12 Tawney decision with respect to its recordkeeping or
  13 pay for the 10 that didn't make it there. That is all             13 its payment of royalties and whether it should deduct
  14 he is saying.                                                     14 or not deduct from its royalty owners?
  15                     MR. MASTERS: What does that have to do with   15                     A      I'm sorry, ask me the first part of
  16 my question?                                                      16 the question again.
  17                     MR. HENDRICKSON: I thought that is what       17                     Q      Sure. That was a long question. As
  18 your question was.                                                18 I remember, earlier, you were explaining the databases
  19                     MR. MASTERS: No, that was not my questions.   19 and how EQT after they bought Eastern, how they had
  20                     MR. HENDRICKSON: Okay, then I apologize. I    20 made changes up through a period of time.
  21 didn't understand your question.                                  21                     A      Yes.
  22                     MR. MASTERS: That is an argumentative         22                     Q      At one point, I think after the
  23 statement made on the record in this case that has                23 Tawney decision, I think you said there had been a
  24 nothing to do with what -- I was trying to point out              24 review of that or somebody had reviewed it.
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      Sheet 28       Page 109                                               Page 111
   1                     A      Yes.                                     1 me or anyone else which leases were determined to have
   2                     Q      I don't want to know what -- I am not    2 no deductions versus those which did have deductions,
   3 interested in what your lawyers may have told you or                3 you would have to look at that same list, right?
   4 you read or anything from your lawyer, but did you                  4                     A      Yes.
   5 play any part in meetings or give recommendations or                5                     Q      Did you ever see a categorization of
   6 read recommendations from the officers and employees                6 leases? For example, did you ever see a list at the
   7 of EQT about how they were going to address Tawney?                 7 wellhead, a kind of lease designation?
   8                     A      I have been at some meetings where       8                            If you are categorizing something,
   9 that was discussed. I wouldn't have made any                        9 you are aware that a lot of leases have so much
  10 decisions. As I said before, we had a law firm review              10 royalty, usually 1/8th at the wellhead or words to
  11 those at the time. Did I say it was Lewis?                         11 that effect, correct?
  12                     Q      Glasser, I think.                       12                     A      Uh-huh (yes).
  13                     A      Glasser, and I was in some meetings     13                     Q      That is one category. Did you ever
  14 where there were some presentations or discussions                 14 see that lease categorized in your system anywhere?
  15 with outside and inside counsel on what to do, but I               15                     A      I am not sure I understand the
  16 didn't have a part in the decision making process.                 16 question.
  17                     Q      Okay. Were there any changes made,      17                     Q      Let me re-ask it then. There are
  18 however, to the way EQT Production or EQT Corp or                  18 certain leases that originally were flat rate that
  19 anyone charged lessors deductions?                                 19 were converted by statute to a 1/8th?
  20                     A      Yes.                                    20                     A      After they were re-completed? Is
  21                     Q      Was there any memorandum sent from      21 that what you mean?
  22 corporate to you or others that you saw dealing with               22                     Q      Yeah, after there was work done on
  23 that issue?                                                        23 them or something.
  24                     A      There must have been at least a list    24                     A      Right.
      Page 110                                                              Page 112
   1 from the attorneys on which ones to change, but I                   1                      Q     Did you ever see a categorization of
   2 don't recall a memorandum.                                          2 leases that had been converted by statute?
   3                      Q     Okay, I am not interested in the one     3                      A     No.
   4 from the attorneys. I am talking about -- let me just               4                      Q     Is it fair to say you are not
   5 ask you this. From your memory, in implementing any                 5 familiar with the categories of leases that would have
   6 change after the Tawney decision, what was changed?                 6 been determined to be subject to paying deductions or
   7                      A     There were certain leases that no        7 being charged deductions versus those which were not?
   8 deductions were taken anymore on them.                              8                      A     Well, my recollection is that the law
   9                      Q     Can you identify which of those          9 firm made a legal determination. I am familiar that
  10 leases? I mean, you, yourself, can you identify which              10 they were looking at certain leases that will remain
  11 leases or categorization of leases that thereafter no              11 silent as to deductions versus ones that specifically
  12 deductions were taken?                                             12 allowed deductions. I think there were some other
  13                      A     No. I am not sure that you can,         13 legal determinations made.
  14 other than I think a list was prepared, Mike Lancaster             14                      Q     Well, that is somewhat helpful, but
  15 went into the system and set those leases to not have              15 my question really went to your personal knowledge as
  16 any more deductions.                                               16 we sit here and doing this deposition.
  17                      Q     Mr. Lancaster, however, was not the     17                      A     Yes.
  18 one that made those determinations? He is just the                 18                      Q     Can you categorize your leases
  19 one that went in and made the changes?                             19 yourself, the types of leases that would fall in or
  20                      A     Right.                                  20 without a deduction?
  21                      Q     You didn't make any determinations      21                      A     Again, if a lease specifically
  22 about which leases fell within or without, correct?                22 allowed any charges or some charges, that is easy
  23                      A     Right.                                  23 enough to identify.
  24                      Q     In order for you to be able to tell     24                            Clearly, the company took the
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   1 position that proceeds leases that were silent could                1 type of charges could be taken.
   2 no longer get deductions.                                           2                            So if the language wasn't proceeds
   3                            There were other categories --           3 and the language wasn't silent, they remained the way
   4 anything that wasn't a proceeds list, there was                     4 they were in the system previously.
   5 further review by the outside and inside attorneys.                 5                     Q      Okay. Did you partake -- let me ask
   6                     Q      Let me ask you again. Have you told      6 this first before we go on with this. You indicated
   7 me what you recall today as being perhaps -- I don't                7 that you may have been in meetings where -- who was
   8 think you know exactly how those leases were treated                8 involved in some of these meetings where this was
   9 except the ones that said, okay, you can deduct.                    9 discussed, besides the lawyers? I am not interested
  10 Obviously, you said that those, you could take                     10 in the lawyers.
  11 deductions.                                                        11                     A      Well, there was a significant enough
  12                     A      Well, I am not exactly sure what you    12 item, I think, many of the corporate officers were
  13 are asking me. Any leases that were reviewed and were              13 there. I can't say for sure whether they all were
  14 determined that we should no longer take deductions,               14 there, but many of them were there, and some of the
  15 they were changed in the system.                                   15 executives from the Production company. I don't
  16                     Q      Who told you that?                      16 remember exactly which ones they would have been but
  17                     A      We got a list. I am not sure who        17 clearly them.
  18 prepared it, whether it was the outside or inside                  18                     Q      Who was the CEO at that time?
  19 counsel, but they gave us a list of the wells through              19                     A      The CEO of Equitable Corporation was
  20 that evaluation that Lewis Glasser did of the ones                 20 Murray Gerber.
  21 that those proceeds leases that they believe were                  21                     Q      And is Mr. Gerber still there?
  22 silent and should no longer get deductions.                        22                     A      He is not.
  23                            Anything -- so if they were proceeds,   23                     Q      Who succeeded him?
  24 proceeds leases that were silent, no deductions were               24                     A      David Porges.
      Page 114                                                              Page 116
   1 taken anymore. If they were proceeds leases that                    1                      Q     And is he still there?
   2 specifically allowed deductions, deductions were taken              2                      A     He is.
   3 on those. Other wells were evaluated based on the                   3                      Q     Okay. Did you or anyone in Equitable
   4 language of the leases.                                             4 meet with or consult either in writing or in person or
   5                     Q      Okay, but you saw -- you are not         5 a phone call to any of your -- any other production
   6 saying that is the only leases that were on the list,               6 companies or gas companies about how they were going
   7 but those are the ones you remember today?                          7 to deal with the issues set forth in Tawney?
   8                     A      Those were the ones on the list that     8                      A     I don't recall specifically who I
   9 we ceased taking deductions on.                                     9 would have talked to, and we would have had some
  10                     Q      Any at all? Any of the deductions at    10 conversations. The Tawney decision caught us by
  11 all?                                                               11 surprise.
  12                     A      Any deductions at all.                  12                            I think most, if not all, of the
  13                     Q      I take it, there was some that they     13 producers were treating royalties in much the same
  14 were broken out and maybe you took some deductions but             14 way, and so I or somebody else had conversations with
  15 not other deductions?                                              15 the other companies.
  16                     A      There were some leases that our         16                      Q     Do you know if some of the other
  17 process remained unchanged, that wherever they were in             17 companies advised you or other officers or employees
  18 the system, they remained in the system like that.                 18 of Equitable or EQT that they were going to cease
  19                     Q      Do you know which ones those would      19 taking deductions?
  20 be?                                                                20                      A     I don't remember. Again, my
  21                     A      Any that they didn't put in as --       21 recollection is that almost everyone was caught a
  22                     Q      Proceeds?                               22 little flatfooted by the Tawney decision. They were
  23                     A      -- proceeds, silent or any lease that   23 waiting for the Supreme Court decision to come down.
  24 specifically identified that gathering compression                 24                            When it came down, almost
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      Sheet 30       Page 117                                                Page 119
   1 immediately, we were sued, and the rest of the                       1 holding companies, ERI Investments. I think there was
   2 producers were sued at that same time.                               2 a company called ERI Capital.
   3                            Once the suits were in place,             3                            There were some other foreign
   4 companies became a little more closed mouth on exactly               4 subsidiaries that didn't have a presence there, but
   5 what they were doing and how they were going to do it.               5 the operational companies, and by that, I mean those
   6                     Q      So the answer to my question, in          6 that would have participated in Kentucky and West
   7 terms of whether any of these other companies advised                7 Virginia and Virginia, Pennsylvania's oil and gas
   8 you or EQT or any of its officers, to your knowledge,                8 operations, all were in that same complex.
   9 they did not tell you that they were going to cease                  9                     Q      You indicated that you were vice
  10 taking deductions?                                                  10 president in regard to financial of all of those
  11                     A      Right, they had not made a decision      11 subsidiaries, correct?
  12 at the time that I would have talked to them. To my                 12                     A      Well, I was vice president and
  13 knowledge, I am not really sure who did what.                       13 controller, which meant that I had responsibility for
  14                            We did see some settlements come down    14 accounting policy across all business units.
  15 the pike afterwards. I don't recall whose and exactly               15                            Each business -- many of the business
  16 what their positions were, but we did ultimately see                16 units had their own accounting staff that took care of
  17 what other people were doing as we were moving towards              17 the day-to-day operations.
  18 a settlement in the litigation against us.                          18                     Q      Did -- I'm sorry, go ahead.
  19                     MR. WEST: Can we take a short break,            19                     A      I was just going to say EQT
  20 Marvin?                                                             20 Production has a controller. EQT Gathering does, as
  21                     MR. MASTERS: Oh, absolutely.                    21 does Midstream.
  22                            (WHEREUPON, a recess was                 22                     Q      Did they report to you, though, in
  23                     taken, after which the following                23 terms of their accounting procedures and their -- is
  24                     proceedings were had.)                          24 that correct?
      Page 118                                                               Page 120
   1                      BY MR. MASTERS:                                 1                     A      Yes.
   2                      Q      Who owns the gathering lines of all      2                     Q      Did you put together like the
   3 the companies?                                                       3 financial information that went to the Board of
   4                      A      EQT Gathering.                           4 Directors? Did you put that together?
   5                      Q      Okay, and Production owns the wells?     5                     A      I would have been responsible for
   6                      A      Yes.                                     6 that, yes.
   7                      Q      Energy, what do they own, just           7                     Q      Would that include the tax returns
   8 themselves?                                                          8 for Corp?
   9                      A      They are a Marketing group --            9                     A      Yes.
  10 exactly, marketing.                                                 10                            (WHEREUPON, a discussion
  11                      Q      They are all housed in the same         11                     was had off the record.)
  12 complex together in Pittsburgh, right?                              12                     BY MR. MASTERS:
  13                      A      They are.                               13                     Q      From your understanding, where did
  14                      Q      When you were vice president, tell me   14 the money that was paid to Energy go? I'm sorry, when
  15 your -- were you in the same complex of EQT there in                15 Energy paid Production for the gas, --
  16 Pittsburgh, as well?                                                16                     A      Uh-huh (yes).
  17                      A      Yes.                                    17                     Q      -- where did that money go? Did it
  18                      Q      And what all subsidiaries were in       18 go into a bank account there in Pittsburgh or where
  19 that complex?                                                       19 did it go?
  20                      A      Well, almost all of the companies had   20                     A      Yes.
  21 some presence there, EQT, EQT Production, EQT Energy,               21                     Q      And was that actually like a check or
  22 EQT Gathering.                                                      22 was that an account entry or a paper transfer?
  23                             The only companies that wouldn't have   23                     A      It was a wire transfer into a bank
  24 had a presence there would have been some of the                    24 account.
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      Sheet 31       Page 121                                               Page 123
   1                      Q     And then if Production was spending      1                      A     Yes. Natural gas is basically a
   2 money, I mean, was it the same bank that Production                 2 methane product that is sold on a dekatherm basis,
   3 put their money in or --                                            3 which is pipeline quality, approximately 1,000
   4                      A     Separate accounts but usually the        4 dekatherms per MCF.
   5 same bank.                                                          5                            If there's too much energy content in
   6                      Q     And then corporate, did corporate --     6 that gas, there's heavier hydrocarbons in there,
   7 how did it account for its money? I mean, you have                  7 butane, propane, and those need to be stripped out of
   8 SEC filings that you show as the value of corporations              8 the natural gas stream so that the gas is pipeline
   9 and for the stockholders' purposes. How did it                      9 quality to move around the marketplace.
  10 account for its cash and its income and net worth and              10                      Q     Okay, and so I take it that Exhibit
  11 all of that?                                                       11 30 is an agreement between EQT Energy and MarkWest for
  12                      A     I am going to try to answer this with   12 what purpose?
  13 I think you are asking me, EQT Corporation files a                 13                      A     Yes, EQT Energy, as I said, certain
  14 consolidated financial statement.                                  14 parts of the system, particularly this Marcellus gas,
  15                            So to the extent that those, most of    15 is what they call real wet, which means it has a whole
  16 its subsidiaries are 100 percent owned, those are all              16 lot of BTU or dekatherm content for the volume, and
  17 accumulated into one financial statement and filed as              17 with the significant increases in volumes due to those
  18 a 10-K with the SEC.                                               18 Marcellus wells, the company wasn't able to use the
  19                      Q     Does EQT Corp have its own money?       19 same methodologies it had in the past to get the gas
  20                      A     It does. It is a separate               20 to pipeline quality.
  21 corporation.                                                       21                            By that, I mean if you go to the
  22                      Q     And how does it -- where does it get    22 southern part of West Virginia, that gas is all drier
  23 its money?                                                         23 gas, so it doesn't need to be processed to get it down
  24                      A     Well, the subsidiaries pay -- can pay   24 to pipeline quality.
      Page 122                                                              Page 124
   1 dividends to the corporation. The corporation is                    1                            In this Weston area and to a certain
   2 actually the entity that borrows money from the                     2 extent Madison, there was some wet gas, and that was
   3 public, so if there is a bond issue, that money comes               3 treated by blending it down with some other gas that
   4 into EQT Corporation and is passed down through inter-              4 was drier or by some smaller plants.
   5 company loans.                                                      5                            For instance, I think Dominion had
   6                            So it is just like any other set of      6 one where they processed the gas, I believe on a make-
   7 companies accounted for. Separately, there's                        7 whole basis, but there were so many volumes, new
   8 receivables and payables. There's interest bearing                  8 volumes, EQT was interested in finding a processor to
   9 loans. There's dividends paid. There's payment for                  9 strip out those heavier hydrocarbons and market them
  10 expenses and fees.                                                 10 to someone.
  11                     MR. MASTERS: Okay.                             11                     Q      Okay, so I take it that this
  12                            (WHEREUPON, a document was              12 agreement was for that purpose, right?
  13                     marked for purposes of identification          13                     A      Yes.
  14                     as Deposition Exhibit No. 30, a copy           14                     Q      And how is MarkWest -- does MarkWest
  15                     of which is attached hereto and made           15 pay money to do this, or does MarkWest pay EQT Energy
  16                     a part hereof.)                                16 for the product itself?
  17                     BY MR. MASTERS:                                17                     A      MarkWest is paid a fee for this.
  18                     Q      I will show you Exhibit 30, which is    18                     Q      Okay. Does EQT Energy get money for
  19 titled, "Amended and Restated Mobley Gas Processing                19 the product, though, after it is processed?
  20 Agreement By and Between MarkWest and EQT Energy,                  20                     A      Yes.
  21 LLC." Are you familiar with this document?                         21                     Q      And is all of that laid out in this
  22                     A      Yes.                                    22 contract?
  23                     Q      And can you describe just generally     23                     A      I believe it is, yes.
  24 what this document is?                                             24                     Q      Can you or can -- are there documents
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      Sheet 32       Page 125                                               Page 127
   1 that identify the wells that would be feeding into a                1                     A       Well, I have seen the maps. It has
   2 processing plant where the liquids are taken off and                2 been represented to me that the gas is not processed.
   3 sold?                                                               3 I am not the operational guy, but I believe that to be
   4                     A      Well, there's a pipeline. Are you        4 so.
   5 asking me whether there is a list of what wells supply              5                     Q       All right, so is there gas production
   6 this --                                                             6 in West Virginia that is processed, though, that the
   7                     Q      Well, let me ask that first.             7 gas -- that the byproducts are not actually sold but
   8                     A      I don't believe that there is.           8 yet are taken off the line?
   9                     Q      Is there a way to determine which        9                     A       I believe that is so, yes.
  10 sales of gas -- let me ask this first. If there is                 10                     Q       Are you the person that could tell me
  11 wet gas, --                                                        11 which sales points would require processing but yet
  12                     A      Uh-huh (yes).                           12 there's no plant there selling the byproducts?
  13                     Q      -- and I think most West Virginia gas   13                     A       Well, again, I have seen maps of the
  14 will be determined wet gas, just different degrees of              14 system that I believe have processing plants. For
  15 it, correct?                                                       15 instance, I mentioned the Dominion connection where I
  16                     A      I am not so sure that that is, in       16 believe gas is processed where they make EQT
  17 fact, the case. I believe the gas in the Brenton                   17 Production whole. I believe that to be so.
  18 district is not, at least energy content was a wet                 18                     Q       Okay, so there's other agreements
  19 gas. I think it is pretty close to a thousand BTU per              19 where EQT Energy has an agreement with MarkWest or
  20 MCF.                                                               20 MarkWest agrees to process it and there is no charge
  21                            It is only in the more northern         21 for that?
  22 districts that the gas is what you would call wet or a             22                     A       I don't think that is so.
  23 lot of BTU's per MCF by dekatherms.                                23                     Q       You said make whole. I am not sure
  24                     Q      Well, there's two issues. One is, is    24 what you mean.
      Page 126                                                              Page 128
   1 it wet enough that you need to have it processed,                   1                     A      Well, when you strip the heavier
   2 compressed, in order to put it into the transmission                2 hydrocarbons out of the stream, that reduces the
   3 lines.                                                              3 volume of gas that you have, and I guess there's two
   4                     A      Right.                                   4 ways that you can handle it.
   5                     Q      And the second is, is it wet enough      5                            Maybe there's more than two ways, but
   6 to go to the bother of trying to convert it to liquids              6 the two ways we see it is that additional volumes are
   7 and process the liquids and sell the liquids, correct?              7 supplied back or that the gas is purchased on a
   8                     A      Right.                                   8 natural gas basis.
   9                     Q      And are there areas in West Virginia     9                            For instance, in this agreement, when
  10 other than the northern counties you were mentioning               10 that gas is -- when those higher heavier hydrocarbons
  11 that, say in the southern -- let me start over.                    11 are eliminated from the gas and that BTU content is
  12                            In the southern part of the state, is   12 reduced, the company, the EQT Production Company, buys
  13 the gas wet enough that you still had to process and               13 that energy content at the natural gas price,
  14 take off the byproducts in order to get it down to --              14 regardless of whether the pricing for the liquids is
  15                     A      I don't think so.                       15 higher or lower.
  16                     Q      Do you know the answer to that          16                            EQT Production takes the risk on that
  17 question, because I have heard the opposite, not from              17 -- I'm sorry, EQT Energy takes the risk on that. So
  18 Equitable but from other depositions I have done, that             18 you've got a dekatherm of gas that comes into this
  19 pretty much all the gas in West Virginia has to be                 19 plant. It has got thirteen hundred BTU's for one MCF
  20 processed to some degree.                                          20 of gas.
  21                     A      I don't think that is true, and we      21                            It goes into the processing plant.
  22 have maps of that.                                                 22 Three hundred BTU's are stripped out in the form of
  23                     Q      Okay, all right, but are you the        23 propane or butane, isobutane.
  24 person I should ask that question to or somebody else?             24                            Those are sold. EQT Energy gets the
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      Sheet 33       Page 129                                              Page 131
   1 proceeds of that and pays MarkWest a fee for that, and             1                     Q       In other words, --
   2 it sends the equivalent of 300 BTU's of gas purchased              2                     A       Pushes it back to the wellhead for
   3 from EQT back to EQT as if they had bought that gas,               3 the royalty owner.
   4 that natural gas at that place.                                    4                     Q       I think I understand. With respect
   5                            So EQT Production has, in effect,       5 to MarkWest processing plant, EQT Energy treats that
   6 sold that 300 BTU to EQT Energy at that point, and EQT             6 as a sales point?
   7 Energy has paid them as if that was the first liquid               7                     A       Yes.
   8 trading point, which I think in this plant, it is TCO              8                     Q       Then they pay EQT Production the
   9 M-2 index.                                                         9 amount that MarkWest pays them or the amount of the
  10                     Q      You are talking about the ones where   10 index price?
  11 they are actually selling the product, or are you                 11                     A       The amount based on the index price
  12 talking about the ones where --                                   12 as it goes into that plant.
  13                     A      I am talking about this agreement --   13                     Q       Okay, and my understanding is that
  14                     Q      Okay.                                  14 these plants are generally close to a transmission
  15                     A      -- here, and in this agreement, the    15 line?
  16 gas, the heavier hydrocarbons are stripped out and                16                     A       Yeah, I think that is right. As the
  17 sold. EQT Energy gets the proceeds for that sale, and             17 gas comes out of the plant, this Mobley plant, I
  18 it pays a fee for that.                                           18 believe, is close to or it moves to a TETCO line and
  19                            Then EQT Energy, in turn, pays EQT     19 two bases, and the gas that doesn't make it through
  20 Production for the gas that is lost because of that               20 the plant is processed at that -- is paid at that same
  21 extraction of the heavier hydrocarbons.                           21 pricing.
  22                     Q      Okay, but I thought you indicated a    22                     Q       Okay. So then are they paid, in
  23 little bit ago that -- I thought you indicated a                  23 other words, is EQT Production paid for the -- let me
  24 little bit ago that MarkWest would actually pay EQT               24 give you a hypothetical. It will be easier that way.
      Page 130                                                             Page 132
   1 Energy for the liquids if they sold them under this                1 Let's suppose there's a thousand MCF going into the
   2 agreement. That is what I thought you said.                        2 Mobley plant.
   3                     A      Well, --                                3                     A      Okay.
   4                     Q      After the processing, after the         4                     Q      It is 1,300 BTU and it has to be
   5 processing, if they have a thousand gallons of some                5 reduced down to around a thousand, so you've got 300
   6 kind of liquid product, but then they would in turn                6 BTU. Then there is this arrangement where MarkWest
   7 pay EQT Energy for a certain percent for that product,             7 replaces the gas, as I understand it, with an amount
   8 right?                                                             8 in volume that is equal to 1,300 BTU instead of a
   9                     A      Right. MarkWest markets and sells       9 thousand BTU, or am I wrong about that?
  10 the gas and gives the proceeds to EQT Energy --                   10                     A      Well, you are wrong. They don't
  11                     Q      Okay.                                  11 replace the gas.
  12                     A      -- from the sale of those.             12                     Q      Okay.
  13                     Q      Okay. My question is, does EQT         13                     A      Let me try to give you a hypothetical
  14 Energy then -- does EQT Production pay any of the                 14 back. We've got 1,300 dekatherms going into the
  15 proceeds that EQT Energy gets to the royalty owner?               15 plant. That is an energy content.
  16                     A      No. EQT Energy pays the Production     16                            Regardless of whether it comes out of
  17 company and the Production company pays its royalty               17 the plant or whether it is -- whether it goes out of
  18 owners based on the energy as if it is sold natural               18 the plant into the pipeline or whether it comes out of
  19 gas.                                                              19 the plant and goes into a stream of butanes and
  20                     Q      At the wellhead?                       20 propanes, regardless of that, EQT Energy is going to
  21                     A      Well, they buy it as if it was, but    21 pay for that 1,300 dekatherms at the M-2 TETCO index
  22 EQT Energy pays as if the pricing of it is the pricing            22 price to EQT Production.
  23 that they get as it goes into the plant, as if it was             23                     Q      Okay.
  24 sold.                                                             24                     A      So the gas is treated as sold there
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      Sheet 34       Page 133                                               Page 135
   1 whether it is sold into the manufacturing plant there               1                     Q      Okay. How would I determine that?
   2 or the processing plant or whether it is coming out at              2                     A      Well, we would have to analyze that.
   3 the other end and going into the interstate pipeline.               3 I am sure that there are periods that it doesn't or
   4                     Q      Okay. Of course, it can't go in          4 there are periods that it hasn't.
   5 there at 1,300, so what you are saying is it is                     5                            Whether they -- whatever time period
   6 converted back to MCF based on 1,300 dekatherms? Is                 6 you want to look at will depend on whether you will be
   7 it converted or --                                                  7 able to find a full year or not.
   8                     A      Right, all the gas is sold. When you     8                            I think in the period that this
   9 get to the sales meter, all that gas is sold on an                  9 litigation covers, at the beginning of the period, it
  10 energy content basis, a BTU or dekatherm, if you will.             10 was a loss.
  11 It is not sold on a volumetric basis.                              11                            Currently, it is in a loss, and for
  12                     Q      Okay, I understand. So EQT Energy       12 the most part, in the middle of the period, it was a
  13 then gets the proceeds from the conversion or                      13 profitable business and fairly profitable.
  14 processing out of the hydrocarbons, right?                         14                     Q      Can you tell me why it is not
  15                     A      It does.                                15 profitable now?
  16                     Q      And none of that money makes its way    16                     A      The prices -- the market for the
  17 back to any of the royalty owners?                                 17 higher liquid hydrocarbons are not enough to offset
  18                     A      That's right.                           18 the price of natural gas.
  19                     Q      And are you the one to ask the          19                            We call it the frac spread. The
  20 question of as to the basis of the royalty owner not               20 energy content of the gas is priced differently for
  21 receiving the proceeds of the byproducts?                          21 the liquids than it is for the natural gas.
  22                     A      Well, I am going to say that I          22                     Q      I didn't understand the last thing
  23 probably am, and that is only because I suppose                    23 you said. I understand you said it is priced
  24 historically, how this works is EQT Production doesn't             24 differently, but I don't understand what you mean
      Page 134                                                              Page 136
   1 take the risk of the sale of the gas.                               1 because the liquids would be -- they are sold by the
   2                             EQT Energy does. So, for instance, I    2 gallon, aren't they?
   3 think MarkWest processes -- has a processing plant in               3                      A      Right. What I am saying is that you
   4 Kentucky of ours at one time that was a make-whole                  4 can't say that the energy content in a gallon of
   5 plant where they got the proceeds of the gas from the               5 propane and the equivalent energy content of natural
   6 liquid hydrocarbons, and they just replaced the gas or              6 gas or methane, the pricing of those is different.
   7 at least paid for it.                                               7                             They are not -- it is not a situation
   8                             MarkWest got to the point where they    8 where you can say, well, it doesn't matter which one
   9 were uncomfortable taking the risk on that because                  9 you have, I don't care. They are just not the same
  10 some months, that is a positive number; some months,               10 price. It is like -- it is not like going to a gas
  11 it is a negative number.                                           11 station where you say I can compare the price of this
  12                             So the company has basically           12 gas station with the price of that gas station.
  13 continued that process. When it is positive or                     13                             It is more like here is the price of
  14 negative, EQT Energy eats that, and EQT Production, it             14 diesel fuel, here is the price of gasoline, here is
  15 merely gets paid based on the sale of a methane                    15 the price of natural gas driven automobiles, here is
  16 product.                                                           16 the price of cars that use regular gasoline.
  17                     Q       EQT Energy makes profit on the sale    17                             The energy content and the miles-per-
  18 of the liquids, doesn't it?                                        18 gallon of those two doesn't always move completely in
  19                     A       It depends. Sometimes it does;         19 sync.
  20 sometimes it does not.                                             20                      MR. MASTERS: I understand.
  21                     Q       Has there been a full year that EQT    21                             (WHEREUPON, a document was
  22 Energy has not turned a profit on the sale of its                  22                      marked for purposes of identification
  23 liquids?                                                           23                      as Deposition Exhibit No. 31, a copy
  24                     A       I think that is probably true, yes.    24                      of which is attached hereto and made
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      Sheet 35       Page 137                                              Page 139
   1                     a part hereof.)                                1 towards TCO, but I think it ties directly into the
   2                     BY MR. MASTERS:                                2 TETCO plant.
   3                     Q      I will show you Exhibit 31, and this    3                     Q      TETCO being?
   4 is dated February 25 of 2014 from EQT, I guess Energy,             4                     A      Tennessee Transmission Company.
   5 to MarkWest, Liberty, Midstream and Resources, LLC, in             5                     Q      All right. This document in February
   6 Denver, Colorado. Do you know Mr. Mollenkopf?                      6 of 14 says, "The purpose of this letter is to
   7                     A      I do not.                               7 document EQT's request for additional 200 MMCFD of
   8                     Q      Do you know Paul Kress?                 8 increased capacity under Section 6.2 of the processing
   9                     A      I do, yes.                              9 agreement." I assume that is the same processing
  10                     Q      Who is Mr. Kress?                      10 agreement that would be Exhibit 30, correct?
  11                     A      Mr. Kress is an employee of, I         11                     A      I believe so, yes.
  12 believe EQT either Energy or Midstream. I am not sure             12                     Q      Okay, and do you know whether this
  13 what position he holds quite right now and whether he             13 was ever confirmed and whether it was ever done?
  14 holds the position he did back in February of 2014.               14                     A      I think that during the process -- I
  15                     Q      At the present time, are there any     15 don't know whether this is the specific addition to
  16 other plants than the Mobley plant that is in                     16 the plant that they are in the process of finalizing
  17 operation serving any production out of West Virginia?            17 the agreement on, but I know that the company intends
  18                     A      I believe that there are. I believe    18 to try to increase the capacity there.
  19 there's a plant in -- the Saturn plant, a smaller                 19                     Q      Okay.
  20 plant. I don't think it has been shut down at this                20                     A      And, again, this is one of the things
  21 point. There might be some smaller processing done,               21 that I was saying at the very beginning of our
  22 as I said, outside of EQT at the Hastings plant.                  22 conversation where the Marcellus leases and wells are
  23                     Q      The Saturn plant, I mean, is that      23 a little bit different and have caused the company to
  24 something that -- is that plant one that EQT Energy or            24 have to do some things that it had not done in the
      Page 138                                                             Page 140
   1 any EQT subsidiary processes gas at?                               1 past.
   2                     A      Well, the reason I hesitate is          2                            (WHEREUPON, a document was
   3 because it takes a long time to build these plants. I              3                     marked for purposes of identification
   4 think that this Mobley or Mobley plant is actually                 4                     as Deposition Exhibit No. 32, a copy
   5 five different systems set at the same location, and               5                     of which is attached hereto and made
   6 as the gas volumes have changed and the pipelines have             6                     a part hereof.)
   7 been built, they have moved more gas to this Mobley.               7                     BY MR. MASTERS:
   8                     Q      And where is the Mobley plant?          8                     Q      I will show you Exhibit 32. This is
   9                     A      It is in northern West Virginia.        9 another letter dated, this one February 7, 2012, from
  10                     Q      Do you know where?                     10 Elise Hyland, President of Commercial Operations, EQT
  11                     A      I can't remember the exact city. The   11 Energy. Do you know her?
  12 location is Mobley. I can show you on a map.                      12                     A      Yes, I do.
  13                     Q      Do you know what counties in West      13                     Q      And is she still with EQT?
  14 Virginia would be -- that gas would be transported                14                     A      I believe that she is.
  15 from into that plant?                                             15                     Q      And she says to Mr. John Mollenkopf,
  16                     A      I couldn't name them off the top of    16 "The purpose of this letter is to document EQT's
  17 my head. Again, we have a map that we can show you                17 request of 100 MMCFD of increased capacity."
  18 that shows you what is streaming into that line that              18                            So we understand, does MarkWest
  19 is going north to the Mobley plant. The Mobley plant              19 receive gas there at this processing plant from other
  20 is both a compressor and a processing plant.                      20 companies besides EQT?
  21                     Q      What transmission line does it feed    21                     A      I don't think that they do. I think
  22 into?                                                             22 these plants were built for EQT.
  23                     A      Well, for the most part, it feeds      23                     Q      Have they continued to build other
  24 into TETCO's at M-2 bases. I think it can move gas                24 plants there since, say 2005?
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      Sheet 36       Page 141                                               Page 143
   1                     A      I don't -- at Logansport?                1 looking at are based on the fact that the Marcellus
   2                     Q      Yes.                                     2 volumes are increasing in significant amounts in the
   3                     A      I do not think so. I think --            3 northern part of West Virginia.
   4                     Q      So the ones that were there, the five    4                            The gas is very wet and needs to be
   5 -- I think you said five different separate plants                  5 processed, and MarkWest, in order to commit to the
   6 there?                                                              6 resources necessary to build these plants needs us to
   7                     A      At Mobley?                               7 enter into agreements to -- basically to agree to
   8                     Q      Right.                                   8 additional volumes.
   9                     A      Yes.                                     9                     MR. MASTERS: Thirty-five.
  10                     MR. MASTERS: This is 33.                       10                            (WHEREUPON, a document was
  11                            (WHEREUPON, a document was              11                     marked for purposes of identification
  12                     marked for purposes of identification          12                     as Deposition Exhibit No. 35, a copy
  13                     as Deposition Exhibit No. 33, a copy           13                     of which is attached hereto and made
  14                     of which is attached hereto and made           14                     a part hereof.)
  15                     a part hereof.)                                15                     BY MR. MASTERS:
  16                     BY MR. MASTERS:                                16                     Q      Exhibit 35 is a irrevocable standby
  17                     Q      Thirty-three is a letter dated July     17 letter of credit, and can you tell me what this has to
  18 23, 2013. It is to -- I don't think we have the last               18 do with?
  19 page of this.                                                      19                     A      Well, yes, MarkWest is a standalone
  20                     MR. WEST: It looks like the signature page     20 company not related to EQT, but it is not particularly
  21 is --                                                              21 creditworthy.
  22                     BY MR. MASTERS:                                22                            In fact, I think -- I wouldn't want
  23                     Q      We will find those. I am sure we        23 to put a date on it, but it did go bankrupt at one
  24 have them somewhere, but this is to MarkWest from EQT              24 point, and these plants are a significant expenditure,
      Page 142                                                              Page 144
   1 Energy asking for 145 MMCFD, correct?                               1 and I think that EQT is basically helping them have
   2                     A      Right.                                   2 the opportunity to get the capital necessary to build
   3                            (WHEREUPON, a document was               3 some of these plants.
   4                     marked for purposes of identification           4                     Q      Okay, so Exhibit 35 is a irrevocable
   5                     as Deposition Exhibit No. 34, a copy            5 standby letter of credit to U.S. Bank National
   6                     of which is attached hereto and made            6 Association, and it has beneficiary, EQT Energy, LLC,
   7                     a part hereof.)                                 7 advocate of MarkWest Liberty Midstream and Resources.
   8                     BY MR. MASTERS:                                 8 Explain what EQT Energy did here for MarkWest on March
   9                     Q      I am showing you Exhibit 34, and this    9 18, 2014.
  10 is a letter dated June 16, 2014, from Frank Semple,                10                     A      What this is is MarkWest protecting
  11 President and CEO, MarkWest, to EQT Energy, which is               11 EQT Energy. Again, these plants are very expensive.
  12 titled Amended and Restated Letter Agreement Regarding             12                            EQT actually holds money of theirs so
  13 Mobley or Mobley. Am I pronouncing that wrong?                     13 that -- we hold money of theirs so that each month
  14                     A      If you go to EQT, you will find 50      14 when they have sold their gas -- I'm sorry, they have
  15 percent say Mobley and 50 percent say Mobley. I am                 15 sold our heavy hydrocarbons, we hold some of their
  16 not sure which 50 is right, but -- so you can say it               16 money so that we are never -- so that if they were not
  17 either way, and people will nod their head.                        17 to pay that month, we would be able to cover it, if
  18                     Q      All right. Are you familiar with        18 you understand what I am saying.
  19 this restated -- amended restated letter agreement?                19                            Basically, if you understand what I
  20                     A      I am. I have seen all of these          20 am saying, basically we've got a deposit on their
  21 agreements.                                                        21 part. This is an agreement where they are protecting
  22                     Q      Can you tell me what this has to do     22 us for $10 million, although I think -- I think, if I
  23 with and why it was entered into?                                  23 am not mistaken, that this is now expired, although I
  24                     A      All of these agreements that we are     24 can't be sure.
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      Sheet 37       Page 145                                               Page 147
   1                     Q      You mean as far as today?                1                     BY MR. MASTERS:
   2                     A      Right.                                   2                     Q       Is Exhibit 37 a correction to an
   3                     Q      It is expired?                           3 irrevocable standby letter of credit?
   4                     A      I think so. I can't --                   4                     A       Yeah. If you look at one of these
   5                     Q      It was effective at one time?            5 two, one of them -- let me see if I can find it here.
   6                     A      It was, and, again, --                   6 One of them doesn't have --
   7                     Q      Is this to protect you or is this to     7                     Q       One of them has $10 million. Where
   8 protect them?                                                       8 it should be $10 million, it is actually $1 million?
   9                     A      Protect us, I believe.                   9                     A       Yes.
  10                     Q      It is a letter of credit, and it is     10                     Q       Is that what you are looking for?
  11 U.S. Bank guaranteeing basically for $10 million?                  11                     A       Yeah, yeah, in Exhibit 36.
  12                     A      Yes.                                    12                     Q       We are not so concerned about that
  13                     Q      To you?                                 13 sort of thing, but I think that is a correction.
  14                     A      Right.                                  14                             (WHEREUPON, a document was
  15                     Q      And that $10 million is for the         15                     marked for purposes of identification
  16 monies that MarkWest would receive that would be owed              16                     as Deposition Exhibit No. 38, a copy
  17 to you for their part of the amount of money owed to               17                     of which is attached hereto and made
  18 you from the sale of the byproducts?                               18                     a part hereof.)
  19                     A      Right.                                  19                     BY MR. MASTERS:
  20                            (WHEREUPON, a document was              20                     Q       I will show you Exhibit 38 dated
  21                     marked for purposes of identification          21 April 2. Is this the same thing?
  22                     as Deposition Exhibit No. 36, a copy           22                     A       I think that is a cover letter to 37.
  23                     of which is attached hereto and made           23                     Q       And this is from U.S. Bank to EQT
  24                     a part hereof.)                                24 Energy, again confirming the letter of credit,
      Page 146                                                              Page 148
   1                     BY MR. MASTERS:                                 1 correct?
   2                     Q      Let me show you Exhibit 36, and I        2                     A      Right.
   3 will give you guys one.                                             3                     Q      To protect the proceeds from the
   4                     MR. WEST: Thanks.                               4 sale, right?
   5                     BY MR. MASTERS:                                 5                     A      Yeah. Again, as I said, MarkWest is
   6                     Q      Exhibit 36 is just another letter of     6 not a good credit risk, and --
   7 credit. It is dated August 15, 2015, correct?                       7                     Q      I will keep that in mind.
   8                     A      Yes, which is -- wow, that is -- that    8                     A      At least, that is the judgement of
   9 is not very long ago.                                               9 EQT.
  10                     Q      Yeah, if you look at the last page,     10                     Q      We won't pass that around to anybody.
  11 it says January 27, 2014. I am not sure how these                  11 Here you go. This is what?
  12 things ended up the way they are.                                  12                     COURT REPORTER: 39.
  13                     A      Yeah, that is what I was saying.        13                            (WHEREUPON, a document was
  14 These --                                                           14                     marked for purposes of identification
  15                     Q      They were produced this way, so we      15                     as Deposition Exhibit No. 39, a copy
  16 assume --                                                          16                     of which is attached hereto and made
  17                     A      Yeah, I can't say for sure, but I       17                     a part hereof.)
  18 think that would be -- I am not sure whether that is               18                     BY MR. MASTERS:
  19 the expiration date on that or not.                                19                     Q      I am showing you 39, and this is
  20                            (WHEREUPON, a document was              20 titled, "General Terms and Conditions Between EQT
  21                     marked for purposes of identification          21 Energy and MarkWest," dated December 20, 2012. Can
  22                     as Deposition Exhibit No. 37, a copy           22 you tell me what this is?
  23                     of which is attached hereto and made           23                     A      Yeah, all of these are related to the
  24                     a part hereof.)                                24 processing plant, I believe, at Mobley.
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      Sheet 38       Page 149                                                Page 151
   1                            (WHEREUPON, a document was                1 associated with the procurement and construction of
   2                     marked for purposes of identification            2 the Mobley Inlet Compressor Station," and it shows a
   3                     as Deposition Exhibit No. 40, a copy             3 breakdown of the costs. Do you see that?
   4                     of which is attached hereto and made             4                     A      Yes.
   5                     a part hereof.)                                  5                     Q      Are you familiar with that?
   6                     BY MR. MASTERS:                                  6                     A      Well, I have seen it before, yes.
   7                     Q      Let me show you Exhibit 40, which is      7                     Q      And do you know whether or not that
   8 titled, "Amendment No. 1 to Logansport Gas Processing                8 was the $20 million plus they were providing to
   9 Agreement and Letter Agreement Regarding Logansport                  9 MarkWest for the construction?
  10 Compressor Station," as between MarkWest Liberty                    10                     A      I don't think that is saying that EQT
  11 Midstream and Resources, LLC, and EQT Energy, LLC,                  11 is going to pay them $20 million. I think it is
  12 September 27, 2011. Can you identify this for me?                   12 saying that they are acknowledging that the plant was
  13                     A      Yes, these agreements are all related    13 going to be $20,270,000. I am not sure that they are
  14 to the processing of natural gas.                                   14 asking for reimbursement. I don't know.
  15                     Q      Where is the Logansport station or       15                     Q      I mean, that is sort of -- I mean, I
  16 processing plant?                                                   16 am not trying to get -- I am not asking you to agree
  17                     A      I am not sure whether Mobley is          17 with that, but that is the way I sort of read it, that
  18 actually at Logansport or whether it is in that area,               18 they are asking for authorization.
  19 but I believe it is the Mobley plant.                               19                            What kind of an understanding does
  20                     Q      It is called -- this is titled,          20 MarkWest have with EQT Energy? I mean, is it an
  21 "Logansport Gas Processing Agreement regarding the                  21 agreement or understanding that EQT will advance them
  22 Logansport compressor station."                                     22 the monies to build these compressor stations, and
  23                     A      Right. I think -- as I said, I think     23 then one way or the other, MarkWest would pay them
  24 these are all related to the building out of Mobley,                24 back?
      Page 150                                                               Page 152
   1 and I think if you go back, and the pages aren't                     1                     A      Well, I think the understanding is
   2 numbered, but you will see that it says Mobley Inlet                 2 that MarkWest can't afford to build facilities and
   3 Compressor Station Costs, and then Mobley Inlet                      3 them not be used, and so they are careful in these
   4 Compression Station.                                                 4 arrangements that we are agreeing to -- if they've got
   5                      MR. WEST: There is an EQT Energy number at      5 to build a facility for processing, that we are going
   6 the bottom right.                                                    6 to use it because that is catastrophic.
   7                      THE WITNESS: Oh, I'm sorry, yeah, if you        7                            As a matter of fact, you will see in
   8 go, EQT Energy 036374, it identifies that as Mobley                  8 some of the agreements that the near term pricing and
   9 Inlet Compressor Costs, and then the next page you                   9 processing costs are higher, and then they ratchet it
  10 will see talks about Mobley Inlet Costs.                            10 down a little bit as they move away from the
  11                      BY MR. MASTERS:                                11 construction period, so that MarkWest can afford to
  12                      Q      Let me direct your attention to Bates   12 build facilities.
  13 page number 36375.                                                  13                     MR. HENDRICKSON: Marvin, just so you know,
  14                      A      3637 --                                 14 too agreement, we think Greg Bezdek may be a MarkWest
  15                      Q      5.                                      15 employee. This may be an internal document of
  16                      A      Five, okay.                             16 MarkWest.
  17                      Q      This is MarkWest Energy Partners, LP,   17                     MR. MASTERS: Yeah, I saw sort of that, but
  18 April 18, 2011, to Mr. Mollenkopf from Greg Bezdek.                 18 then attached to it, though, is the agreement.
  19                      A      Okay.                                   19                     MR. HENDRICKSON: Yeah, okay, I wanted to
  20                      Q      Do you know who Mr. Bezdek is?          20 make sure.
  21                      A      I do not.                               21                     MR. MASTERS: It is signed. I see what you
  22                      Q      It says, "MarkWest Liberty is           22 are talking about there.
  23 requesting EQT approval of the attached AFE for a                   23                            (WHEREUPON, a document was
  24 total of $20,270,000. This amount covers all costs                  24                     marked for purposes of identification
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      Sheet 39       Page 153                                                Page 155
   1                     as Deposition Exhibit No. 41, a copy             1 Production on these wet wells that we have been
   2                     of which is attached hereto and made             2 talking about, the gas in the ground is owned by the
   3                     a part hereof.)                                  3 lessor, correct?
   4                     BY MR. MASTERS:                                  4                     A      I wouldn't know for sure. That is a
   5                     Q      All right, I am handing you an            5 legal question, one that is not --
   6 Amended And Restated Natural Gas Exchange Agreement                  6                     Q      Well, when it comes out of the
   7 between MarkWest and EQT Energy, dated December 20,                  7 ground, it has got the byproducts in it?
   8 2012, and are you familiar with this?                                8                     A      Yes, I will agree with that.
   9                     A      I have seen it, yes.                      9                     Q      Whoever owns it has got them in there
  10                     Q      What is this agreement for?              10 coming out, right?
  11                     A      Again, these are all agreements          11                     A      They are in there when it is in the
  12 related to increasing the amount of gas that is being               12 ground, and they are in there when it comes out of the
  13 processed as the volumes increase.                                  13 ground. I will agree to that.
  14                            (WHEREUPON, a document was               14                     Q      Was there ever any discussion that
  15                     marked for purposes of identification           15 you were involved in as to whether the lessor would be
  16                     as Deposition Exhibit No. 42, a copy            16 entitled to their proportionate share of the proceeds
  17                     of which is attached hereto and made            17 from the liquids inasmuch as they had leased the gas
  18                     a part hereof.)                                 18 to EQT?
  19                     BY MR. MASTERS:                                 19                     A      No. As a matter of fact, again, my
  20                     Q      I am showing you a letter dated          20 view is that for the most part, it has been a little
  21 December 20, 2012, between -- that is from Frank                    21 bit of a nuisance for EQT in that prior to this
  22 Semple, CEO and President of MarkWest, to EQT Energy,               22 Marcellus gas, it was just something that had to be
  23 Paul Kress, which you identified earlier. Are you                   23 dealt with.
  24 familiar with this letter?                                          24                            The risk was always taken by the
      Page 154                                                               Page 156
   1                      A      I have seen it, yes.                     1 Production company until you had this huge plant go in
   2                      Q      And can you tell me what is going on     2 here in a period where the prices spiked up.
   3 here?                                                                3                            It seemed awkward to go back and say
   4                      A      Again, these are all as time goes on.    4 even to the Production company, you owe us money to
   5 This might even be the cover letter to this agreement                5 take those liquids out for us, so the Energy company
   6 or related to the Exhibit 41, as they are dated the                  6 has always taken the risk for that.
   7 same day. These are all a continuing restructuring of                7                     Q      Has the Energy company ever borrowed
   8 these compression and processing plants to accommodate               8 money from EQT Corp or from EQT Production?
   9 what is an increasingly large volume of Marcellus gas                9                     A      Well, no, I don't think from EQT
  10 now flowing into this plant. It is important. This                  10 Production. It may have from EQT Corp, although
  11 gas has to be processed, and so --                                  11 typically -- typically, those companies are -- don't
  12                      Q      So in order to sell it, it has to be    12 need a lot of capital, and I can't tell you how much
  13 processed?                                                          13 the capitalization of them is off the top of my head
  14                      A      Right, or in order to move it into an   14 either and whether they have borrowed money or not.
  15 interstate pipeline.                                                15                     Q      Okay. To your knowledge or EQT's
  16                      Q      You would agree when the gas comes      16 knowledge, has EQT Production or EQT Energy or any of
  17 out of the ground and is sold to EQT Energy, that that              17 its subsidiaries ever sent a letter to lessors, its
  18 moment, it has these liquids in it, however, and that               18 lessors, and advised them that they were paying them
  19 just prior to that sale, it belonged to the lessor?                 19 on the amount of gas, the volume at the point of sale
  20                      MR. WEST: Objection. You may answer.           20 versus the amount of gas produced at the wellhead?
  21                      THE WITNESS: Ask the question again.           21                     A      I don't think so, although there may
  22                      BY MR. MASTERS:                                22 be some leases that specifically address that. I
  23                      Q      Well, it was a long question to get     23 don't recall, but if a lease, just like anything else
  24 to a simple question. The gas that is produced by EQT               24 in a lease, if we have leases that specifically
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      Sheet 40       Page 157                                               Page 159
   1 address that, we would have treated that differently.               1 accounting rules that basically say regardless of what
   2                     Q       Oh, sure, I understand what you are     2 your legal structure is, you should put things
   3 saying.                                                             3 together in a certain way to make them more usable for
   4                     A       Okay.                                   4 financial advisors and others.
   5                     Q       There might be an exception to that,    5                            And so, for instance, EQT Energy is a
   6 but as a rule, no.                                                  6 legal entity, but some parts of it -- it basically has
   7                     A       Exactly.                                7 two divisions, one that in the 10-K and financial
   8                     Q       The measurement of the BTU from the     8 statements is put in the production segment and the
   9 well, is that at each well?                                         9 other is considered a Midstream activity.
  10                     A       Well, it depends. On a larger well,    10                            So that is what business segments are
  11 there might be some automated equipment. On a                      11 in a financial reporting perspective. There's also
  12 smaller, lower volume well, typically what they will               12 EQT Midstream Partners, which had some assets, and I
  13 do is take a sample, have it tested, and then they                 13 can't tell you exactly which ones they are, although I
  14 will use that for a period of time.                                14 think Equitrans is one of them that had some assets
  15                             There is a standard operating          15 dropped into it, and then those limited partnership
  16 procedure on how often that is done. I am told that                16 rights were sold to the public almost like, exactly
  17 after the initial flush production, that that will                 17 like stock is, even though it is a partnership.
  18 vary a lot, particularly on older wells. So there is               18                            That is typically done to unlock the
  19 a schedule of how that is done, how often that is                  19 value that a company has that is not recognized in its
  20 done.                                                              20 own stock's value.
  21                     Q       How does EQT Midstream -- what does    21                            So it has EQT Midstream Partners
  22 it do with respect to the gathering rates -- the                   22 Limited Partnership that sells those limited
  23 gathering function and the compressor function or                  23 partnership interests to the public.
  24 sales function?                                                    24                            It has its own SEC filings and
      Page 158                                                              Page 160
   1                     A      I'm sorry, ask me that again.            1 reporting requirements separate from EQT Corporation,
   2                     Q      EQT Midstream, --                        2 and, in fact, has kind of the equivalent of
   3                     A      Uh-huh (yes).                            3 shareholders that have slightly different ownership
   4                     Q      -- first of all, explain what that is    4 structures.
   5 and tell me what it does within the framework of EQT                5                     Q       Well, then as I understand what you
   6 Energy.                                                             6 are saying, EQT Midstream busines segment is sort of
   7                     A      Well, I think what you are talking       7 like a group of employees that work in what is
   8 about is EQT Midstream Partners, which is a limited                 8 referred to as Midstream --
   9 partnership that is publicly traded. Is that what you               9                     A       Uh-huh (yes).
  10 are talking about or are you talking about the                     10                     Q       -- which would be like Gathering and
  11 Midstream segment?                                                 11 -- right, it would include Gathering?
  12                     Q      I don't know. That is why I am          12                     A       Yes.
  13 asking you.                                                        13                     Q       And when Mr. Piccirilli said that I
  14                     A      Okay.                                   14 am in the Gathering group, that included people from
  15                     Q      I mean, I think Mr. Piccirilli's        15 various parts of the different companies, right?
  16 deposition, you had said you had read it?                          16                     A       Yeah, I would say kind of the
  17                     A      Yes, I did.                             17 opposite, that there are a bunch of companies that
  18                     Q      And I know there's partners and then    18 comprise that Midstream group, as opposed to -- I
  19 I know there is a business segment.                                19 can't remember exactly how you said it.
  20                     A      Yes.                                    20                             For the most part, they are separated
  21                     Q      And I know they sort of fit in there    21 by either legal distinction or in some cases divisions
  22 together, to some degree.                                          22 of a legal entity, but it is not a random employee.
  23                     A      Well, when it comes to a business       23                     Q       My understanding is that there's
  24 segment, there are lines of business and there's                   24 somebody else -- I forget. Who is going to talk about
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      Sheet 41       Page 161                                               Page 163
   1 the corporations and the monies?                                    1                      Q     When EQT Energy pays EQT Production,
   2                     MR. WEST: Jimmie Sue Smith.                     2 is that an automatic accounting entry the day that
   3                     BY MR. MASTERS:                                 3 occurs; in other words, moves from EQT Energy's books
   4                     Q      I don't want to overstep that, but I     4 as -- enters on as a debit and over on EQT Production
   5 understand -- I mean, I understand she is supposed to               5 as a credit that day?
   6 address it, but from a functional standpoint and an                 6                      A     No.
   7 accounting standpoint, your point of view, these                    7                      Q     When does that happen?
   8 various companies like Production, Gathering,                       8                      A     I don't remember exactly which day,
   9 Marketing and so forth are sort of set up to serve the              9 maybe the 20th day of the following month, but there
  10 overall business purpose of EQT Corp; is that a fair               10 is a spreadsheet that is prepared based on the sales
  11 statement?                                                         11 meters that EQT Energy has, and it is reduced by the
  12                     A      Yeah, they all have specific lines of   12 gathering costs and then some automatic inter-company
  13 expertise, and they are different, and so, you know, a             13 type of activity. If one company bills another
  14 few years ago, the businesses were separated so that -             14 company, then that net number is paid off of the wire
  15 - let's take -- it used to be that a well tender might             15 transfer.
  16 walk the gathering lines and tend a well, and the                  16                      Q     Okay. Can you define what retainage
  17 thought was, well, he probably doesn't do either of                17 is?
  18 those very well, so let's have guys that are focused               18                      A     I can try. Typically, the pipelines
  19 on just production and guys that are focused just on               19 we talked about lost and unaccounted for, some of the
  20 gathering and folks that are just marketing and try to             20 particularly FERC regulated pipelines, have a
  21 get their expertise levels to be a little higher, and              21 retainage number that is basically an automatic lost
  22 since, for the most part, their interests are -- their             22 and unaccounted for.
  23 interests are to keep costs down and to increase                   23                            So if you put gas on their system and
  24 production, that helps the entire corporation as it                24 their retainage is ten percent, if you put a hundred
      Page 162                                                              Page 164
   1 helps each individual line of business, but it                      1 dekatherms into the system, you are only getting
   2 typically isn't one employee of this group and one                  2 ninety back out automatically by contract.
   3 employee of that group. It is a little more sliced                  3                     Q      I mean, you understand that. I hear
   4 than that.                                                          4 what you are saying. I know what a FERC line is, --
   5                      Q     Does EQT Production make profits?        5                     A      Uh-huh (yes).
   6                      A     Yes.                                     6                     Q      -- but I don't understand what
   7                      Q     And how are those profits determined?    7 putting retainage into the concept of what is -- what
   8                      A     Based on the amount of -- EQT            8 kind of things are incorporated into the determination
   9 Production sells gas to EQT Energy that is net of the               9 of retainage?
  10 gathering costs which EQT Energy pays to EQT                       10                     A      Well, --
  11 Gathering, and then remits the difference back to EQT              11                     Q      You put a certain amount of gas in,
  12 Production.                                                        12 and when you get to the other end of the line, you
  13                            EQT Production pays its production      13 have less, and are you saying no matter what causes
  14 costs and its employees, and to the extent that they               14 that loss, that is the amount of retainage?
  15 have sold more gas at a higher price than their                    15                     A      Yes, what I am saying is that, you
  16 expenses, they are profitable, and they are.                       16 know, it is simple if there's only one input and one
  17                            As a matter of fact, you do see some    17 output. It is pretty easy to see how much gas you
  18 language from time-to-time in analyst's statements                 18 have lost across that pipe, but imagine an interstate
  19 about EQT Production being a low cost producer. So,                19 pipeline where there is 50 different input locations
  20 in fact, it does keep its costs down and run an                    20 and 50 different output locations.
  21 efficient operation.                                               21                            How do you know -- and it is coming
  22                      Q     Okay. It sells all of its gas,          22 in at different volumes every day and going out at
  23 though, to EQT Energy, correct?                                    23 different volumes every day.
  24                      A     Yes.                                    24                            It is very difficult to figure out
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      Sheet 42       Page 165                                               Page 167
   1 who lost what. And so typically what happens is, in a               1                     Q      I am trying to -- I am trying to make
   2 FERC filing, there will be an analysis to show what                 2 sure I understand each of the items. One is line
   3 those numbers are and retainage is either set as a                  3 loss.
   4 matter of tariff, in which case it is always a certain              4                     A      Uh-huh (yes).
   5 amount, or it can be a fixed contract amount between                5                     Q      One would be what would be company
   6 the parties, if the parties will agree on something                 6 use, which might be running a compressor for some
   7 different than that.                                                7 other reason, and one might be processing, such as we
   8                      Q     In the system here in West Virginia,     8 talked about at -- processing before it would enter
   9 the gathering system in West Virginia, is there --                  9 into the interstate transmission line?
  10                      A     EQT's gathering system?                 10                     A      Yeah, typically, processing can be
  11                      Q     Right.                                  11 other than extracting liquid hydrocarbons. We have
  12                      A     Yes.                                    12 used that term mostly for that, but some people talk
  13                      Q     Is there any, quote, "retainage"        13 about processing is dehydrating gas, and so a lot of
  14 outside of the line loss that we have discussed?                   14 times when gas comes out of the ground, there is a lot
  15                      A     Not for EQT Gathering, no.              15 of water in it, and it will go into that pipeline, and
  16                      Q     Okay, so that would be measured based   16 the company will put dehydrators on the line to get
  17 on the amount of retainage -- let me explain the                   17 that moisture out of the gas, and that is going to
  18 reason I am asking this question, because I think I                18 reduce the volumes of gas because that is not flowing
  19 understand it, but I don't want to miss something.                 19 anymore.
  20                            When you mentioned earlier that the     20                     Q      Right.
  21 line loss and the amount that was lost in the                      21                     A      But it is just a processing that
  22 compressor or wherever it may have ended up being                  22 occurs to get the gas moving. Otherwise, in the
  23 lost, in terms of from the time it leaves the well                 23 wintertime, that is going to freeze off.
  24 until -- the thousand MCF that leaves the well may                 24                     Q      Right, so is there anything else
      Page 166                                                              Page 168
   1 equal 900 when it gets to the point of sale, then that              1 besides line loss, the compression, processing, that
   2 is what you would call -- would you refer to that as                2 you would say would be included in retainage?
   3 retainage?                                                          3                     A      Where you see the words retainage for
   4                     A      Well, we would call that lost and        4 our companies is Equitrans has retainage when gas
   5 unaccounted for.                                                    5 moves through its system, and I think all of it, the
   6                     Q      Lost and unaccounted for?                6 TCO and the DTI and TETCO, have retainage when it
   7                     A      Right.                                   7 moves across their system. So when you put gas into
   8                     Q      In this process, would there be, in      8 their system, there is retainage to that.
   9 addition to line loss, would there be also loss in                  9                     MR. MASTERS: Okay, why don't we take a
  10 compressing or processing?                                         10 little break?
  11                     A      Yes, and if I am not mistaken, if you   11                            (WHEREUPON, a recess was
  12 look back at the gathering charges, there will be a                12                     taken, after which the following
  13 charge in one of the compression sections for company-             13                     proceedings were had.)
  14 used gas.                                                          14                            (WHEREUPON, a document was
  15                     Q      That would be like running              15                     marked for purposes of identification
  16 compressors and that sort of thing?                                16                     as Deposition Exhibit No. 43, a copy
  17                     A      Right, although today, less and less    17                     of which is attached hereto and made
  18 compressors run on natural gas and more run on                     18                     a part hereof.)
  19 electricity.                                                       19                     BY MR. MASTERS:
  20                     Q      Okay, but in terms of, here again, is   20                     Q      I want to hand you Exhibit 43. I am
  21 there a retainage amount in addition to line loss,                 21 showing you Exhibit 43, which is a list, as I
  22 because I have seen the word -- I have seen the term               22 understand it, of the sales agreements.
  23 retainage used.                                                    23                            It is gas sales agreements. I am not
  24                     A      Well, --                                24 obviously asking you to memorize this, but does this
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      Sheet 43       Page 169                                                Page 171
   1 look like a list of the sales agreements that EQT                    1 summer, June 15, 2014, for how much money, for
   2 Energy would have with various companies around the                  2 example?
   3 country?                                                             3                      A     Well, when EQT Energy takes a view of
   4                     A       Yes, I see the word NAESB, which is      4 the future price of gas, let's say it thinks that the
   5 basically a gas sales contract form.                                 5 price of gas is going to be two-fifty in that summer
   6                             (WHEREUPON, a document was               6 month.
   7                     marked for purposes of identification            7                            So it enters into a swap for a
   8                     as Deposition Exhibit No. 44, a copy             8 certain volume of gas in that future month. If the
   9                     of which is attached hereto and made             9 price of gas is higher than two-fifty, EQT Energy owes
  10                     a part hereof.)                                 10 money to Wells Fargo.
  11                     BY MR. MASTERS:                                 11                            If it is lower than two-fifty, Wells
  12                     Q       Let me show you Exhibit 44 and ask if   12 Fargo owes money to EQT, and so it basically
  13 you can identify that as a Master International Swap                13 guarantees a forward price for the gas.
  14 Dealers Association agreement.                                      14                      Q     Okay. If EQT Energy sells the gas on
  15                     A       Yeah, it looks like the form.           15 January 15 to -- do they actually sell it to Wells
  16                     Q       That is between EQT Energy, LLC and     16 Fargo on that date?
  17 Wells Fargo Commodities, LLC, correct?                              17                      A     Gas? No, these are typically
  18                     A       Right.                                  18 financial transactions settled in cash.
  19                     Q       Are you familiar with this agreement?   19                      Q     But does EQT have to make a sale
  20                     A       Well, not this specific one, but I      20 through Wells Fargo?
  21 have seen these agreements.                                         21                      A     It does not.
  22                     Q       And can you tell me, this is -- this    22                      Q     Does EQT produce gas to anybody on
  23 is a Master Agreement that is dated April of 2013,                  23 January 15? Assuming that the swap agreement was
  24 correct?                                                            24 entered into on January 15, does it have to set aside
      Page 170                                                               Page 172
   1                     A      Okay.                                     1 gas on that date?
   2                     Q      And it is signed by Melissa Hyland?       2                     A      No, no, it does not.
   3                     A      Right, we have seen her before. That      3                     Q      Well, how is it determined then --
   4 is a lease.                                                          4 how is it determined that a certain amount of gas is
   5                     Q      Okay, and Wells Fargo's Miechkowski.      5 sold on a certain date for a certain amount?
   6 What is the purpose of this agreement?                               6                     A      Well, it is taking a -- EQT Energy is
   7                     A      Well, EQT enters into some hedges,        7 taking a risk on the sale of gas, so that when it
   8 and this would be an agreement to support the hedge                  8 actually sells gas on that day in the summer, let's
   9 transactions.                                                        9 say that it sells gas that it has purchased from EQT
  10                     Q      And what is the purpose of Wells         10 Production.
  11 Fargo -- not Wells Fargo. What is the purpose of EQT                11                            Let's say that that gas is selling
  12 Energy entering into the hedge agreements?                          12 for two-sixty. It will lower it down -- it will sell
  13                     A      Well, periodically, a company will       13 that gas for two-sixty. It owes ten cents back to
  14 take a view of the price of gas into the future, and                14 Wells Fargo, so it is going to net two- fifty.
  15 when it does that, it locks in what it is going to                  15                     Q      Does EQT Energy receive money, cash
  16 sell gas for, the pricing for what it is going to sell              16 money on January 15 or does it get the money in June
  17 gas in the future.                                                  17 when it sells the gas?
  18                     Q      Okay, so if on January 15, 2014, EQT     18                     A      It gets the money in June based on
  19 Energy entered into -- let me back up on this Master                19 the difference between -- these are probably based on
  20 Agreement. The Master Agreement allows for EQT Energy               20 the difference between the Henry Hub price on the date
  21 to hedge agreements with Wells Fargo; is that fair?                 21 of the agreement.
  22                     A      Right.                                   22                     Q      Okay, so there's -- actually this is
  23                     Q      And as of January 15, 2014, EQT          23 a hedge or a swap for where Wells Fargo actually does
  24 Energy would agree that it would sell gas, say in the               24 not come into possession of the gas, there's no gas
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      Sheet 44       Page 173                                               Page 175
   1 transaction itself, this is a bet on, sort of a bet on              1 of natural gas between J. Aron & Company and EQT
   2 what the value of the price would be at a time in the               2 Energy, LLC?
   3 future?                                                             3                     A      Yes.
   4                      A     You could call it that, although, as     4                     Q      And are you familiar with J. Aron &
   5 always, this is kind of a little bit more of a long-                5 Company?
   6 winded explanation, but the EQT Energy, I have already              6                     A      No, not really.
   7 told you, has two divisions, one of which is to sell                7                     Q      Can you tell me what this base
   8 gas that is purchased from the Production company, and              8 contract is for?
   9 then there is another group that makes a market across              9                     A      Yeah, this appears to be a standard
  10 basis points and puts the gas in storage and leases.               10 NAESB form. It is a contract that sets the parameters
  11                            The reason I talked about that is       11 for the sale of natural gas to someone.
  12 because basically what happens here is the                         12                     Q      Okay, and this particular -- who
  13 corporation, as a whole, may drill a well. Let's say               13 negotiates? Does EQT Energy actually negotiate these
  14 it drills a Marcellus well and pays $10 million for                14 contracts?
  15 that.                                                              15                     A      Yes, although, as you can see, they
  16                            The economics of drilling that well     16 are pretty form driven.
  17 may be to have a price of that gas sold at two-fifty               17                     Q      Right, I see that. This one is
  18 in the future for the next two years to make that a                18 entered into February of 2014, and this contract would
  19 profitable deal.                                                   19 require the sale and delivery of gas where?
  20                            So what happens in certain or some      20                     A      I am not sure that -- that it is
  21 circumstances, to protect itself from a dramatic drop              21 listed on here. There would be a confirmation or a
  22 in price, it will say, well, I am willing to give up               22 trade ticket for any specific transaction. I don't
  23 the upside over two-fifty to protect myself from the               23 think this will tell you without seeing a transaction
  24 downside on the gas.                                               24 confirmation.
      Page 174                                                              Page 176
   1                     Q      So Wells Fargo would guarantee them a    1                     Q      Is J. Aron & Company like a middle
   2 low end in order to get the high end, in the event                  2 man kind of company that would go out on the market
   3 there was a high end?                                               3 somewhere and resale the gas or what are they?
   4                     A      Exactly. To the extent the price is      4                     A      I don't know.
   5 higher or lower, one party or the other will pay the                5                            (WHEREUPON, a document was
   6 differential between the actual Nimex price and what                6                     marked for purposes of identification
   7 these parties have agreed to.                                       7                     as Deposition Exhibit No. 46, a copy
   8                     Q      If the price of the gas on sale is --    8                     of which is attached hereto and made
   9 say EQT gains. In other words, they come out ahead --               9                     a part hereof.)
  10                     A      Uh-huh (yes).                           10                     BY MR. MASTERS:
  11                     Q      -- does the royalty owner get any       11                     Q      I am showing you Exhibit 46. Can you
  12 part of the gain?                                                  12 identify that?
  13                     A      No.                                     13                     A      Yes, this appears to be another NAESB
  14                     Q      If they come out on the low end, do     14 contract. This one is between J. P. Morgan Ventures
  15 they get any part of the loss?                                     15 Energy Corporation and Equitable Energy, LLC.
  16                     A      No.                                     16                     Q      Okay, and this would be a similar
  17                            (WHEREUPON, a document was              17 arrangement as you had with Wells Fargo?
  18                     marked for purposes of identification          18                     A      I don't think so. I think this is an
  19                     as Deposition Exhibit No. 45, a copy           19 actual physical sale contract.
  20                     of which is attached hereto and made           20                     Q      Would J. P. Morgan Energy -- Ventures
  21                     a part hereof.)                                21 Energy Corporation be a gas company?
  22                     BY MR. MASTERS:                                22                     A      I think they are at least a trading
  23                     Q      I am showing you Exhibit 45. Can you    23 organization, but this is a physical sale contract,
  24 identify that as a base contract for sale and purchase             24 not a financial transaction.
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      Sheet 45       Page 177                                               Page 179
   1                     Q      How much are they selling?               1 things. This is 47.
   2                     A      Again, you would have to look at the     2                            (WHEREUPON, a document was
   3 specific transaction confirmation to know what the buy              3                     marked for purposes of identification
   4 and sell is, but it is certainly conceivable that this              4                     as Deposition Exhibit No. 47, a copy
   5 is a marketer of natural gas.                                       5                     of which is attached hereto and made
   6                            Now, they may have, at the time that     6                     a part hereof.)
   7 this was entered into, had some thought of the                      7                     BY MR. MASTERS:
   8 specific locations of delivery and receipt of                       8                     Q      Exhibit 47 is another sale purchase
   9 delivery, but you can't really see that here.                       9 agreement of natural gas between EQT Energy and
  10                     Q      Okay. Where would -- I mean, these      10 Infinite Energy of Gainesville, Florida, and can you
  11 documents were produced to me as being the sales                   11 tell me what you know about Infinite Energy
  12 documents of the gas --                                            12 Corporation of Gainesville, Florida?
  13                     A      Uh-huh (yes).                           13                     A      I don't know anything them.
  14                     Q      -- for a certain period of time that    14                     Q      This contract was entered into in --
  15 EQT Energy or EQT Corp or Production made, and so what             15 I am not sure there is a date on it. There's no date
  16 documents would I look at to see what the sales                    16 on it.
  17 actually were?                                                     17                     A      It is April 19, 2002 -- maybe that is
  18                     A      Well, this is very similar to the       18 the date of the form. I'm sorry. You are right. It
  19 ISDA agreement, which is just a supporting document                19 does not look like it is dated -- 11/20/13 is the date
  20 that sets the terms up. There would be a trade                     20 on the lefthand side of the bottom of the form. Look
  21 confirmation for each and every --                                 21 at EQT Energy, 037538.
  22                     Q      Like a wire transfer or would there     22                     Q      I see it there -- yeah. All right,
  23 be something else?                                                 23 so there again, this would be a transaction. Where
  24                     A      It is going to be just a little slip    24 would the money go? I assume Infinite Energy would be
      Page 178                                                              Page 180
   1 of paper that has the terms of that specific deal on                1 required to wire transfer money to EQT Energy?
   2 how long the gas is going to be delivered, what                     2                     A      Well, I suppose it would depend on
   3 volumes are going to be delivered, what pipeline it is              3 who is buying and who is selling the gas. You will
   4 being delivered from, and where it is to, and there's               4 see that there are wire instructions for both party on
   5 going to be thousands of those.                                     5 here.
   6                            I would guess that there's a thousand    6                            So depending on who is buying and who
   7 of these, and then there's multiple transaction                     7 is selling the gas would depend on who is paying and
   8 tickets to support that.                                            8 who is not.
   9                            So you probably have a spreadsheet       9                     Q      Okay. I see Wells Fargo on here.
  10 from us that shows each and every transaction that                 10                     A      That is a bank.
  11 occurred, and there is a ticket that supports every                11                     Q      That is what I was wondering.
  12 one of those.                                                      12                     A      You can see the ABA number.
  13                     Q      Okay, when you say there would be a     13                     Q      Yeah, there we go. Is there a price
  14 thousand of those, that would be Exhibit 46, or are                14 set on this?
  15 you talking about -- I mean, that is, I guess, my                  15                     A      No, these contracts are just base
  16 question. Are you talking about it would be thousands              16 contracts. Some trader at EQT has made contact with
  17 of contracts like Exhibit 46?                                      17 somebody at Infinite Energy.
  18                     A      I think there's probably -- thousand    18                            They may or may not have a deal, a
  19 is a rough number. I would guess there's                           19 specific deal in mind, but, you know, before they can
  20 approximately a thousand.                                          20 enter into a deal, there will be a process that they
  21                     Q      Well, I am not going to try to go       21 go through where they will set the terms.
  22 through a thousand.                                                22                            There will be some kind of credit
  23                     A      Good.                                   23 evaluation to determine whether we want to even do
  24                     Q      I am just trying to get an idea of      24 business with these people and vice versa, and then
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      Sheet 46       Page 181                                              Page 183
   1 there will be trade confirmations.                                 1 things in this company, EQT Corporation, and then the
   2                     Q      Okay. Mr. Crites testified at page      2 subsidiaries, and then, like I said, there are groups
   3 104 of his deposition -- I will just read it. I will               3 that do certain things that are utilized throughout
   4 be glad to show it to you if you need me to.                       4 all the different subsidiaries. Is that fair to say?
   5                            He said that EQT Midstream Gathering    5                     A      Yes, that is fair to say.
   6 calculates the rate which is approved -- this is the               6                     Q      And the Gas Measurement group,
   7 gathering rate.                                                    7 explain what you understand that group to be.
   8                     MR. WEST: Marvin, just for clarity, his        8                     A      Well, they are going to have -- they
   9 deposition in which case?                                          9 are going to have all the measurements coming in off
  10                     MR. MASTERS: McDonald.                        10 of all the production meters.
  11                     MR. WEST: McDonald, okay, thank you.          11                            They are going to have some check
  12                     BY MR. MASTERS:                               12 meters in the process; that is to say meters that
  13                     Q      "EQT Midstream Gathering calculates    13 aren't sales meters but maybe a meter at a combination
  14 the rate which is approved by the CEO and then                    14 of a bunch of locations.
  15 ultimately by the Board of Directors, and that rate is            15                            Then they are going to have -- they
  16 given to EQT Energy," and then the question, "CEO                 16 are going to have readings off of sales meters, and so
  17 and/or Board of Directors of what company," and he                17 if you think about that, theirs is a -- their
  18 answered, "EQT Corp".                                             18 responsibility transcends the business unit.
  19                            Now, I take it from going back to      19                            So rather than having somebody from
  20 this morning, we have talked about that, and that                 20 EQT Energy that worries about the meter set at the
  21 would be in this whole big process that limited by the            21 interstate pipeline connection and somebody at a
  22 information you provided this morning as to the fact              22 different company, let's say at the Production, at the
  23 that that would be reduced down to a number, not to               23 wellhead, rather than having the Production employee
  24 all the stuff that maybe was supplied to your pre-                24 and an EQT Energy employee both set a meter or both
      Page 182                                                             Page 184
   1 board meetings?                                                    1 read a meter, one group provides that service for both
   2                     A      Yeah, his view would be that that       2 so that the cost isn't redundant.
   3 number is approved. That number probably didn't even               3                     Q      Mr. Crites mentioned that there was
   4 show up in the document that they approved, but it is              4 an EQT Gathering Equity, LLC in addition to EQT
   5 a detail that is used in the calculation of the                    5 Gathering. Is EQT Gathering Equity, LLC, still in
   6 approved plan.                                                     6 existence?
   7                     Q      But in any event, the Board of          7                     A      I think it is still in existence, but
   8 Directors would have the right to approve and the duty             8 this is what I was referring to this morning. When
   9 to approve all of these, the entirety of the plan,                 9 the companies were first set up, there was a view of
  10 correct?                                                          10 how the company would be organized.
  11                     A      Yes.                                   11                            It ended up either not being feasible
  12                     Q      And how they would do that would be    12 or not the direction that we ultimately went, and the
  13 really up to them, but obviously, they can't approve              13 idea for that, those companies were some of the
  14 every little detail of everything going on in a                   14 production, or I'm sorry, some of the gathering would
  15 corporation that size, is that correct?                           15 be in a different organization, and I can't remember
  16                     A      Yes.                                   16 exactly whether it was because one was going to sell
  17                     Q      There is a mention in here of a gas    17 to third parties and one was going to sell to
  18 measurement group.                                                18 affiliated companies, or whether it had to do with who
  19                     A      Uh-huh (yes).                          19 was going to be regulated as far as gathering lines,
  20                     Q      You mentioned a Gas Measurement        20 because of the fear that in some locations, that you
  21 group, and, you know, in reading and taking the                   21 would have to serve customers off of those gathering
  22 depositions of others, there are -- there is this                 22 lines, but whatever it was didn't really prove to be
  23 group and that group and the other group, various                 23 practical, so there was not a lot of distinction there
  24 groups that are given the responsibility to do various            24 even if the company still exist.
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      Sheet 47       Page 185                                               Page 187
   1                     Q      As I understand, while there may be      1 compression or it may say no deduction for
   2 some leases that are different, that the overall                    2 transmission or transportation of the gas and so
   3 gathering rate within a particular district, being                  3 forth, so I understand that.
   4 Weston and so forth, that that rate as established                  4                     A      Okay.
   5 would be charged overall to the -- if there was going               5                     Q      But the rates for those things are
   6 to be a rate, a gathering rate charged, that rate is                6 what Mr. Piccirilli's group tries to come up with and
   7 the one that would be charged to the lessors, correct?              7 make reasonable estimates on, right?
   8                     A      Well, yes, and there are three           8                     A      Right.
   9 districts, three major districts in West Virginia, and              9                     MR. MASTERS: You know, we will back
  10 if we thought that there was no restriction on what                10 tomorrow, right?
  11 gathering charges could be charged, they would get                 11                     MR. HENDRICKSON: Right.
  12 that rate.                                                         12                     MR. MASTERS: Is this a good time to stop
  13                     Q      Okay, and that would be based on, to    13 today?
  14 simplify it down, that would be based on an overall                14                     MR. HENDRICKSON: Good with us -- whatever
  15 calculation assimilation of the cost that EQT was                  15 works for you.
  16 going to incur, estimates of what it was going to                  16                            (WHEREUPON, the deposition
  17 incur in that period of time, and then average that                17                            resumes August 18, 2015.)
  18 out?                                                               18                     VIDEOGRAPHER: We are on the record now, day
  19                     A      Well, yeah, --                          19 two of the of Kay Company, et al. versus EQT, et al.
  20                     Q      -- to a certain proportion?             20                            We have some new people present in
  21                     A      -- average it over the volumes --       21 the room. Would they please identify themselves for
  22                     Q      Yes, right.                             22 the record?
  23                     A      -- from that division, but, again,      23                     MR. FLETCHER: Yes, my name is Carl
  24 you know, you can oversimplify that by saying we                   24 Fletcher, I'm here on behalf of the defendants.
      Page 186                                                              Page 188
   1 always charge that rate, because some of the leases                 1                     MR. DOUGLAS: Robert Douglas, for the
   2 will be different. Some of the leases will not allow                2 plaintiffs.
   3 compressing, compression charges.                                   3                     VIDEOGRAPHER: Okay, thank you.
   4                     Q      Right.                                   4                       (Witness sworn.)
   5                     A      So the terminology kind of gets a        5 THEREUPON,
   6 little crossed sometimes. A lot of times when we are                6                 J O H N B E R G O N Z I,
   7 saying gathering, we are really talking about                       7 after having been first administered an oath or
   8 gathering and compression and dehydration as charges                8 affirmation on the record by the Deposition Officer,
   9 and reassigned for the values gathering, and in                     9 testified as follows:
  10 processing, again, sometimes we talk about dehydration             10                         EXAMINATION
  11 as processing, and at other times, we are talking                  11                     BY MR. MASTERS:
  12 about processing that is the removal of these, the                 12                     Q      Since yesterday, did you review any
  13 heavy liquids.                                                     13 additional documents or records in this case?
  14                            I don't think there are any contracts   14                     A      No.
  15 where the costs of extracting heavy liquids are passed             15                     Q      Have you had any other discussions
  16 back either to EQT Production or to the royalty                    16 with anyone from EQT about this case?
  17 owners.                                                            17                     A      Not specific discussions.
  18                            So you need to just be a little         18                     MR. WEST: Other than counsel?
  19 careful about which terminology you are using and                  19                     MR. MASTERS: Yeah.
  20 which distinct --                                                  20                     THE WITNESS: No.
  21                     Q      I understand that.                      21                     BY MR. MASTERS:
  22                     A      Okay.                                   22                     Q      And did you discuss any matter upon
  23                     Q      You know, a lease may -- in one         23 which you're to testify today?
  24 situation, a lease may say no deduction for                        24                     A      I don't know what you're going to ask
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      Sheet 48       Page 189                                               Page 191
   1 me today. We have not discussed anything of what                    1 remember his role in the organization. There's Justin
   2 you'd ask me today.                                                 2 -- I lost his last name, but he has some
   3                     Q      Well, I'll ask that question later       3 responsibilities relating to gas measurements.
   4 then.                                                               4                            I talked with Joe Piccirilli, I
   5 Do you know -- I believe you know Paul Schmidt,                     5 talked with Gloria Johnson. I may have had a brief
   6 Director of Revenue and Accounting?                                 6 conversation with the folks that I can't remember at
   7                     A      I do know him. He's no longer            7 this point, but enough to satisfy myself about all of
   8 Director of Revenue and Accounting.                                 8 the changes in the process since I was there.
   9                     Q      What does he do now?                     9                     Q      I didn't hear what you just said.
  10                     A      I don't know.                           10                     A      I said enough to assure myself that I
  11                     Q      Okay.                                   11 understood any changes in the processes that have
  12                     A      He doesn't work for EQT.                12 occurred since I left EQT.
  13                     Q      Do you know -- let's see -- Diane --    13                     Q      And as I understood yesterday, there
  14 is it Diane Pryor?                                                 14 has not been any changes, am I correct?
  15                     A      I do know -- I did know her, yes.       15                     A      Not in the process of paying
  16                     Q      Does she still work for EQT?            16 royalties.
  17                     A      No.                                     17                     Q      And I need you to define what you
  18                     Q      And to clarify for certain, when you    18 mean the process of paying royalties. Does that mean
  19 -- you did not seek out any of the present officers or             19 including taking deductions or not taking deductions
  20 employees of EQT or any of the subsidiaries to discuss             20 or any of those kinds of things? I'm not sure -- I
  21 what they're doing at the present time with respect to             21 just want to make sure I know what you're saying.
  22 paying royalties or taking deductions?                             22                     A      Yes. What I meant to say was that
  23                     A      The officers of the company?            23 the systems that are in place to pay those royalties
  24                     Q      Officers, directors, employees.         24 have remained unchanged. To my knowledge, there's
      Page 190                                                              Page 192
   1                     A      Employees of the company.                1 been no large-scale changes in the payment of
   2                     Q      Who did you talk to?                     2 deductions, although changes in leases occur from time
   3                     A      I talked with the Revenue Accounting     3 to time based on review of a specific lease or
   4 folks in the Production company.                                    4 discussions between the Land Admin group and Legal and
   5                     Q      So you're testifying, based upon the     5 a royalty owner should they have some questions,
   6 information they provided you?                                      6 they'll be reviewed and sometimes they'll be changed.
   7                     A      Them and the comptroller of EQT          7                     Q      But that's not processes, right?
   8 Production.                                                         8                     A      Maybe I misunderstood your question.
   9                     Q      And who is the comptroller that you      9                     Q      Well, you know, the reason I'm asking
  10 talked to?                                                         10 this question, you gave a deposition in the McDonald
  11                     A      Jeff Mitchell.                          11 case.
  12                     Q      And who were the individuals -- other   12                     A      Yes.
  13 individuals you talked to?                                         13                     Q      And I take it that that deposition
  14                     A      From Revenue Accounting?                14 was in 2013 and this is two years later.
  15                     Q      Whoever you talked to.                  15                     A      Yes.
  16                     A      In the -- on the topic of royalties?    16                     Q      So nothing has changed since you gave
  17                     Q      Royalties or deductions from            17 that deposition, isn't that correct?
  18 royalties or sales or anything of that nature.                     18                     A      No, nothing's changed in the way the
  19                     A      Well, I talked with Jeff Mitchell,      19 process is done.
  20 Christy Toya, Kelly Vallens. I discussed other issues              20                     Q      And the same would be true for the
  21 with a variety of folks. I'm not sure I'll be able to              21 time period when you retired. I mean, nothing's
  22 name all of them or get the pronunciations right, but              22 changed since then, the procedures that were put into
  23 there was Paula Frame, who's in the Gas Measurement                23 effect, the processes that were put into effect prior
  24 group. There's Sam Heppenstall who's -- I don't                    24 to that time have stayed the same up to the present
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      Sheet 49       Page 193                                               Page 195
   1 time, correct?                                                      1                     A      Obviously, EQT made the decision
   2                     A      Right. There's some different            2 -- we just discussed this yesterday -- EQT made a
   3 personnel involved, but by and large, it's exactly the              3 decision as to what leases they were going to take
   4 same.                                                               4 deductions and what deductions would be taken for each
   5                     Q      So the testimony you gave in McDonald    5 lease, that's been done, correct?
   6 case would still be applicable today, correct?                      6                     A      Yes, I'm a little uncomfortable with
   7                     A      Yes.                                     7 the words "made the decision". As I told you -- as I
   8                     Q      And so the answers that you're giving    8 testified yesterday, the majority of these leases came
   9 today and gave yesterday would be the answers of EQT,               9 from an acquisition from Eastern States, and the
  10 correct?                                                           10 company followed the procedures on each of those wells
  11                     A      I believe they should be consistent.    11 that was in place at the time.
  12                     Q      Okay. And when you say they would be    12                            They would not have made an
  13 consistent, you're here testifying as EQT Corp and all             13 individual decision on any of those -- on any of those
  14 the subsidiaries, right?                                           14 leases unless there was a problem with one or somebody
  15                     A      Yes.                                    15 contacted them or there was a discussion on those. So
  16                     Q      All right. You were identified to       16 I guess the decision would have been to just continue
  17 testify with respect to subject matter No. 1 in the                17 the process that was in place at the time of the
  18 Notice and the amount of each deduction from the                   18 acquisition.
  19 royalty under 1.D, the basis for the deduction,                    19                     Q      Okay. I thought you indicated
  20 including an that explanation as to the contractual or             20 yesterday that a law firm had, at the request of EQT,
  21 other reasons EQT deducted any sum from the royalty                21 reviewed all of the leases and they were digitized and
  22 and the manner in which those deductions were                      22 that there was a decision made as to deductions on
  23 calculated. Have you testified already in this                     23 those leases.
  24 deposition and gave your explanation as to the amount              24                     A      You're right, I did testify yesterday
      Page 194                                                              Page 196
   1 of each deduction from the royalty and the basis for                1 that the leases were all reviewed, and I also
   2 each deduction taken?                                               2 testified that certain leases were -- the deductions
   3                     A      Each and every deduction on each and     3 were discontinued based on the advice of counsel after
   4 every lease?                                                        4 the Tawney decision.
   5                     Q      Yeah.                                    5                            The way I understood your question, I
   6                     A      No.                                      6 did not realize that you were talking about that.
   7                     Q      Okay. And do you know the answer to      7                      Q     Well, I mean you testified yesterday
   8 that question for each and every lease?                             8 that there was a categorization of leases and that the
   9                     A      No, and I don't think it's possible      9 deductions were inputted in -- what leases would have
  10 to know.                                                           10 whatever deductions were inputted into the Enertia
  11                     Q      So is it fair to say that that would    11 system, correct?
  12 be set forth in a database of information that EQT                 12                      A     Say that again.
  13 Production would have on its computer system on                    13                      Q     The deductions -- I thought yesterday
  14 Enertia?                                                           14 you testified -- I don't think, I know you testified
  15                     A      I don't think that would be fair to     15 that there were categorization of which lease, as to
  16 say that.                                                          16 the leases, which lease would have deductions,
  17                     Q      Okay, where would you find that?        17 correct?
  18                     A      Well, the amount of each deduction      18                      A     Yes.
  19 from royalty due would be certainly be in that                     19                      Q     And then what specific itemizations
  20 database. I don't think the basis for each deduction               20 would be deducted from each lease, correct?
  21 would be in an explanation as to the contractual --                21                      A     Right.
  22                     Q      Okay, well that's -- I didn't mean to   22                      Q     And that's the way you pay the
  23 include that in there, but I'm sorry, I did, so -- I               23 royalty owners their royalty --
  24 appreciate your correction on that.                                24                      A     Yes.
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   1                     Q      -- correct?                              1 it directly. The Revenue Accounting would have
   2                     A      Yes.                                     2 received that information.
   3                     Q      And that that is -- those deductions     3                     Q      All right. Well, when Revenue
   4 are set forth in your Enertia system, correct?                      4 Accounting received it, what did they do with it?
   5                     A      They are.                                5                     A      Well, they use that as the basis for
   6                     Q      And that's how the statements are        6 deducting or gathering compression, dehydration, those
   7 generated?                                                          7 type of charges unless the language in the specific
   8                     A      Right.                                   8 lease calls for a different calculation.
   9                     Q      Let me ask you, we talked yesterday      9                     Q      Okay. Was there a determination made
  10 also about an explanation as to the contractual or                 10 as to what the fair market value of the gas was coming
  11 other reasons that EQT deducted any particular sums                11 from specific leases?
  12 from royalty.                                                      12                     MR. WEST: Objection to the extent fair
  13                     A      Okay, yes.                              13 market value is a legal term, but I will allow him to
  14                     Q      Do you remember that?                   14 answer to his understanding.
  15                     A      Yes.                                    15                     THE WITNESS: I'm sorry, ask the question
  16                     Q      What I was really trying to do was      16 again.
  17 sort of try to cover this aspect of my questioning in              17                     BY MR. MASTERS:
  18 the Notice. Mr. Piccirilli talked about the gathering              18                     Q      Well, let me ask you this. Do you
  19 rates, you know, how they were gathered and                        19 know what fair market value is?
  20 calculated.                                                        20                     MR. WEST: Same objection, go ahead.
  21                     A      Okay, yes.                              21                     THE WITNESS: What a willing buyer and a
  22                     Q      Now when you were in Production, did    22 willing seller are willing to pay for a specific item.
  23 you receive in Production his work product?                        23                     BY MR. MASTERS:
  24                     A      I wasn't an employee of EQT             24                     Q      Okay. Do you know whether EQT made
      Page 198                                                              Page 200
   1 Production.                                                         1 any determination as to what the fair market value of
   2                     Q      My understanding was that you were       2 the gas was when it determined the sale of the gas?
   3 going to testify about what took place; in fact, it                 3                     A      Well, my view is that EQT believes
   4 was represented in Mr. Piccirilli's deposition by                   4 that the fair market value is determined based on
   5 counsel for EQT that you were going to address what                 5 taking the index price, which is clearly a willing
   6 took place in Production.                                           6 buyer and seller's price are an indication of fair
   7                     A      Yes. But you just asked me when I        7 market value at that location, and deducting the costs
   8 was in Production.                                                  8 of getting that from the wellhead to that liquid
   9                     Q      Okay.                                    9 trading point represents the difference in what the
  10                     A      I was trying to --                      10 fair market value is at the wellhead versus at that
  11                     Q      Were you VP in Production?              11 liquid trading point. So, in fact, that is a proxy
  12                     A      No.                                     12 for what a willing buyer and willing seller would pay
  13                     Q      Okay, I'm sorry, you were VP in         13 at the wellhead.
  14 Corporate?                                                         14                     Q      Okay. You would agree that at the
  15                     A      Yes.                                    15 point of sale on the interstate pipeline is what a
  16                     Q      But I thought you indicated that you    16 willing buyer and willing seller would agree upon in
  17 were VP in about all the subsidiaries.                             17 terms of gas that was delivered to the interstate
  18                     A      I was an Assistant Treasurer and        18 pipeline then, correct?
  19 Assistant Secretary in about all the companies.                    19                     A      At that space and at that time.
  20                     Q      Oh, okay. All right. So did you not     20                     Q      Okay. One of the areas that you were
  21 receive the product of Mr. Piccirilli -- his Gathering             21 going to testify to was explain in detail the exact
  22 group?                                                             22 method you used to determine the amount that each
  23                     A      I would have seen it or I've seen it.   23 plaintiff/lessor is charged for gathering,
  24 I certainly would not have been the person to receive              24 transportation and processing fees, and charges of any
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   1 kind.                                                               1                            We talked about that yesterday as
   2                            I think we covered that pretty much      2 well and with the understanding that the -- what Mr.
   3 yesterday in detail. Do you know of anything else to                3 Piccirilli was doing was forecasting his -- the best
   4 add to that?                                                        4 estimate that he could do or his group could do with
   5                     A      Where is that on the list?               5 respect to the expected cost, right, or estimated cost
   6                     Q      Number 4.                                6 for the coming year, correct?
   7                     A      I think we did.                          7                     A      Right. I think I termed it the
   8                     Q      Number 5 is "the persons, group or       8 contractual agreed upon price for the next year.
   9 committee at EQT that authorized the charges for                    9                     Q      In terms of the -- and we discussed
  10 gathering, transportation and processing fees," which              10 that and how that process worked yesterday, right?
  11 were -- I'm paraphrasing -- which were deducted from               11                     A      Yes.
  12 royalty payments to each of lessors and describe the               12                     Q      Okay. And you have nothing to add to
  13 origins of such charges since December 1 of 2006. And              13 that, correct?
  14 I think we also covered that yesterday, did we not?                14                     A      No.
  15                     A      Yes.                                    15                     Q      And Number 11, the volume of gas EQT
  16                     Q      And the persons most knowledgeable      16 has produced under its oil and gas leases, as I
  17 regarding EQT's imposition of gathering,                           17 understand, I don't think that -- I don't think those
  18 transportation, and processing fees, which were                    18 volumes have been produced in a database here, but as
  19 deducted from royalty payments, we also covered that I             19 I understand the volumes would be the same as -- maybe
  20 think, did we not?                                                 20 we just misunderstood that, Kevin, but in any event,
  21                     A      I believe so.                           21 it's my understanding that the volumes reported to the
  22                            (WHEREUPON, an off the record           22 State would be the same volumes that EQT Production
  23                     discussion was taken, after which              23 would have produced from these wells, correct, at the
  24                     the following proceedings were had.)           24 wellhead?
      Page 202                                                              Page 204
   1                     BY MR. MASTERS:                                 1                     A      Yes.
   2                     Q      We talked yesterday, Number 9, I took    2                     Q      Okay. Number 15, skipping over those
   3 just to refer you to these, I'm skipping over 7 and 8               3 others which were subject to the judge's timeline,
   4 because as I understand, Ms. Smith is going to address              4 Number 15 for the period of December 1, 2006, A
   5 those. Number 9, the name and address of any                        5 through F dealt with the meters and how the gas was
   6 consultant or person from whom you sought or received               6 metered and calculated, right?
   7 advice or guidance with respect to gathering,                       7                     A      Yes. A lot of these questions that I
   8 transportation and processing fees.                                 8 testified to, there's a level of specificity that
   9                            I think we covered that, but I want      9 makes the actual answering of these questions
  10 to make sure. Is there anything else that you would                10 difficult, like the location of the metering device on
  11 add to that in terms of any other person or affiliated             11 each well because there are so many. And my attempt
  12 company that you may have discussed or EQT may have                12 was to explain to you how the process works in theory,
  13 discussed what processing fees and charges that you                13 how each and every location is determined and how
  14 would take or were going to take from the lessors?                 14 they're metered. So --
  15                     A      Well, to my knowledge, we've            15                     Q      And I understood that yesterday.
  16 discussed that and I don't have anything further to                16                     A      Okay.
  17 add to that.                                                       17                     Q      My question is do you have anything
  18                     Q      And Number 10, the question there or    18 to add to that? Have you explained to me the
  19 subject matter was EQT's actual net cost in terms of               19 knowledge that you have with respect to the metering?
  20 dollars per dekatherm and per mcf and the matter or                20                     A      Well, I think I've answered your
  21 formula used to determine such net costs to transport              21 questions. There is a meter at each well. We didn't
  22 and gather gas from the wellhead to gathering or                   22 talk about the name of the person or persons that made
  23 collection points for subsequent distribution and/or               23 the decision to utilize that type of meter. We didn't
  24 sale to the purchasers.                                            24 talk about the specifics of the meters other than
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   1 larger meters are electronically metered and small                  1 contracts are between EQT Production and EQT Energy.
   2 ones have an older style arrangement with a chart.                  2                     Q      Okay, and that would be all of them?
   3                            I didn't say who the integrator          3                     A      Yes.
   4 normally is on the charts, that's Gas Analytics.                    4                     Q      And we've talked about -- is there
   5 There are some other firms that do some work to a                   5 anything you have to add to the sales of gas in terms
   6 lesser extent.                                                      6 of the contracts for sales from EQT Production to EQT
   7                            The person or persons to read the        7 Energy?
   8 meter, each meter, again, that's a well tender does                 8                     A      I don't think so. I think we talked
   9 that. There's no way I have all that -- I have the                  9 about that.
  10 name of every well tender.                                         10                     Q      And basically, it's the entire
  11                     Q      I understand that.                      11 production that's sold to Energy, correct?
  12                     A      I've gone through these things, but     12                     A      Yes.
  13 I've tried to give you an understanding of each of                 13                     Q      Number 23 has to do with NGLs and I
  14 these areas. If you need additional information, I'm               14 have some additional questions about that, but in
  15 happy to discuss it further.                                       15 terms of the MarkWest purchases, I believe you
  16                     Q      Well, I assume that -- has there ever   16 indicated MarkWest is the only processor that takes
  17 been a -- let me start the question differently. Has               17 liquids, processes and extracts liquids, and then
  18 EQT or any of its subsidiaries gathered themselves or              18 sells them for and on behalf of EQT?
  19 through a consultant ever audited their metering of                19                     A      Right, they're the only ones that
  20 the gas well production compared to any actual                     20 sell liquids and return the proceeds to EQT Energy.
  21 production separate and apart from the metering? In                21                     Q      And is there any other company that
  22 other words, are the meters regularly checked?                     22 takes the liquids off and then sells them themselves?
  23                     A      There is standard operating procedure   23                     A      I believe that there is a plant that
  24 to check the meters based on the volumes that are                  24 the DTI connection in Hastings that does some
      Page 206                                                              Page 208
   1 produced by those meters.                                           1 processing like that and the company is made whole.
   2                            The company -- I think we discussed      2                            I believe they take the risk and the
   3 this yesterday, the company in 2005 reorganized and                 3 reward on that and just pay for the energy content in
   4 spent quite a bit of time trying to create areas of                 4 the gas that's lost, but it's a much smaller process.
   5 expertise.                                                          5                     Q      And -- okay. Is that the only other
   6                            So for instance, when it came to         6 plant that does -- to your knowledge takes the liquids
   7 metering, the company spent some time and energy                    7 --
   8 trying to make sure that they understood the flow of                8                     A      To my knowledge, yes.
   9 gas. I think there's some check meters you'll see if                9                     Q      And just so it's clear, that plant --
  10 you look at the list of all the meters, so that they               10 do you know the name of the company?
  11 could get a sense that -- and they also do this                    11                     A      Dominion Transmission, I think,
  12 monthly now -- that they can get a sense that the                  12 operates the plant.
  13 difference between the production and the sales is                 13                     Q      And what they do is they buy the gas,
  14 within a reasonable range.                                         14 the natural gas from you, just like MarkWest does?
  15                     Q      I understand Mr. Lancaster is the       15                     A      Right, that's my understanding.
  16 person to deal with 16 through 21.                                 16                     Q      They pay the index price at that time
  17                            So 22, the sales contracts and,         17 when they take it, is that what they do?
  18 again, inasmuch as there's numerous sales contracts,               18                     A      Or they replace the gas. I'm really
  19 and you did not review all of those in the production,             19 not -- it's a small amount of volumes. I'm really not
  20 I take it that was supplied to the plaintiffs in this              20 very familiar with it, but that's my understanding,
  21 case, correct?                                                     21 yes.
  22                     A      Well, this is for sales by EQT          22                     Q      Where could I find the information
  23 Production Company for gas from plaintiffs' wells                  23 with respect to that particular --
  24 before the interstate transmission inlet. Those                    24                     A      We could provide that.
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   1                     MR. WEST: Yeah, and on that Marvin, and          1 deductions charged the plaintiffs and we covered that
   2 Carl, jump in here, I think that we may have                         2 yesterday as I understand it, correct?
   3 inadvertently not provided that contract. I think                    3                     A      Yes.
   4 that it kind of came to our attention as we was                      4                     Q      But the only way for me to see that
   5 talking to John about how the process works, so to the               5 is to see the database that -- I mean, as you
   6 extent we've not provided that contract, we will do                  6 mentioned, you cannot quote 8,000 leases or however
   7 that.                                                                7 many wells there are in West Virginia.
   8                     THE WITNESS: And I do have to say, that          8                     A      Right, I actually -- if you have an
   9 came from my recollection when I was there. I needed                 9 888 report that would -- my recollection is that those
  10 -- it's a long time ago.                                            10 show which specific leases have which specific
  11                     BY MR. MASTERS:                                 11 deductions on it.
  12                     Q       I understand. Number 24, for sales      12                     Q      You also were going to discuss
  13 by EQT Energy, the sales contracts between them and                 13 document productions here and I want to go ahead and
  14 EQT, which you've produced as I understand. Sales                   14 ask some additional questions, I thought we'd go ahead
  15 contracts between EQT Energy and non-affiliated third               15 and try to cover. I believe you indicated that you
  16 parties, other than the one that we -- this would be                16 had reviewed your deposition in the McDonald case
  17 for NGLs. As I understand it, there's only that one                 17 before you came, correct?
  18 other one, right?                                                   18                     A      I did.
  19                     MR. WEST: That's correct.                       19                     Q      Is there anything in there that you
  20                     MR. MASTERS:       And you're going to try to   20 saw that you would change?
  21 find that and get it to us.                                         21                     A      No.
  22                     BY MR. MASTERS:                                 22                     Q      Are you familiar with the maps of
  23                     Q       Number 25, that is for the services     23 your system, EQT Production maps in West Virginia?
  24 provided by EQT Gathering, LLC for gas from                         24                     A      Yes, I've seen them.
      Page 210                                                               Page 212
   1 plaintiffs' wells. First the Gathering contracts and                 1                     Q      I'm going to show you Exhibit 4 and
   2 those contracts would be -- are there contracts                      2 the reason I'm showing this -- this is the southern
   3 between Gathering and EQT Energy for all the gas or                  3 West Virginia system. Can you describe for me what
   4 are there separate contracts in some locations?                      4 we're looking at there?
   5                     A      Well, there are separate contracts        5                     A      Yes, this is the southern portion of
   6 but in different districts is my recollection, but                   6 West Virginia listing the -- in green, the wells and
   7 they're very similar.                                                7 in red and yellow, compressing stations within the
   8                     Q      Okay. Under 25, D, the monthly            8 system and some type of symbol for a processing plant.
   9 volumes of lost and unaccounted for gas that resulted                9                     Q      Okay. And I can see several
  10 in reduction of volume produced from the plaintiffs'                10 compressor stations here. At those compressor
  11 wells, are there records kept of lost and unaccounted               11 stations, what is done with the byproduct? I mean,
  12 for gas?                                                            12 normally, in the compressor station, there are either
  13                     A      Yes, I mean, we recognize what the       13 water and some circumstances, as you mentioned
  14 amount of lost, unaccounted for on a monthly bases.                 14 yesterday, where there's hydrocarbons that are
  15 The Gas Measurement group knows how much gas is sold                15 accumulated. Just so I understand this, the
  16 and they know how much gas is put in the system, so                 16 compressor stations we see here in red are -- there
  17 almost by definition, we know what's lost and                       17 are no sales of any product coming off of the lines at
  18 unaccounted for.                                                    18 these compressor stations, is that correct?
  19                     Q      All right. And that's the definition     19                     A      That's correct.
  20 of lost and unaccounted for gas would be the amount                 20                     Q      The processing plant -- I was trying
  21 produced at the wellhead versus minus what is sold at               21 to find one here. Is there any processing plant on
  22 the point of sale, right?                                           22 here -- noted on here?
  23                     A      Correct.                                 23                     A      There are. There's one all by itself
  24                     Q      Okay. And E was all the monetary         24 right along the Ohio-West Virginia-Kentucky border and
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   1 then there's one straight across from that. Do you                  1 specifically identify the Marcellus wells, but what
   2 see where I'm talking about?                                        2 geographic area -- could you identify the geographic
   3                     Q      I do.                                    3 area?
   4                     A      And then there's one straight down       4                     A      Sure, if you were to run your fingers
   5 from that.                                                          5 straight down from that plant for about two inches,
   6                     Q      And is there one up in the               6 that would be a -- and then, fan that out where let's
   7 northeastern -- almost to -- it looks like it's close               7 say an inch -- a half an inch on each side there,
   8 to Maryland there probably or Pennsylvania?                         8 you'd kind of get a sense for how that's fed up into
   9                     A      Yeah, there is, I can't really read      9 the -- to the --
  10 the name of that processing plant.                                 10                     MR. MASTERS:      Find me a highlighter
  11                     Q      And so we're clear again, would any     11 please.
  12 of these processing plants be plants that would be                 12                     MR. PERRY: Do you want the bigger copy of
  13 taking byproduct off of the gas and natural gas and so             13 those? We had those blown up.
  14 on?                                                                14                     MR. MASTERS: Where are they?
  15                     A      I'll need to check operationally to     15                     MR. PERRY: Upstairs on a cart.
  16 see. All of these -- most of these processing plants               16                     MR. MASTERS: Well, we'll do this now and
  17 that you see don't seem to really be in areas that                 17 we'll get it later.
  18 have a lot of EQT Production. I don't know whether                 18                     BY MR. MASTERS:
  19 EQT gas goes to those plants or not.                               19                     Q      But can you just sort of put a
  20                     Q      Let me show you Exhibit 5, and I've     20 highlight on that one?
  21 marked on it as 5. It will be 5. And 5 is the -                    21                     A      I think it's -- that's my
  22 well, it's a repeat in some respects, but it shows                 22 recollection. We may have actually given you a
  23 also the northern part of the state, correct?                      23 different map that shows that a little more clearly,
  24                     A      Yes, and let me take a minute and get   24 but that's approximately how it drains.
      Page 214                                                              Page 216
   1 my reading glasses if that's all right.                             1                     Q      When you say it drains like this,
   2                     Q      Yeah. I could use some myself.           2 could that be -- for example, the wells, if there are
   3                     A All right.                                    3 Marcellus in this area here, would that drain into
   4                     Q      All right. You've identified -- I        4 that and go to the plant?
   5 mean, I don't think you identified all the processing               5                     A      Right. If you look at the gathering
   6 plants on the Exhibit 4, but I was wondering if you                 6 agreements between EQT Energy and EQT Production,
   7 could show me the Hastings plant that we talked about               7 there's several that -- there's a Mercury, there's a
   8 yesterday with respect to MarkWest.                                 8 Saturn, there might be a Pluto, I can't remember them
   9                     A      The Logansport?                          9 all, but all of those are gathering agreements that
  10                     Q      Right.                                  10 support that line that runs up into Mobley.
  11                     A      Yes, if you look at the corner of       11                     MR. WEST: And you said EQT Production, did
  12 Pennsylvania and go down about half an inch, maybe                 12 you mean EQT Gathering and EQT Energy?
  13 three-quarters of an inch, you'll see that plant.                  13                     THE WITNESS: Yes, sorry. Although EQT
  14                     Q      Okay. And do you know -- now having     14 Production is a party to those contracts.
  15 the map in front of you, can you identify for me the               15                     BY MR. MASTERS:
  16 wells that would be feeding into that processing                   16                     Q      Yeah, okay. I'm going to leave this
  17 plant?                                                             17 out here and why don't we mark that as the next
  18                     A      Well, I think the -- it's not very      18 exhibit if that's okay.
  19 clear here because you don't see the transmission                  19                            And on a break, I'll bring down the
  20 lines very clearly on here, but the Mobley plant is                20 big map and let you look at that as well. It might be
  21 going to be fed by a line that goes to Marcellus                   21 a little bit easier for you to see.
  22 wells, and you can't tell from this diagram which are              22                            (WHEREUPON, maps were marked for
  23 Marcellus wells and which are not.                                 23                            purposes of identification as
  24                     Q      Well, I'm not asking you to             24                            Deposition Exhibit No. 48 and 48-A
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   1                            a copy of which is attached              1 you the system that it's on or -- and for who, for
   2                            hereto.)                                 2 which company. This is information out of one of the
   3                            (WHEREUPON, an off the record            3 databases that EQT Energy has and it's pulling out
   4                     discussion was taken, after which               4 information that's related to these transactions that
   5                     the following proceedings were had.)            5 EPC is being paid for.
   6                            (WHEREUPON, a document was marked        6                     Q       So this would be wire transfers to --
   7                            for purposes of identification as        7                     A       Yeah, this is a wire transfer between
   8                            Deposition Exhibit No. 7-A, a copy       8 EQT Energy and EQT Production. This looks to me it
   9                            of which is attached hereto.)            9 would be just the first page of multiple pages for a
  10                     BY MR. MASTERS:                                10 wire transfer. And what this is -- what this is
  11                     Q      I want to show you what's been marked   11 showing you is all the gas meters that are bringing
  12 as Exhibit 7-A and ask you if you can identify that?               12 EQT Production's gas into the first liquid trading
  13                     A      Yes, it looks like a copy of a          13 point where EQT Energy is going to pay for that gas
  14 spreadsheet. It looks like it may be a copy of a wire              14 and the volume of gas by meter.
  15 transfer filed, but I can't be sure by just looking at             15                        So just continuing on across that, it's
  16 it. Oh, I'm sorry, it says wire transfer. Yes, it                  16 showing you which pipeline the gas is being delivered
  17 is, it is, I'm sorry.                                              17 to, which helps set the price for that gas. The deal
  18                     Q      Have you seen this database showing     18 number identifies the specific transaction that the
  19 the wire transfers?                                                19 gas is being moved under. And then volumes, I believe
  20                     A      Well, it's on that spreadsheet, but     20 that's to be the dekatherms that are being sold and
  21 yes, I've seen various months spreadsheets.                        21 the price.
  22                     Q      Can you explain going across this,      22                     Q       Let me stop you there at the price.
  23 can you explain the identity of one column is                      23 I mean, which price -- what price is that shown there?
  24 commercial production year, month, type, meter and so              24 Like the $2.24.
      Page 218                                                              Page 220
   1 forth.                                                              1                     A      Yeah, that's going to be either an
   2                     A      Yes. Commercial, that 226 code is a      2 index price or a for sale contract price.
   3 general ledger code on a company's set of books as is               3                     Q      If you go on across, then it's got
   4 217, which is the Production company's ledger code.                 4 commodity and what does that stand for?
   5 The year is clearly self-identifiable and the month                 5                     A      Yeah, that is -- one second here to
   6 is. The type of meter is in this case a virtual                     6 view the map on that. That is -- I believe that to be
   7 meter. That's one of the types of meters that's at a                7 -- I can't remember off the top of my head. I'll have
   8 sales location.                                                     8 to review that. I just don't remember.
   9                     Q      What does it mean, virtual meter?        9                     Q      Okay. If you go on across then, it's
  10                     A      I don't have any knowledge of the       10 got fuel and in this particular top one, it's just a
  11 significance to the word virtual. I just think it                  11 dash, nothing in there, but if you come on down to --
  12 means that it's a particular type of meter that's on               12 if you come on down to EQT Gathering-EPC-EFS EXT,
  13 sales meter or at a sales location.                                13 first of all can you tell me what that stands for?
  14                     Q      Okay, then it's got a --                14                     A      Where are you seeing this?
  15                     A      A meter number.                         15                     Q      If you come down to see this line
  16                     Q      -- a meter number.                      16 right here, the blue line, the next one down in these
  17                     A      Right.                                  17 two columns, it's got EQT GATH-EPC-EFS EXT. What is
  18                     Q      And then we've got -- well, it's sort   18 that?
  19 of odd, it's got the type and it's got a virtual meter             19                     A      Yeah, again, these are just
  20 and then it's got a meter number, and then it's got a              20 identification of the location of a meter that that
  21 virtual meter and, it's got EGC-EQT Production at the              21 gas is being delivered either to or from.
  22 first line and you go on down, it's got EQT Gathering,             22                     Q      If you follow all across there, it's
  23 EPC DFS EXT.                                                       23 got a negative for fuel.
  24                     A      Yeah, I believe that's indicating to    24                     A      Right.
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      Sheet 56       Page 221                                               Page 223
   1                     Q      And do you have any idea why there       1 these deduction rates are. These are going to be
   2 would be a negative or deduct or deficit, debit or                  2 related to various tariffs that are FERC-regulated or
   3 whatever you want to call it for fuel?                              3 -- yeah, FERC-regulated.
   4                     A      Well, yeah, I think EQT or Equitrans     4                     Q       Okay. So what would you have to do
   5 Gathering system is a FERC-regulated pipeline and in                5 in order to be able to -- what would you have to do
   6 addition to -- there are certain deductions that are                6 yourself in order to be able to read this and
   7 taken based on their tariff. And you'll see, as you                 7 understand?
   8 look across this sheet, some of that in other places                8                     A       Well, I'd like to have the whole
   9 also.                                                               9 month's document --
  10                     Q      When you go across, it's got a debit    10                     Q       When you say the whole month, you're
  11 for $430.59 gathering.                                             11 talking about all of the --
  12                     A      Right. Again, these are deductions      12                     A       Well, you give me -- yeah, you give
  13 based on the FERC tariff on what this gathering system             13 me page one and I just want to see how it --
  14 is or is supposed to charge.                                       14                     Q       Well, this isn't -- these are our
  15                     Q      Then it's got the commodity rate,       15 page numbers. It goes across like this.
  16 $3.24, what does that stand for?                                   16                     A       Right, but this file is maybe a
  17                     A      $3.24. For which line are you           17 thousand lines long, right, that's why you see all
  18 looking at, the one right below the blue line?                     18 these columns are showing you what pricing in the gas
  19                     Q      It's got -- the very last line with     19 is and any deductions required to get to that net
  20 any -- the very last column that has --                            20 proceeds number that is being passed back to EQT
  21                     A      Yeah, that -- I don't know and it       21 Production.
  22 doesn't seem to go anywhere off of this sheet.                     22                             So if you look at the very bottom of
  23                     Q      Well, this is a set and it keeps on     23 that spread sheet and you'll see you have two
  24 going.                                                             24 different varieties. One that's maybe four or five
      Page 222                                                              Page 224
   1                      A     Right.                                   1 thousand lines long, but doesn't have as many columns,
   2                      Q     Those are -- if you line these up, it    2 and then you have this variety, which is much shorter
   3 just keeps on going four sheets out.                                3 but has all of these columns that are pushing that --
   4                      A     Right, but I can't see the totals on     4 all that information back into a line that shows up at
   5 that at the bottom of the page and I don't see any                  5 the bottom of the -- let's say that thousand lines,
   6 math related to that. So it looks to me -- if we                    6 which is the amount of money that is being passed onto
   7 could get a calculator here and check, but it looks to              7 EQT Production.
   8 me -- if you look at this that price that's used is --              8                     Q      From my reading of Exhibit 7, which I
   9 if you'll look at the great commodity column and you                9 obviously have to rely on someone else to define it
  10 multiply that times the volumes, you get that                      10 specifically, there are identified deals, which I'm
  11 commodity cost. And if you multiply or if you deduct               11 assuming is a sale.
  12 the 3.29, it looks to me like that brings you back to              12                     A      Well, it's a sale or it's a delivery
  13 the net price of the gas.                                          13 -- first delivery to a interstate pipeline.
  14                            So in the case of an Equitrans, which   14                     Q      Okay. And which shows a volume, a
  15 is the first one below the blue line, what's showing               15 price, a value, a commodity price, a gathering -- a
  16 is a 199 proceeds from the sale of the gas, net of                 16 fuel charge if there is any, a gathering charge if
  17 those FERC-related charges that are required to be                 17 there is any --
  18 taken. But again, I can't do that without looking at               18                     A      Right.
  19 a calculator and looking to the bottom of that sheet.              19                     Q      -- and then a rate, which is -- and
  20                      Q     I mean, are you familiar with this      20 what I hear you saying is that as we -- as you --
  21 particular database?                                               21 right now you can't tell me what those particular
  22                      A     I have seen these spreadsheets, I've    22 things are, right?
  23 seen the totals. I'm familiar with it. I'm not going               23                     A      That's right.
  24 to be able to tell you what each and every one of                  24                     MR. MASTERS:      Okay. Why don't we take a
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      Sheet 57       Page 225                                              Page 227
   1 break.                                                             1                     Q      How would I know or understand that?
   2                            (WHEREUPON, a recess was                2                     A      Well, I need to go back to Revenue
   3                            taken, after which the following        3 Accounting and look at that specific transaction to
   4                            proceedings were had.)                  4 see how and why there were taxes deducted from that.
   5                     BY MR. MASTERS:                                5                            As I said before, you don't see a lot
   6                     Q      In the answer to I think it's           6 of tax deductions on there. I'm not sure whether
   7 Interrogatory Number 4, EQT Production stated that the             7 those are property taxes or severance taxes and why
   8 information provided on the statements were for                    8 those taxes are being deducted.
   9 information only and don't reflect charges taken or                9                     Q      Let me ask a question this way with
  10 deducted from the sales price at the wellhead. Can                10 respect to the taxes. Does EQT charge the royalty
  11 you explain that for me?                                          11 owners for property taxes?
  12                     A      Give me a second to find that.         12                     A      I don't think so, not as a general
  13                     Q      Sure.                                  13 rule.
  14                     A      I think this --                        14                     Q      Does EQT charge any type of tax to
  15                     MR. WEST: Were you referring to some          15 the royalty owner?
  16 interrogatory answers, Marvin?                                    16                     MR. WEST: And you're talking about West
  17                     MR. MASTERS: Number 4.                        17 Virginia?
  18                     MR. WEST: This looks to be a Notice to        18                     BY MR. MASTERS:
  19 Deposition.                                                       19                     Q      In West Virginia and state severance
  20                     MR. MASTERS: No, I didn't mean to hand that   20 taxes, EQT can only charge the royalty owner severance
  21 to him.                                                           21 tax in West Virginia.
  22                     MR. WEST: Okay.                               22                     A      Well, it would depend -- it has to
  23                     THE WITNESS: Could you repeat the question?   23 depend on the individual lease. Generally not.
  24                     BY MR. MASTERS:                               24                     Q      Okay. And can you tell me today
      Page 226                                                             Page 228
   1                     Q      Well, let me just say it this way,      1 what kind of a lease or what provisions in a lease
   2 and rather than repeat something and ask you to -- I'm             2 would permit, to your understanding, EQT to charge a
   3 not asking you to verify that then. So my question                 3 lessor a severance tax?
   4 is, for example, where are those exhibit numbers, 25               4                     A      Yeah, I think it would have to have
   5 through 29?                                                        5 some language about severance taxes in there.
   6                     A      The remittance devices?                 6                     Q      In the lease?
   7                     Q      Right.                                  7                     A      Yes, that would be my understanding.
   8                     A      Yes. Okay.                              8                     Q      And the same with respect to property
   9                     Q      If you look at 25 is good enough        9 tax?
  10 -- Exhibit 25, the Leggett statement. My question is              10                     A      Property tax as a deduction for a
  11 the information up here that shows the deductions, my             11 cost of the well?
  12 understanding was that those were -- whatever was on              12                     Q      Right.
  13 here as the deductions were actually deductions taken             13                     A      Yeah.
  14 from the lessor's royalty, correct?                               14                     Q      Yeah, what? I meant --
  15                     A      Right.                                 15                     A      Yeah, I think there would be some
  16                     Q      Okay. I mean, I was somewhat           16 specific --
  17 confused by an answer that was in one of the                      17                     Q      Requires some language specific for
  18 responses. I'm just trying to make sure that I was                18 that lease?
  19 correct about that.                                               19                     A      That's my understanding.
  20                            While we're looking at that, on        20                     Q      The way you said that makes me think
  21 Exhibit 25 where it says gross taxes, under taxes, can            21 that perhaps property tax could be incorporated into
  22 you identify and explain to me what type of tax that              22 certain things. We went over yesterday, the gathering
  23 is referring to?                                                  23 rates --
  24                     A      No.                                    24                     A      Yes.
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      Sheet 58       Page 229                                               Page 231
   1                      Q     -- and in that, a property tax for       1                     A      I don't know if that's fair or not.
   2 those properties was incorporated into the gathering                2 These are vehicles that are used in the operation of
   3 rate, correct?                                                      3 the Weston gathering organizations. Specific vehicles
   4                      A     That's my recollection. I think          4 and the specific guys that are driving those around, I
   5 there was actually a line item for that.                            5 have no idea who they are or I've probably met some of
   6                      Q     I have those out here, let me see if     6 them.
   7 I can get them out. Yeah.                                           7                            Just like any other operation, field
   8                      A     Here's one, 24.                          8 operation, people go in the field and they do work in
   9                      Q     Yes, 24. And let me make sure we're      9 the field. They are going to carry things to
  10 on the same page here.                                             10 compressing stations. They are going to move things
  11                      A     The one I have opened is Weston 2010,   11 around, all of the things that an operation such as
  12 O & M expense detail.                                              12 that would entail.
  13                      Q     Okay. All right, and there is an        13                     Q      Okay. But there would be a back-up -
  14 item for property taxes in that list of expense                    14 -
  15 detail, correct?                                                   15                     A      Yes.
  16                      A     Yes.                                    16                     Q      -- to each one of these expense
  17                      Q     While we're on that, let me just go     17 details, correct?
  18 through these. If you look at the top there, it's got              18                     A      Yes.
  19 personnel costs, $1,213,893, correct?                              19                     Q      And like the O & M compression, would
  20                      A     Right.                                  20 you know whether that's direct charges to EQT by a
  21                      Q     And can you tell me what -- when it     21 third party or whether some of that's included in
  22 says personnel costs, is that employees of EQT that                22 there would be EQT's own compression charges; their
  23 that's referring to?                                               23 own equipment, their own employees?
  24                      A     Yes.                                    24                     A      Well, more specific questions on this
      Page 230                                                              Page 232
   1                     Q      And vehicles, is that $109,218 for       1 are things that Joe Piccirilli would have or should
   2 vehicles, that would be EQT vehicles?                               2 have testified to, but this is not the cost of outside
   3                     A      Right, operation of those vehicles.      3 compression. This is EQT Gathering compression. And
   4                     Q      And then the District Office of          4 you know, we talked about that a little earlier.
   5 $20,018, that would be for what?                                    5                            This gas is collected in the field.
   6                     A      There is an office location in           6 It's sent to a compressing station, but typically, the
   7 Weston.                                                             7 pressuring of the line is increased so that it can be
   8                     Q      And do you know what items or            8 moved further down the line.
   9 categories would be fitted into the $20,000 for the                 9                            You indicated that some liquids and
  10 district office?                                                   10 some oil and gas fall out of that. That's usually --
  11                     A      Well, I think that is the cost of       11 that's not saleable -- product that is waste materials
  12 operating that office. I think there will be some                  12 that is disposed of, but those kind of costs are the
  13 detail behind that.                                                13 costs that are in there.
  14                     Q      And I thought you said the vehicles     14                            They are not taking the gas of
  15 would be for the operation of the vehicles. What kind              15 somebody else's compressing station and moving it
  16 of vehicles would be involved?                                     16 through that. That's not what those costs are.
  17                     A      My assumption is your trucks or         17                     Q      Okay. Do you know what the
  18 vehicles that they use to go out to all of the                     18 environmental safety category is?
  19 gathering lines or do whatever work they're doing in               19                     A      Well, again, these compressing
  20 the field.                                                         20 stations, the whole operation involves gas and oil
  21                     Q      Okay. Is it fair to say that you        21 byproducts. When these things are spilled on the
  22 don't really know exactly what vehicles they're                    22 ground, they need to be cleaned up. There's training
  23 talking about or what the charges are for the                      23 on how to do that. There's cleanup -- that kind of
  24 vehicles?                                                          24 thing.
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      Sheet 59       Page 233                                               Page 235
   1                     Q      Insurance, what would be the             1 of valves and the pressures.
   2 insurance?                                                          2                     Q      Okay. And the next page is summary
   3                     A      Protection of -- for --                  3 and it says, "costs of service O & M," total about 15
   4                     Q      Liability insurance probably?            4 and a half million dollars and then SG &A of 7.25
   5                     A      Yeah.                                    5 approximately million and then taxes other than income
   6                     Q      Pipeline and gas control, what would     6 taxes of -- I think we've gone through O & M in a
   7 that be?                                                            7 general way, correct?
   8                     A      Yeah, I don't know specifically.         8                     A      Yes.
   9 Obviously, there are valves on these pipelines that                 9                     Q      Now explain what SG&A is.
  10 this gas is moving through. I can't tell you whether               10                     A      Well, SG&A stands for Selling General
  11 that is related to those costs or whether it's the                 11 and Administrative costs, the fact that indicates that
  12 actual setting up of readers and automatic controls                12 it's allocated and then again, this is something that
  13 for the SCADA system, but basically the gas -- pipes               13 Joe probably should have talked to you in more detail
  14 are open -- or valves or open and closed along the                 14 about, but basically, these are people outside of that
  15 gathering system to move the gas in different                      15 local office that are having their costs allocated
  16 directions and to take care of line slips and that                 16 down to that operation.
  17 type of thing.                                                     17                     Q      Is it fair to say that in terms of
  18                     Q      Okay. Field measurement, would that     18 trying to determine the specifics of that, you would
  19 be meters or what would that be?                                   19 need to see the detail behind the quote SG&A term?
  20                     A      Yeah, I can't be exactly sure on        20                     A      Well, you at least need to see the
  21 that, but again, these organizations are the ones that             21 allocation and how it was allocated.
  22 take the gas from meter at the wellhead and move it to             22                     Q      But in terms of what that is, is that
  23 the first liquid trading point, and these may be                   23 like a certain amount of administrative costs for your
  24 people that are -- this may be costs involved in the               24 work on gathering or would it be the administrative
      Page 234                                                              Page 236
   1 collecting of these meters -- charts off of the meters              1 staff including maybe Mr. Piccirilli, his charges on
   2 and that type of information. The fixing of meters or               2 that and maybe some of Midstream's personnel and their
   3 testing of the meters, that type of thing.                          3 charges on gathering?
   4                     Q      Compliance and training, what would      4                     A      Well, I certainly believe that it has
   5 that deal with?                                                     5 Joe Piccirilli in those type of costs, whether it
   6                     A      These are hazardous materials moving     6 would have gone to my level or not, I can't say. I
   7 through these pipelines and people are trained what to              7 just don't have a recollection of that specificity.
   8 do for leaks and how to work on these pipelines and                 8                     Q      All right. Mr. Piccirilli -- based
   9 how to work safely and injury-free.                                 9 on the information that was provided to Mr. Piccirilli
  10                     Q      Facilities engineering.                 10 from the various districts, as I understand, he takes
  11                     A      Engineering -- again, these pipelines   11 all that information and boils it down to something
  12 have issues that -- they may need to be moved a little             12 like this, which is actually utilized in the
  13 bit or somebody will ask questions about where they                13 computation of the service costs, right?
  14 are in the field and whether they're in the right                  14                     A      Well, yeah. This is a piece of cost
  15 place and that kind of thing. You've got people that               15 of service that is charged to the Production company
  16 can handle that in the field.                                      16 that in cases where the lease language isn't specific
  17                     Q      Okay, GIS?                              17 but believes -- isn't specific on what gathering
  18                     A      Yeah, that's -- I think that is a       18 compression and dehydration type of charges should be
  19 mapping -- I can't be sure, but my recollection is                 19 charged, this is a more general deduction rate that
  20 that's what that is, is a mapping of the pipelines                 20 will be taken on those by district.
  21 system.                                                            21                     Q      Would you explain that again for me.
  22                     Q      And SCADA?                              22 I got lost somewhere in there.
  23                     A      SCADA we talked about earlier.          23                     A      Well, Joe Piccirilli's group
  24 That's a commanding controller of the pipeline system              24 calculates an overall cost of service which is the
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      Sheet 60      Page 237                                               Page 239
   1 number that's bigger than this, say 28 cents on here.              1 so I see what that is.
   2 That 28 -- that number that's bigger than the 28                   2                            Have you ever seen a document that
   3 cents, that includes some other items, is what EQT                 3 describes the SG&A?
   4 Production gets charged for gathering or any other                 4                      A     Yes, I've seen at least an actual --
   5 working interest gets charged for gathering.                       5 I've seen lists of the general ledger accounts that
   6                            EQT Production doesn't charge that      6 make up that number.
   7 entire gathering cost to the royalty owners. It                    7                      Q     And from your memory, can you go
   8 skinneys it down to this piece of that and in some                 8 through that and list for me, to the best of your
   9 cases, uses this as the rate. This would be the                    9 memory?
  10 general rate that would be used in Weston.                        10                      A     I can't. I know there's some
  11                     Q      And that would be, for example, in     11 allocation factors depending on the specific charges
  12 2011, in Weston, it would have been 28 cents per                  12 that are being allocated, but again, it's hard for me
  13 dekatherm?                                                        13 to -- I think some of them are the number of miles of
  14                     A      Right.                                 14 pipe and that kind of thing. And I just think that --
  15                     Q      But that -- I'm sure you've seen a     15 I don't recall if you asked that of Joe earlier or
  16 sheet that shows this 28 cents and what the working               16 not, but he'd be much better suited to answer that.
  17 interest in EQT Production paid, which is a bigger                17                      Q     Okay.
  18 number, and all I'm saying is this is only a piece of             18                      A     I've seen that calculation, but I
  19 that number.                                                      19 just don't retain that much specificity.
  20                     Q      Of the cost of service?                20                      Q     Let me show you Exhibit 3. If you'd
  21                     A      Right. So Joe is -- Joe Piccirilli     21 look at the last page of that exhibit, it's for
  22 is calculating that entire number and he's taking a               22 October 2014. It's one of the various little entities
  23 piece of that for you and for the production, he's                23 and one of them in there is Midstream, right? Do you
  24 saying, hey, these specific items within that are the             24 see the triangle there at Midstream?
      Page 238                                                             Page 240
   1 amount you wanted to know about and that are charged               1                     A      Yes.
   2 to many -- or at least some of the leases in West                  2                     Q      And then go left or right on the
   3 Virginia.                                                          3 dotted line, you've got EQT Midstream Services and EQT
   4                     Q      Okay. And the bigger number comes       4 Midstream Investments. As I understand it, EQT
   5 off of EQT Production's sales price?                               5 Midstream does the calculations for determining the
   6                     A      Well -- right.                          6 gathering rates and cost of service, am I correct?
   7                     Q      In other words, they --                 7                     A      Well, I think that the term EQT
   8                     A      Right. If you look at that wire         8 Midstream can be somewhat confusing. EQT Midstream
   9 transfer and you go down to the last page, you'll see              9 Partners is a limited partnership and if you see to
  10 a number for the gathering in its entirety. So what               10 the left there, you see those limited partners and
  11 happens when -- EQT Production pays the gathering fee             11 those are basically, they own a limited partnership
  12 to EQT Gathering regardless of whether that royalty               12 interest, but it gets traded like stock does on the
  13 owner pays a portion of that. And if they don't, EQT              13 Exchange and the assets below that are the ones that
  14 eats it -- EQT Production eats it.                                14 are included in EQT Midstream Partners.
  15                     Q      Okay. Now there's below in this cost   15                            But if you look up the chart, there
  16 of service it's got O & M, SG&A and it's got taxes                16 are other EQT Gathering companies above that, so
  17 other than income, which is here, $1,412,000 and it               17 sometimes when you hear the term EQT Midstream, you're
  18 says "see detail," and I don't know that I see taxes              18 really talking about a group that includes more than
  19 on here. It's a separate item, I'm not sure.                      19 those items below EQT Midstream Partners LP.
  20                            Well, I think maybe he pulled the      20                     Q      Well, which of these Midstream
  21 taxes out. Yeah, he's -- I see what he did. It's                  21 companies assists or participates in determining or
  22 taxes. Taxes are incorporated in the list and then if             22 calculating the cost of service for EQT Production's
  23 you total it up with the taxes in it, it is 16.9, and             23 cost of service as deducted from their sale price or
  24 what he's done, he's pulled the 1.41 out of the list,             24 from these sale prices?
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      Sheet 61       Page 241                                               Page 243
   1                     A      Well, I think it's a combination of      1 at that funky color on that last row.
   2 companies that incorporate assets that are in EQT                   2                     Q      Uh-huh (yes).
   3 Midstream Partners and those that are not, which would              3                     A      Equitrans, LP.
   4 be up at the EQT Gathering LLC level.                               4                     Q      Okay.
   5                            You see, there's EQT Gathering and       5                     A      And if you look up on the chart
   6 there's EQM Gathering and there's other companies that              6 there, it says, "Transmission Storage and Gathering
   7 are not down below EQT Midstream, and generally, when               7 Operating Companies".
   8 you're talking about EQT Midstream operations, you're               8                     Q      Uh-huh (yes).
   9 talking about some that are below there and some that               9                     A      And so, this is an agreement -- it's
  10 are above there.                                                   10 an operating agreement and it is, in fact, Equitrans,
  11                     Q      You mean all of them participate in     11 LP, if that's what you're asking me.
  12 it or not? I mean, I'm trying to understand who does               12                     Q      Right. But Equitrans, LP -- this
  13 that. I know EQT Midstream participates in it because              13 would be like an intercompany, an overall intercompany
  14 Mr. Piccirilli said that he -- said that while he was              14 agreement, right?
  15 paid I think by Gathering, he actually worked at                   15                     A      Well, yeah. It's a little confusing
  16 Midstream, right?                                                  16 there because EQT Midstream now is the owner of
  17                     A      For the Midstream operations. But       17 Equitrans and they're not wholly owned by EQT Corp.
  18 again, I think when you talk about EQT Production or               18                     Q      But they're partially owned?
  19 the production that shows up in the 10-K, those are                19                     A      Yeah, partially owned.
  20 business segments and I think he was talking about                 20                     Q      And the other -- EQT Corp., as I
  21 business segment EQT Midstream.                                    21 understand it, is the managing partner --
  22                            So that's a -- that is somebody that    22                     A      Okay.
  23 takes care of -- that could be below EQT Midstream                 23                     Q      -- correct?
  24 Partners or it could be at the EQT Gathering level,                24                     A      Yes, I think that's right.
      Page 242                                                              Page 244
   1 depending on which specific assets you're talking                   1                      Q     And the other individuals or
   2 about.                                                              2 companies, whatever the partners are, are --
   3                     Q      Well, it sort of all works together      3                      A     Limited.
   4 to -- I mean, all of these subsidiaries that you                    4                      Q     -- limited partners?
   5 mentioned here work together in terms of gathering                  5                      A     Yeah, they might be called the
   6 function, am I correct?                                             6 general partner as opposed to the managing partner,
   7                     A      Right. I think -- yes.                   7 but yeah, I get the idea there.
   8                     Q      Okay. Now Equitrans, is Equitrans,       8                            But I do want to say that because you
   9 is that still a company?                                            9 have shareholders that don't have exactly the same
  10                     A      Yes.                                    10 interests as the EQT shareholders that, therefore,
  11                     Q      But is owned or it was merged into      11 that's a higher standard than you may see it in their
  12 EQT?                                                               12 company transaction.
  13                     A      Well, Equitrans, I believe that's       13                            Typically, all of these companies are
  14 down below EQT Midstream Partners.                                 14 aligned anyway and all work in the best interest of
  15                     Q      Well, for example, there's an EQT and   15 both the overall operation and because of that,
  16 there's a Equitrans agreement -- all right, let me                 16 everyone benefits, but you can't have a situation that
  17 show you this.                                                     17 Equitrans, LP was favoring an EQT corporation and its
  18                            This is 12, Exhibit 12-B of Mr.         18 shareholders over a EQM Limited Partner.
  19 Piccirilli's deposition. I'm handing you Exhibit 12-B              19                      Q     Yeah, I'm not suggesting that. I'm
  20 which is an AGS service agreement applicable to the                20 just trying to understand. There's some agreements in
  21 Appalachian Gathering Service, and it says, "This                  21 there withe Equitrans. For one thing, Equitrans was
  22 agreement is entered into this 27th day of September               22 purchased, I think, originally according to the
  23 2012 between Equitrans, LP and EQT Energy, LLC."                   23 chart, it was purchased by -- it was not an -- let me
  24                     A      An agreement like this -- if you look   24 start over.
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      Sheet 62       Page 245                                                Page 247
   1                            It was not originally purchased by        1                     A      Actually, it's probably likely. I
   2 Midstream. It was originally purchased by EQT and                    2 was looking for -- here's Saturn, that's a gathering
   3 then later was put into Midstream, LP, Limited                       3 for -- so clearly it's coming over that way.
   4 Partnership, right?                                                  4                     Q      Okay.
   5                     A      Well, purchase is too strong of a         5                     MR. MASTERS: Can we get a copy -- rather
   6 word. It was part of EQT and was spun down as a FERC-                6 than try to get this great big map with the
   7 regulated pipeline.                                                  7 definitions, can we just like get a color copy of the
   8                     Q      Yeah, and it was like a 97 and half       8 highlighted area?
   9 percent owned by EQT Corp in December of '11 according               9                     MR. PERRY: Sure.
  10 to this, and then it was put in under EQT Midstream,                10                     MR. MASTERS: Pass that down. I think we'll
  11 and if I remember, that was a contribution that EQT                 11 take a lunch break and try to finish this up real
  12 Corp made to that limited partnership, right?                       12 quick.
  13                     A      Okay, that's possible, yes.              13                     THE WITNESS: Okay.
  14                     Q      I have you a bigger map. You may         14                                  (WHEREUPON, a recess was
  15 still need your glasses.                                            15                            taken, after which the following
  16                     MR. WEST: I'm going to move, but not drink      16                            proceedings were had.)
  17 your water.                                                         17                     MR. MASTERS: All right, are you ready?
  18                     THE WITNESS: Thank you.                         18                            (WHEREUPON, a document was
  19                     BY MR. MASTERS:                                 19                     marked for purposes of identification
  20                     Q      And this, if the exhibit number is       20                     as Deposition Exhibit No. 48-A, a copy
  21 right, so --                                                        21                     of which is attached hereto and made
  22                            (WHEREUPON, an off the record            22                     a part hereof.)
  23                     discussion was taken.)                          23                     BY MR. MASTERS:
  24                     BY MR. MASTERS:                                 24                     Q Okay, let me show you Exhibit 48-A.
      Page 246                                                               Page 248
   1                     Q       We're looking at a larger copy of        1 This is a copy of the large map that we showed you a
   2 Exhibit Number 48, correct?                                          2 little bit ago, which, the blow-up actually at 48, and
   3                     A       Yes.                                     3 on that large map, we had asked you to sort of
   4                     Q       And again, if you take the               4 demonstrate the area in a rough way, but highlight the
   5 highlighter and if you would, you can show the --                    5 area that would be fed into the Mobley MarkWest plant,
   6 first of all, why don't you circle the MarkWest plant                6 correct?
   7 and then, if you would, show the transmission lines                  7                     A       Yes.
   8 that go to it.                                                       8                     Q       And is that a fair copy, a reasonably
   9                     A       Well, I don't see --                     9 fair copy of what you drew?
  10                     Q       Yeah, I know it's very general, but -   10                     A       Yes.
  11 -                                                                   11                     Q       Also, I had asked you about Exhibit
  12                     A       Yeah, I think really that's the main    12 7; I'm going to give you a copy of that back because I
  13 line that goes into it.                                             13 don't think we -- you don't still have your copy of
  14                     Q       Okay, and then what areas would feed    14 this, do you?
  15 into that then? Is there anyway, for example, I'm                   15                     MR. WEST: No, not here.
  16 going over here, but would these wells over in here,                16                     BY MR. MASTERS:
  17 assuming there was a Marcellus one in this area here                17                     Q       Okay, let me go ahead and hand that
  18 at -- I can't read it upside down --                                18 to you as well. And the reason I'm showing you
  19                     A       Aubum.                                  19 Exhibit 7 is because you indicated that at the end of
  20                     Q       The Aubum station, would that --        20 this, as you guess was a very large database, there
  21                     A       No, maybe it is Album. Yeah, I --       21 were some totals here, and so I had marked and copied
  22 we'd need the map that shows a little bit more                      22 that last page, the last couple pages and we marked
  23 specificity, but that's possible.                                   23 that Exhibit 7-A. Do you see that?
  24                     Q       Okay.                                   24                     A       Yes.
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      Sheet 63       Page 249                                                Page 251
   1                      Q      Does this look familiar to you?          1                     A      Most of them, yes.
   2                      A      It looks like the bottom portion of      2                     Q      Can you tell me about any of them?
   3 at least some of the columns of the wired transfer,                  3                     A      Well, I can tell you what November
   4 spreadsheet No. 7, I'm assuming it is at the end of                  4 Gathering estimate is and October estimate then actual
   5 that same month.                                                     5 is.
   6                      Q      Well, what I want to direct your         6                     Q      Okay, well, let's take the November
   7 attention to at the top of the first page and you                    7 Gathering Est-Equity is.
   8 know, I don't have all the other stuff that comes with               8                     A      Yeah, that's the charge, as I
   9 it, but November and then it's got accounts 226 and                  9 mentioned to you earlier, that EQT Energy is charging
  10 217, which I think you indicated don't give which was               10 back for the cost that they have to pay to Gathering
  11 which. One would be Energy and the other would be                   11 for the gathering of the Production company's gas.
  12 Production, Gathering or --                                         12                     Q      Okay. So I take it that would come
  13                      A      Yes, 217 is Production, 226 is          13 off of the $121 million --
  14 probably EQT Energy.                                                14                     A      Right.
  15                      Q      So then it shows a volume of            15                     Q      -- plus, right?
  16 40,938,970, price 2.97, value 121 million-plus                      16                     A      Right.
  17 dollars, correct?                                                   17                     Q      And then the next is October
  18                      A      Yes.                                    18 Gathering estimate equity and it's 30,787,000-plus
  19                      Q      And then it's got underneath it, True   19 dollars.
  20 ups and then it's got $237,911 and price 2.07 and                   20                     A      Yes.
  21 value $492,308. Can you tell me what that true up is?               21                     Q      And what is that?
  22                      A      Yeah, I'm going to -- those are         22                     A      Well, the books of EQT -- excuse me
  23 adjustments for probably other periods involved for                 23 -- Production are closed on estimates for the month,
  24 adjustments that were made to reconcile the volumes to              24 and then the process is that the production is
      Page 250                                                               Page 252
   1 the meters -- to metering.                                           1 actualized over a two-month period as the royalty
   2                     Q      Okay.                                     2 statements are prepared and everything is finished
   3                     A      I'm sure there's backup somewhere for     3 off, and then the estimates are adjusted for the
   4 that.                                                                4 actual final numbers for that month. That's why
   5                     Q      Then there's what's called                5 there's a lot of true ups and adjustments in various
   6 adjustments. And starting off with BSP-TCO Reclass                   6 items over a period as they clear the estimates out
   7 (November).                                                          7 and get to the actual billed numbers and collective
   8                     A      Right.                                    8 numbers.
   9                     Q      What is that -- and it's got a dollar     9                     Q      Well, I notice the October Gathering
  10 amount attached to that as $28,289.71, do you see                   10 Est Equity is both positive and negative and debit,
  11 that?                                                               11 correct?
  12                     A      Yes, for the most part, these are        12                     A      Yes.
  13 going to be one off type of items. Sometimes they can               13                     Q      And inasmuch as this for the month of
  14 be recurring items, but a lot of times they are one                 14 November, can you explain why -- well, is your
  15 off, so I can't tell you specifically what BSP-TCO                  15 explanation that this is like a two-month period of
  16 Reclass is.                                                         16 true ups, it works about two months behind? I'm not
  17                     Q      Okay. Then you go down to the third      17 sure I understand.
  18 line and it's got Equitrans TCO Reclass 133,000-plus                18                     A      Well, this -- what I was saying is
  19 dollars and then Equitrans TETCO Reclass of 499,000-                19 that the closing of the books for EQT Production and
  20 plus a debit, correct?                                              20 actually for EQT Corporation, the sales of gas for
  21                     A      Right.                                   21 Production are done based on an estimate, and that
  22                     Q      And is it correct to say that you        22 estimate, it actually takes two months until the
  23 don't know the details of why these debits and credits              23 royalty statements are prepared and sent out.
  24 are taking place on this sheet of paper?                            24                            So you'll see a different production
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      Sheet 64       Page 253                                               Page 255
   1 date than the remittance advise state. And this is                  1 carried all the way to the bottom of this sheet and is
   2 just the reversing of the previous month's estimate                 2 the cash that moves between EQT Energy and EQT
   3 and the correction of it. You can see the numbers are               3 Production.
   4 not very far off.                                                   4                      Q     Okay. But the total here on 7-A,
   5                     Q      Like $20. No, about 3,000 and --         5 these different adjustments, that would be -- would
   6                     A      But I think you'll see that in each      6 that be related to the totals, positives or negatives
   7 and every --                                                        7 on the -- for example, Equitrans Gathering?
   8                     Q      Every one of these, each and every       8                      A     Probably not. As I said, I think
   9 month?                                                              9 these are specific adjustments, but I don't see a
  10                     A      Or at least any that the volumes were   10 volume number and they're not related to a meter, and
  11 adjusted. And --                                                   11 the information from this report is going to be
  12                     Q      Go ahead, I'm sorry.                    12 synthesized by meter so that it can be fed into
  13                     A      Well, I was just going to say,          13 Enertia so that it can blend those prices back to the
  14 incidentally, once you show the rest of this at the                14 royalty owner.
  15 bottom of this report, you can see how those columns               15                      Q     Okay. There is, as an example, on
  16 work, is that -- and you had asked me about the                    16 the bottom of this larger column here, it says,
  17 commodity previously.                                              17 October Gathering True Up Third Party and it's got a
  18                            If you'll look at how that lays out     18 negative $85,920 there, and that is -- for that
  19 there, that is the -- let's call it the gross price of             19 particular one, it says Antrim -- A-n-t-r-i-m. Do you
  20 a dekatherm of gas, and then there's certain                       20 know what Antrim is?
  21 deductions that are reductions of that that are taken              21                      A     I'm assuming they're a third party
  22 as a matter of tariff to get to that net rate that                 22 gatherer.
  23 shows up in the columns that you can see come down to              23                      Q     And then October Gathering True Up
  24 the very bottom of that report, if you understand what             24 Third Party, there's another debit of 149 some odd
      Page 254                                                              Page 256
   1 I'm saying.                                                         1 thousand dollars.
   2                            All of the rest of those columns from    2                      A     Right.
   3 Value over are going to now collapse into that one                  3                      Q     And then there's a MarkWest volume
   4 column, and that gives you the total of the cash to                 4 TCO, volume 270,000 negative, debit and then a value
   5 move around the system.                                             5 of 874,800, correct?
   6                            Do you see what I'm saying? If you       6                      A     Right.
   7 take your sheet and you line it up like this, all of                7                      Q     Do you know how those numbers are --
   8 the rest of the columns from here on over, if you were              8 where those numbers come from, what they represent?
   9 to actually see that spreadsheet, I think you'll find               9                      A     Yeah, that MarkWest volume is that
  10 that the math of those are -- that they all collapse               10 Energy number that Energy is paying to the Production
  11 down into this pricing, which it drops down to the                 11 company for the shrinkage of gas.
  12 bottom of the sheet.                                               12                      Q     Would you say that one more time? I
  13                      Q     Okay. In other words, Equitrans         13 mean, you say paying MarkWest or giving them credits
  14 would be a positive number, but it could have been,                14 for --
  15 for example, been a negative number? Is that what                  15                      A     This is the volumes of gas that are
  16 you're saying, if you added up all of Equitrans --                 16 lost in the processing of the natural gas into
  17                      A     No, I'm saying if you take this first   17 liquids.
  18 column and if you look at this very first -- I'm                   18                      Q     Okay, so then that amount would be
  19 sorry, the second row, I think if you take that 1,065              19 debited from the amount that Production pays, right?
  20 minus the 329 that will give you the -- unless there's             20                      A     Well, I almost have to see the
  21 something in another column, that will give you the                21 digital version than this because you'll see there's
  22 736.96. That divided against the volumes gives you                 22 some in and outs at the bottom of this sheet that this
  23 that price of 224.                                                 23 is just supplying additional information.
  24                            That 736.96 is something that's         24                            If you look at 874,8 -- it's in and
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      Sheet 65      Page 257                                               Page 259
   1 out there. And then there's some adjustments for                   1                     Q      Like, can you give me an example of
   2 other volumes, and I think that -- my recollection is              2 something that would be used on two different
   3 that all zeroes out so that -- some of that zeroes out             3 companies, two different subsidiaries.
   4 so that they can have information down in that lower               4                     A      Let's say that the purchasing
   5 section that provide -- and again, I'd have to see the             5 department can buy all the Pic Pencils at a cheaper
   6 actual digital version to work my way through it                   6 rate by buying more pencils. And one of the pencils
   7 again. But that's what it's related to.                            7 goes to the Production company and one of the pencils
   8                     Q      Well, I -- we may be able to arrange    8 goes to the EQT Energy, and each of those pencils is
   9 for that actually. I'd like to understand this                     9 $5, EQT Corporation will credit cash for $10, that's
  10 better.                                                           10 to pay the bill, and it will debit accounts receivable
  11                     A      I think -- Isn't there another         11 $5 for EQT Pipeline and it will debit $5 for EQT
  12 witness that is going to testify to wire transfers?               12 Energy, and when it debits those two accounts on the
  13                     MR. WEST: That's one of the things that Ms.   13 ledgers of EQT Production and EQT Energy, it will
  14 Smith will be talking about.                                      14 credit accounts payable for $5 on each of those
  15                     MR. MASTERS: She'd have to testify about      15 companies.
  16 this?                                                             16                     Q      I see, okay. So then under liquids,
  17                     MR. WEST: Yes, she could talk about wire      17 as you mentioned 874,000 shows up there again, right?
  18 transfers also.                                                   18                     A      Right.
  19                     THE WITNESS: I thought she was. I'm happy     19                     Q      And then it's got an October estimate
  20 to --                                                             20 and October actuals and what is October estimate of?
  21                     MR. MASTERS: Yeah, I thought this was your    21 What is this estimate it is talking about here?
  22 area.                                                             22                     A      I'm not sure.
  23                     MR. WEST: Well, we said that he could         23                     Q      Okay. Does MarkWest have a facility
  24 -- he's familiar with it and obviously, he's speaking             24 at Saturn?
      Page 258                                                             Page 260
   1 to it, but she will also be available to talk about                1                      A      I think that Saturn is just a
   2 it, so ...                                                         2 gathering system and a compressing station that moves
   3                     MR. MASTERS: Well, let me -- I mean, I've      3 gas up to the Mobley plant. I don't think at this
   4 been passed along and it's -- I mean, there's a lot of             4 point there is a processing facility there.
   5 information and let me see what I can -- let's see                 5                      Q      I take it some of these where there's
   6 what I can understand in this since we're on it.                   6 a debit that would be charged back to -- would this be
   7                     BY MR. MASTERS:                                7 back to EQT Energy's account?
   8                     Q      There's a schedule of adjustments,      8                      A      Well, the positives on here are cash
   9 which we just went over.                                           9 that's leaving EQT Energy and going to EQT Production.
  10                     A      Right.                                 10 The negatives on here are reductions in the cash
  11                     Q      And one of them is the MarkWest        11 necessary to true up the accounts between the two
  12 volume. Then if you go down to below that there is an             12 companies.
  13 "auto inter" something.                                           13                      Q      Between Energy and Production?
  14                     A      Yes.                                   14                      A      Right.
  15                     Q      What is that?                          15                      Q      Now under the liquids column where it
  16                     A      That is because these -- all of the    16 has October estimate, do you know what the October
  17 various company's ledgers are on the same system, some            17 estimate is? Was that -- is that an estimate of the
  18 charges can be automatically billed to another                    18 amount of money that MarkWest would be required to pay
  19 company, so for instance, if EQT Corporation buys                 19 to Energy or to Production?
  20 something that half of it is for EQT Production and               20                      A      Well, MarkWest doesn't pay Production
  21 half of it's for EQT Energy and none of it's for EQT              21 anything, so it's not that.
  22 Resources, when it pays that bill, it can                         22                      Q      Do you know what it is? I thought
  23 automatically charge the appropriate company through              23 you said did, right?
  24 an inter-company automated system.                                24                      A      Do not.
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      Sheet 66       Page 261                                               Page 263
   1                     Q      But anyway, you go over to the last      1 been a -- I don't remember for sure. There's a Blue
   2 to the second page of this exhibit, there's -- at the               2 Grass Pipeline or Blue Grass Gathering system, but
   3 very top November estimate, November Mobley estimate,               3 it's a very small organization. And EQT Energy,
   4 November Saturn estimate and zero out Mobley, right?                4 apparently, owes them $188,597. Do you see it on
   5                     A      Yes.                                     5 there?
   6                     Q      And then it's got a $4,109,000 amount    6                     Q      I did see it. I'm not sure where
   7 of money.                                                           7 it's at now, which one it is. They're several
   8                     A      Yes.                                     8 versions and some over here.
   9                     Q      Now, does that mean that Production      9                            This is a July 1st, 2014. If you
  10 receives 4,100,000-plus dollars or --                              10 look up in there on the sort of up in the left- hand
  11                     A      Yes.                                    11 side. Not at the corner, but the left-hand side, I
  12                     Q      And then below that, it has ESM to      12 think. Or maybe it's the right-hand side -- yeah.
  13 EPC. What doses that stand for?                                    13                     A      Right-hand side. Yes, so that's a --
  14                     A      Well, yes, EQT Energy has -- is         14 is that magenta?
  15 really broken down into two groups, ESM and EE, EQT                15                     Q      Don't ask me.
  16 Energy. And ESM segment or division of that company                16                     A      That's a Production operating entity.
  17 is referred to here and its ledger is included in the              17 As I said, when you see those, do you still how those
  18 segment reporting for the consolidated financials as               18 three are dark red. He's just showing you that that's
  19 Production, so that is just a piece of EQT Energy.                 19 -- that person is showing you that those three are
  20                     Q      ESM is?                                 20 items that in the consolidated financials, the
  21                     A      ESM.                                    21 business segment that is -- Production will have those
  22                     Q      What does it stand for?                 22 three companies in. Although again, ET Bluegrass is a
  23                     A      EQT's supply --                         23 very small operation. It's small enough that I just
  24                     Q      Management or do you remember?          24 can't remember --
      Page 262                                                              Page 264
   1                     A      I don't remember.                        1                     Q      Why don't you -- if it's that
   2                     Q      One guess is as good as another right    2 unimportant why don't you just give it to me.
   3 now.                                                                3                     A      Or it's important enough to pay the
   4                     A      I don't remember.                        4 bills back and forth.
   5                     Q      That is EQT Energy sub or sister         5                     Q      All right, so then the next one is EE
   6 company or something?                                               6 to ET Bluegrass
   7                     A      Yeah, it's not a legal entity, it's      7                     A      Yes. As I explained that EQT Energy
   8 just -- their set of books is carved into two sets of               8 has two divisions and what this is saying is that both
   9 books that go together to form EQT Energy.                          9 of those two divisions have some business with ET
  10                     Q      But the $94,916,000 plus is what        10 Bluegrass.
  11 would be owed to the Production company for November               11                     Q      So for the record here, at the end,
  12 by EQT Energy, correct?                                            12 as you said, as we go through all this massive
  13                     A      The 94,916?                             13 transactions, which is what all these items I think
  14                     Q      Yeah.                                   14 are records of, and you get down to the end, you end
  15                     A      Yes.                                    15 up with about 121 million-plus dollars and then you
  16                     Q      And then there's further true ups       16 adjust that based upon these separate transactions on
  17 down here. One is ESM to ET Blue Grass. And what is                17 page 7-A, correct?
  18 ET Blue Grass?                                                     18                     A      Yes.
  19                     A      That's another company in the -- a      19                     Q      And then you end up with a -- what
  20 small company in the consolidated group.                           20 would you call it, the net amount owed to Production?
  21                     Q      I saw on it there. Do you want to       21                     A      Net, yes.
  22 see that?                                                          22                     Q      And that net owed to Production would
  23                     A      Well, I don't need to see it. It's a    23 be the amount of -- for the gas sales for that
  24 small company, I believe that it's -- there may have               24 particular month from Production to Energy after these
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      Sheet 67       Page 265                                                Page 267
   1 true ups and deductions and so forth here, correct?                  1                     Q      Okay. So the 121 then would be the -
   2                     A       No.                                      2 - see, I'm confused. The sales price for November,
   3                     Q       All right. What is it then?              3 this particular November, would be 121 million-plus or
   4                     A       Well, the gas sales is at 121,076 and    4 94 million-plus?
   5 the 492,308 --                                                       5                     A      A 121 million-plus.
   6                     Q       Okay.                                    6                     Q      And that represents --
   7                     A       The gathering charges are down below     7                     A      What are we talking about here? Now
   8 that and they're not part of the gas sales. They are                 8 I'm confused. Let me step back for a second. EQT is
   9 gathering charges.                                                   9 getting -- I've taken you down a bad path here. No
  10                     Q       Maybe I misunderstood. Maybe you        10 wonder you're confused.
  11 misunderstood me or maybe I'm still misunderstanding                11                            Let's start again here. EQT
  12 you. Let me just ask a question: is the gas sales                   12 Production's set of books is going to have 121,786 as
  13 represented on this particular page, 7-A, as being                  13 -- that is going to be the total sales before reducing
  14 approximately $121 million?                                         14 them for gathering charges, and that's the answer.
  15                     A       Yes.                                    15                            And where I was twisted up is when I
  16                     Q       That $121 million is not what was       16 look at the amounts that are flowing to the royalty
  17 paid to Energy or credited from Energy to Production,               17 statements, the 121 is the number that is going to
  18 correct?                                                            18 show as the net sales, not the $94 million. And
  19                     A       For cash, right.                        19 that's why I was -- I guess I was asking -- answering
  20                     Q       And what ultimately took place was      20 a question you weren't asking.
  21 that after that all of these other transactions, as                 21                     Q      Oh, okay. Well, I'm glad I have got
  22 set forth in Deposition Exhibit 7, which is just an                 22 one more person to ask some questions.
  23 example of some of the sheets.                                      23                     A      Well, let me try one more --
  24                     A       Okay.                                   24                     Q      No, I think -- yeah, go ahead, I want
      Page 266                                                               Page 268
   1                     Q      After all of these transactions set       1 you to tell me all you know about it.
   2 forth in Exhibit 7 for the month of November, you end                2                     A      Well, the reason I got this twisted
   3 up with $121 million, then you do these other                        3 up for you is that I wanted to make it clear to you
   4 adjustments below there --                                           4 that what this is showing is that EQT Energy sold the
   5                     A      Yes.                                      5 gas for 121, actually 122 million-plus, and it was
   6                     Q      -- for determining what other             6 charged $31 million for gathering charges.
   7 adjustments need to be made to the 121 million, which                7                            That's a number that is the full cost
   8 includes deductions for gathering and stuff, right?                  8 of service for the gathering. And that includes the
   9                     A      Yes.                                      9 return and all those things. So the number that shows
  10                     Q      So -- I'm sorry.                         10 up on here as the 94 has nothing to do with the
  11                     A      Well, I apologize. What I thought        11 royalty remittance advices and the numbers that show
  12 was the confusion between what you were asking me and               12 up on there.
  13 how I was answering was that that's really getting you              13                     Q      Okay. So what would the database for
  14 a net cash number, and there are things in here that                14 ledgers show for the royalty owners then?
  15 aren't considered -- if you were to look at the                     15                     A      Well, what would happen is -- and
  16 Production company's financials for that month, they                16 again, I apologize for getting this --
  17 would not show as gas sales.                                        17                     Q      That's all right.
  18                            So for instance, if you were to look     18                     A      -- terminology twisted up for you,
  19 at the Production company's books, there would be a                 19 but what would happen here is that these meters that
  20 gathering charge for 30-some million dollars, but                   20 are listed here to this total and these volumes would
  21 there would be sales of $121 million and the inter-                 21 be fed back into Enertia, and then Enertia would
  22 company would go to a variety of accounts. So that's                22 allocate these volumes and the net price that shows up
  23 why I said the 94,916 is not the sales; that is                     23 in here as to the various wells.
  24 settled in cash. They're different concepts.                        24                            So when we talked about the
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      Sheet 68      Page 269                                               Page 271
   1 allocation and the blended rates, that $122 million                1 companies that would have been referred to as
   2 would be the number that's blended and sent back to                2 Midstream Operations?
   3 the individual meters that supported -- by the meters              3                     A       Right.
   4 that supported that sale to the production meters.                 4                     Q       Is it based upon your discussions
   5                            And then the $30 million that shows     5 that you've had in working as a consultant, do you
   6 up in here has nothing to do with the royalty payments             6 have a belief whether that's still the case, that
   7 to anyone. That's done on an individual lease basis                7 those references may still be made?
   8 and you know, we've talked about that a lot.                       8                     A       It is, and as matter of fact, today
   9                     MR. MASTERS: Okay. She's got to change         9 and yesterday have been somewhat confusing because the
  10 tapes and this is a good time to take a bathroom                  10 name of the limited partnership is EQT Midstream
  11 break.                                                            11 Partners, but that's normally referred to within EQT
  12                                 (WHEREUPON, a recess was          12 as EQM, which EQM is its stock trading symbol. So
  13                            taken, after which the following       13 almost always when you hear somebody talk about EQT
  14                            proceedings were had.)                 14 Midstream, they're not talking about that partnership,
  15                     MR. MASTERS: We're sort of heading down       15 they're talking about any operations between the
  16 towards the end of this discovery time period we've               16 wellhead and the city gate.
  17 got left and there was some things that Mr. Bergonzi              17                     Q       During some of the questions that Mr.
  18 did not know details of and things that I think are               18 Masters asked you, he asked you about the gathering
  19 important. I just want to say that I have no other                19 rates that were charged by EQT Gathering to EQT Energy
  20 questions for you right now, but I may want to and ask            20 and how those were set. Do you recall that --
  21 for some additional information about some of these               21                     A       Yes.
  22 subject matters.                                                  22                     Q       -- discussion?
  23                     MR. WEST: Okay, yeah, we can do that.         23                     A       Yes.
  24                     MR. MASTERS: Subject to that, I don't have    24                     Q       Does EQT Gathering have customers
      Page 270                                                             Page 272
   1 any further questions.                                             1 other than EQT Energy?
   2                     MR. WEST: All right. If you come up with       2                      A     It does.
   3 those, we're glad to talk about it and see how we can              3                      Q     And do you know whether they engage
   4 resolve that.                                                      4 in negotiations with other entities for whom they
   5                            EXAMINATION                             5 transport natural gas?
   6                     BY MR. WEST:                                   6                      A     They do and they would be similar to
   7                     Q      I have just a few questions and want    7 how the interaction occurs between EQT Production and
   8 to go over some things that you addressed here in the              8 EQT Energy and EQT Gathering in the planning process.
   9 course of your deposition, Mr. Bergonzi. One is                    9                      Q     Okay. Now, during the course of the
  10 within the industry, is there a kind of common                    10 questions that you were being asked about how those
  11 parlance that's used to describe different segments of            11 gathering rates are set, there was an example and I
  12 the industry or different operational areas of the                12 may have misunderstood, but just try to clarify this
  13 industry?                                                         13 at lease in my mind, there was an example given of
  14                     A      Yes. Typically, the production piece   14 some EQT employee working on a pipeline project where
  15 is called the downstream. The end of the pipeline is              15 there was a pipeline being constructed, and as far as
  16 called the upstream and everything in between is                  16 their time being allocated back, would that be an
  17 called the midstream.                                             17 expense that's allocated back to as part of setting
  18                     Q      Okay. And when you were at EQT, were   18 the gathering rates?
  19 those labels sometimes used in addressing different               19                      A      Setting the gathering rates? Well,
  20 parts of the industry?                                            20 typically, if an employee is assigned to a
  21                     A      Yes. Again, most of the assets         21 construction project, they'll charge their time to
  22 between the wellhead and the city gate were termed as             22 that project and it won't be an expense for that
  23 midstream activities.                                             23 period.
  24                     Q      So there could be any number of        24                      Q     And is that because that's a capital
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      Sheet 69       Page 273                                               Page 275
   1 expenditure?                                                        1 labeled as deducts. So these are really not --
   2                     A      Yes.                                     2 they're not deducts in the context of EQT Production's
   3                     Q      And those capital expenditures are       3 transaction, but they are deductions to get back to
   4 not rolled back into the gathering rates?                           4 the wellhead pricing.
   5                     A      Right.                                   5                     Q      And so they're part of the pricing
   6                     Q      You were asked --                        6 mechanism for the wellhead sale between EQT Production
   7                     A      The gathering rates that normally are    7 and EQT Energy?
   8 applicable to the royalty owner.                                    8                     A      Yes.
   9                     Q      Okay. You were asked a question with     9                     Q      Now, in a situation where you had a
  10 regard to compression facilities. We were asked a                  10 lease, where EQT Production had a lease with a lessor
  11 number of questions about compression facilities, but              11 that prohibited deductions, would they -- would it be
  12 the one thing I wanted to just zero in on, with regard             12 reflected differently than this?
  13 to a compression facility, are there usually any                   13                     A      Yes. The deductions -- in many
  14 byproducts that are extracted from that natural gas                14 cases, the deductions would be zero and not charged to
  15 during the compression process?                                    15 the royalty owner.
  16                     A      Well, if there are, they are not        16                     Q      But would EQT Production still be
  17 based byproducts as much as they're waste and they'll              17 paying or -- excuse me, EQT Energy still paying the
  18 be -- there's no value to them other than there's a                18 full price to EQT Production?
  19 cost to disposing of them.                                         19                     A      Well, it would still pay the full
  20                     Q      And then finally, I guess I've got      20 price and it would still deduct the full cost of
  21 two last questions or maybe two series of questions.               21 service deduction rate.
  22 And if we could look maybe at Exhibit 26, if it's                  22                     Q      But the royalty owner wouldn't be
  23 still over there? Well, this is a copy of it.                      23 charged?
  24                            And just using this particular          24                     A      The royalty owner wouldn't be
      Page 274                                                              Page 276
   1 remittance statement as an example, but to identify                 1 charged.
   2 it, is this for the Kay Company?                                    2                     Q      Okay. Looking at, I guess, going to
   3                     A      Yes.                                     3 the third page of Exhibit 26, there's a column that
   4                     Q      And there is a column on this            4 says, "Gross Taxes/ Owner Taxes" and you had responded
   5 remittance statement that's labeled "Gross                          5 to some questions from Mr. Masters with regard to what
   6 Deducts/Owner Deducts." Do you see that?                            6 you thought was typically done in West Virginia.
   7                     A      Yes.                                     7                            Have you thought -- had an
   8                     Q      Could you explain what that is and       8 opportunity to think about a little more and would you
   9 how that relates to the amount that's paid the royalty              9 like to clarify your answer on that?
  10 owner?                                                             10                     A      Yes. I was confused.
  11                     A      Yes, and let me say that these          11                     MR. MASTERS: I'm going to object to the
  12 statements can be a little confusing and causes the                12 form. I'm not sure what the question is, but --
  13 terminology that gets bandied around to be confusing               13                     MR. WEST: I can be very direct if I just
  14 sometimes.                                                         14 try not to lead, so ...
  15                            Because I think this is somewhat of     15                     MR. MASTERS: That's all right. I was
  16 an effort to be transparent, EQT Production sells its              16 confused, but go ahead, I'll figure it out. I'll just
  17 gas at the wellhead to EQT Energy, and so the price                17 object to the form.
  18 that the lessor receives is really the proceeds from               18                     THE WITNESS: I made a mistake. The
  19 the sale without any deductions.                                   19 severance taxes on a well are typically charged unless
  20                            But in an effort to be transparent      20 the lease specifically prohibits it.
  21 and to show what is going on in these transactions,                21                     BY MR. WEST:
  22 what you see is the net sales number from the -- from              22                     Q      And I believe you -- I guess you had
  23 the sales at the first liquid trading point, minus the             23 stated the converse of that earlier.
  24 cost to get it to that point and, of course, they're               24                     A      I did. I was going --
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      Sheet 70       Page 277                                               Page 279
   1                     MR. MASTERS: I understand. I just didn't        1 tell me what the net price is there.
   2 understand the question.                                            2                     A      Yes, I probably made that as
   3                     MR. WEST: That's all I have.                    3 confusing as possible, and I apologize for that, but
   4             REEXAMINATION                                           4 the net price is the sales price at the first liquid
   5                     BY MR. MASTERS:                                 5 trading point, which that's the number that shows up
   6                     Q      All right, you know, you indicated       6 on the top part of the wire transfer exhibit.
   7 that you had consulted for and on behalf of EQT,                    7                            And, incidentally, this wire transfer
   8 correct?                                                            8 is West Virginia, Kentucky and Pennsylvania, and so
   9                     A      Yes.                                     9 these aren't all West Virginia wells, but the number
  10                     Q      And are you presently being paid for    10 that shows up here in this first set of columns is the
  11 your time in consulting?                                           11 net price. So you'll see there's -- there can be some
  12                     A      Yes.                                    12 administrative-type of deductions based on the tariff
  13                     Q      And can you tell us how much you        13 or the pipeline --
  14 charge per hour?                                                   14                     Q      Just a second, I didn't realize you
  15                     A      Yes, I charged them $150 an hour.       15 were going to pull out Exhibit 7. Where's 7?
  16                     Q      Okay. And are you on some kind of       16                     A      I was really just using it as
  17 minimum amount or can you give me an average amount of             17 something to put my hands on.
  18 hours if you're called into court? Whatever --                     18                     Q      Oh, well -- I thought you were --
  19                     A      I do not have a minimum or a maximum.   19                     A      I'm happy for you to get it out.
  20 I've done this on an as-needed basis. Again, as I                  20                     Q      Well, when you said the first line,
  21 told you earlier, I did participate in some royalty                21 that's what --
  22 issues earlier, and so I had some familiarity with                 22                     A      The first -- do you see this line?
  23 this when Rick Crites died, that left a hole in people             23 That's a vertical line.
  24 with the expertise in the history of the royalty                   24                     Q      Column.
      Page 278                                                              Page 280
   1 process, and so I've done it on an as-needed basis and              1                     A      I'm sorry, column. But there's a
   2 it's not a lot of hours. I would guess that I spent                 2 line drawn on here. Do you see this line?
   3 maybe 20 or 30 hours on this particular project.                    3                     Q      Yes.
   4                     Q      Okay. Going back to Exhibit 26, that     4                     A      To the left of that is the --
   5 you were asked about there, I want to make sure I                   5                     Q      From this point over?
   6 understand at this point what these numbers represent.              6                     A      Yes. That is -- ends up being the
   7                            If you start over here on the left-      7 net price.
   8 hand side of it, and you can't see all the numbers.                 8                     Q      Okay. From here over here or from
   9 It says, "Production Date", and then as I -- I guess                9 here this way?
  10 that's a well number up there --                                   10                     A      From here this way.
  11                     A      Yes.                                    11                     Q      This is the net price?
  12                     Q      -- in the production date underneath    12                     A      This is net price, but you don't have
  13 it. Is there a document somewhere that would                       13 the blend from here to take it down to the specific
  14 represent the wells that belong to certain leases?                 14 wells that are on here.
  15                     A      Well, a document or --                  15                     Q      Why?
  16                     Q      Database?                               16                     A      Well, Enertia does that through the
  17                     A      Enertia knows which wells belong to -   17 system math. That's what I was saying that this
  18 -                                                                  18 document is used by the Production Company Revenue
  19                     Q      Each lease.                             19 Accounting to populate those meters so that it can be
  20                     A      -- lease.                               20 blended down in the system to get that number.
  21                     Q      The second thing is the type of         21                     Q      Well, okay, but I guess the question
  22 interest and that's pretty easy. Then it's got the                 22 I have is this price right here, I thought you just
  23 net price. And the net price, again, I'm going to ask              23 said was the amount -- proportion amount --
  24 you because I thought I understood you last time, but              24                     A      Uh-huh (yes).
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      Sheet 71       Page 281                                              Page 283
   1                     Q      -- of the sales price --                1 Some information is taken off of this sheet to do this
   2                     A      Right.                                  2 calculation, but it isn't based on the net cash that
   3                     Q      -- minus the cost of service is what    3 shows up on this sheet.
   4 EQT Production pays or gets paid by EQT Energy?                    4                            It's based on the top portion that
   5                     A      The Production company, yes.            5 brings it to that 122 for those meters that belong to
   6                     Q      And this $3.65 here is the amount       6 West Virginia, allocated back to the individual well
   7 that represents the amount the Production company was              7 based on a blended rate that could supply that, that
   8 paid by Energy minus -- which would have had minus'd               8 gives you this number that's the 365.
   9 out of it the amount of the gathering, correct, the                9                            You can ignore this for any other
  10 cost of service?                                                  10 number on this sheet of paper because those are not
  11                     A      These numbers on the top of the        11 calculated based on this sheet of paper.
  12 report are the numbers that populate the net revenue              12                     Q      You mean the owner deducts is not
  13 column. These adjustments on the bottom for gathering             13 calculated based on anything there?
  14 have nothing to do with the royalty owners.                       14                     A      It is not based on this. That's what
  15                     Q      I understand that, but here's what     15 I was trying to explain yesterday when I said Joe
  16 you just said. I mean -- was that this net price --               16 Piccirilli calculates a full rate of cost of service,
  17 let me start it from another angle. I thought                     17 which he charges to the Production company, and within
  18 yesterday you testified that the amount of money that             18 that full cost of service rate are some numbers that
  19 this net price represented --                                     19 are typically used in cases where we believe that
  20                     A      Yes.                                   20 we're entitled to take deductions, and that was that
  21                     Q      -- was the amount of money that        21 rate sheet you worked me through this morning for
  22 Production was paid by Energy, less the gathering                 22 Brenton and Weston. And that is the sheet that's used
  23 charges or cost of service charges, that that's what              23 to calculate the deductions in most cases on these
  24 this meant?                                                       24 leases, unless there's other language in the lease.
      Page 282                                                             Page 284
   1                     A      That would be the number on the         1                            That's what I've been trying to say
   2 right-hand column. This first column does not have                 2 for two days. And I apologize if I'm not making it
   3 any gathering charges in it at all. Except for any                 3 clear to you. I'm happy to --
   4 that are as calculated to wherever it's sold at.                   4                     Q      The first day I asked you about this
   5                     Q      I understand that. But like I said,     5 first column as to what the net price was and net
   6 my understanding is that Production -- my                          6 price you said was the amount less the cost of
   7 understanding was that Production would receive an                 7 service.
   8 amount of money from Energy for the volume at the                  8                     A      I don't think that that's what I
   9 sales point, minus the costs to get the gas to that                9 said. This net price is the net price at the first
  10 sales point?                                                      10 liquid trading point.
  11                     A      Okay, but that's the amount of cash    11                            Otherwise, this sheet of paper
  12 that the company gets. You are taking the amount of               12 wouldn't make any sense because that would have been
  13 cash that is received by the EQT Production and trying            13 deducting a number twice. That doesn't happen.
  14 to paste that over to the royalty owner.                          14                     Q      Well, and by the way, when you say
  15                     Q      No, I'm not trying to do anything.     15 first liquid trading point, you're talking about the
  16                     A      Well, I think what I hear you saying   16 interstate pipeline -- that's what you're talking
  17 is when I tell you that EQT Energy takes the net sales            17 about?
  18 -- the sales at the first liquid trading point,                   18                     A      Right, that index price, yeah.
  19 deducts the cost of service for gathering and sends a             19                     Q      And in West Virginia, that is the
  20 net amount of cash to the Production company, that is             20 point at which gas is prepared to be sold and that's
  21 a true statement. You see that on this exhibit right              21 where it's sold, right? That's where the market is?
  22 here.                                                             22                     A      I didn't say that.
  23                            And what I'm saying is that's very     23                     MR. MASTERS: Okay. That's all the
  24 interesting, but that's not how this is calculated.               24 questions I have.
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       Sheet 72     Page 285                                          Page 287
   1                    MR. WEST: No further questions.                                      I have read the foregoing transcript,
   2                    (Witness stands aside)                    pages 4 through 285, inclusive, which contains a
   3                    (WHEREUPON, the deposition                correct transcript of answers made by me to the
   4                    concluded at 2:15 p.m.)                   questions therein recorded, or as amended in the
                                                                  attached list of corrections.
                                                                  ________________
                                                                  __________________________________
                                                                       Date                                  John Bergonzi
                                                                  STATE OF _____________________,
                                                                  COUNTY OF ____________________, to wit:
                                                                                             Taken, subscribed and sworn to before
                                                                  me this _________ day of ___________________, 2015.
                                                                                             My commission expires
                                                                  _________________________________.
                                                                                                  _________________________________
                                                                                                           Notary Public




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                   ERRATA SHEET INSTRUCTIONS                                        ERRATA SHEET
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              IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                          AT CLARKSBURG
  STATE OF WEST VIRGINIA,
  COUNTY OF KANAWHA, to wit:
                              I, Shelia Miller, Certified Court
  Reporter, duly certified by the West Virginia Supreme
  Court of Appeals, and Notary Public in and for the
  State of West Virginia, duly commissioned and
  qualified, do hereby certify that the foregoing
  deposition of JOHN BERGONZI was duly taken by me and
  before me at the time and place and for the purpose
  specified in the caption hereof.
                              I further certify that the said
  deponent was first duly sworn and placed under oath by
  me on the record; that the said deposition was written
  out in full and transcribed into the English language
  under my supervision; and that this deposition is a
  true record of the testimony given by the deponent.
                              I further certify that the deponent
  requested to read and sign the deposition testimony
  and an errata sheet and signature page are hereby
  included in this deposition transcript.
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                    I further certify that I am neither
  attorney or counsel for, nor related to or employed
  by, any of the parties, or a relative or employee of
  the attorney, or a relative or employee or attorney of
  one who has a financial interest in the outcome of the
  case, nor has a contractual relationship with a party
  litigant to provide reporting services, or who
  otherwise is financially interested in the action.
                             Given under my hand this ______ day
  of August, 2015.
                             My commission expires December 22,
  2021.
  ______                          _________________________________
   Seal                                 Certified Court Reporter
                                            Notary in and for
                                         State of West Virginia




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